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           EXHIBIT 3
     Case 2:19-cv-13094-TGB-EAS ECF No. 4-4, PageID.59 Filed 10/29/19 Page 2 of 50




    Caution
As of: October 29, 2019 6:50 PM Z


                                                Pilipovic v. Doe
                  United States District Court for the Eastern District of Michigan, Southern Division
                              September 19, 2019, Decided; September 19, 2019, Filed
                                                  Case No. 19-12033

Reporter
2019 U.S. Dist. LEXIS 160242 *; 2019 WL 4511678
                                                             to E.D. Mich. Local R. 7.1(f)(2), IT IS ORDERED that
HUSEIN PILIPOVIC, Plaintiff, v. JOHN DOE DRIVER
                                                             the motion be resolved without oral argument.
and CRST INCORPORATED, Defendants.
                                                             For the reasons explained below, Defendant's motion is
Subsequent History: Appeal filed, 10/16/2019
                                                             granted.

Core Terms
                                                             BACKGROUND FACTS
general jurisdiction, forum state, personal jurisdiction,
systematic, contacts, alleges, confer, principal place of    This action arises from a motor vehicle accident that
business, lack personal jurisdiction, conducting             occurred in West Memphis, Arkansas. Plaintiff Husein
business, motion to dismiss, oral argument,                  Pilipovic alleges that a semi-truck owned by CRST
incorporates, out-of-state, semi-truck, courts, driver       Incorporated1 and operated by a "John Doe" driver
                                                             struck the semi-truck that Pilipovic was occupying.
Counsel: [*1] For Husein Pilipovic, Plaintiff: Lukasz        Pilipovic is a citizen of Michigan. CRST Expedited is
Wietrzynski, LEAD ATTORNEY, Michigan Injury                  incorporated in Iowa and has its principal place of
Advocates, P.C., Rochester Hills, MI.                        business in Cedar Rapids, [*2] Iowa.
For CRST, Incorporated, Defendant: Dirk H. Beckwith,
                                                             Plaintiff filed this action in Wayne County Circuit Court,
Foster, Swift, Southfield, MI.
                                                             alleging negligence against the John Doe driver and
                                                             owner's liability against CRST Expedited. Defendant
Judges: Hon. GEORGE CARAM STEEH, UNITED
                                                             removed the action based upon diversity jurisdiction.
STATES DISTRICT JUDGE.
                                                             Defendant seeks dismissal pursuant to Federal Rule of
                                                             Civil Procedure 12(b)(2), contending that the court lacks
Opinion by: GEORGE CARAM STEEH
                                                             personal jurisdiction over it.

Opinion
                                                             LAW AND ANALYSIS

                                                             Plaintiff bears the burden of demonstrating that
ORDER GRANTING DEFENDANT'S MOTION TO                         jurisdiction exists and, in the face of a properly
DISMISS COMPLAINT (ECF No. 3)                                supported motion for dismissal, must "set forth specific
                                                             facts showing that the court has jurisdiction."
Before the court is Defendant CRST Expedited, Inc.'s
                                                             Theunissen v. Matthews, 935 F.2d 1454, 1458 (6th Cir.
motion to dismiss for lack of personal jurisdiction or for
                                                             1991). Personal jurisdiction can be general, when the
improper venue. The facts and legal arguments
presented in the parties' briefs are sufficient to
adjudicate the motion. Oral argument would not
                                                             1 Defendant   states that its correct name is CRST Expedited,
significantly aid the decisional process. Thus, pursuant
                                                             Inc.
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                                              2019 U.S. Dist. LEXIS 160242, *2

defendant has continuous and systematic contact with               1549, 1559, 198 L. Ed. 2d 36 (2017) (one facility, miles
the forum state, or limited (also known as specific),              of railroad track, and 2,100 employees in Montana
when the subject matter of the lawsuit is related to the           insufficient to confer general jurisdiction over out-of-
defendant's contacts with the forum state. See                     state corporation).
Goodyear Dunlop Tires Operations, S.A. v. Brown, 564
U.S. 915, 919, 131 S. Ct. 2846, 180 L. Ed. 2d 796                  In light of this clear precedent, CRST Expedited's
(2011).                                                            contacts are insufficient to render it essentially "at
                                                                   home" in Michigan. The court lacks personal jurisdiction
Plaintiff alleges that the court has general personal              over CRST Expedited.
jurisdiction over CRST Expedited. In Michigan, courts
have general jurisdiction over a corporation when it               The remaining defendant, "John Doe," has neither been
incorporates under Michigan laws, consents to be sued              identified nor served with the summons and complaint.
in Michigan, or carries on a "continuous and systematic            Accordingly, this action has not commenced as to John
part of its general business within the state." M.C.L. §           Doe. See Bufalino v. Michigan Bell Tel. Co., 404 F.2d
600.711.2 For a corporation, the "paradigm forum" for              1023, 1028 (6th Cir. 1968) ("The action was never
the exercise of general jurisdiction [*3] is its place of          commenced as to the 'Does' because they were not
incorporation or principal place of business. Goodyear,            identified nor served with process."); Cox v. Treadway,
564 U.S. at 924. The exercise of general jurisdiction              75 F.3d 230, 240 (6th Cir. 1996) (citing Bufalino);
over a corporation is appropriate only when its                    Thames v. City of Westland, 310 F. Supp.3d 783, 802
affiliations with the forum state are "so constant and             (E.D. Mich. 2018) ("Until a plaintiff amends her
pervasive 'as to render [it] essentially at home.'" Daimler        complaint to identify a John Doe defendant by his true
AG v. Bauman, 571 U.S. 117, 122, 134 S. Ct. 746, 187               name, 'the John Doe allegations in the complaint are
L. Ed. 2d 624 (2014) (quoting Goodyear, 564 U.S. at                mere surplusage.'"). Therefore, the court will dismiss the
919).                                                              complaint as to John Doe.

CRST Expedited is not incorporated in Michigan and
does not consent to suit in Michigan. Plaintiff argues             CONCLUSION
that it engages in continuous and systematic business in
Michigan because it has a 65,000-foot distribution                 IT IS HEREBY ORDERED that Defendant CRST
center in Detroit and because it maintains a resident              Expedited's motion to dismiss (ECF No. 3) is GRANTED
agent for service of process. Plaintiff cites no authority         and that the complaint is DISMISSED.
for the proposition that these contacts are sufficient to
                                                                   Dated: September 19, 2019
confer general jurisdiction over CRST Expedited. Merely
conducting business in the forum state does not                    /s/ George [*5] Caram Steeh
necessarily render a corporation "at home" there. See
Daimler, 571 U.S. at 132 ("[A] corporation's 'continuous           GEORGE CARAM STEEH
activity of some sorts within a state is not enough to
support the demand that the corporation be amenable to             UNITED STATES DISTRICT JUDGE
suits unrelated to that activity.'"). Indeed, a "corporation
that operates in many places can scarcely be deemed
                                                                     End of Document
at home in all of them." Id. at 139 n.20. The Supreme
Court has rejected arguments similar to Plaintiff's,
finding that conducting business in a state [*4] does not
suffice for purposes of general jurisdiction. See Daimler,
571 U.S. at 123, 137-39 (multiple California facilities
insufficient to confer general jurisdiction over out-of-
state corporation); BNSF Ry. Co. v. Tyrrell, 137 S.Ct.



2 Within the limits of due process, "[f]ederal courts ordinarily
follow state law in determining the bounds of their jurisdiction
over persons." Daimler AG v. Bauman, 571 U.S. 117, 125, 134
S. Ct. 746, 187 L. Ed. 2d 624 (2014).
     Case 2:19-cv-13094-TGB-EAS ECF No. 4-4, PageID.61 Filed 10/29/19 Page 4 of 50




    Caution
As of: October 29, 2019 6:52 PM Z


                      Communs. Network Billing v. ILD Telcomms., Inc.
                  United States District Court for the Eastern District of Michigan, Southern Division
                                    August 16, 2017, Decided; August 16, 2017, Filed
                                                 Civil Case No. 17-10260

Reporter
2017 U.S. Dist. LEXIS 130408 *; 2017 WL 3499869

COMMUNICATIONS NETWORK BILLING, INC., a
Nevada corporation, Plaintiff, v. ILD
                                                                I. Introduction
TELECOMMUNICATIONS, INC., nka ILD CORP., a
Delaware corporation, Defendant.                                This lawsuit arises from an agreement made between
                                                                Plaintiff Communications Network Billing, Inc. ("Plaintiff"
Core Terms                                                      or "CNBI") and Defendant ILD Telecommunications, Inc.
                                                                nka ILD Corp. ("Defendant" or "ILD"). (ECF No. 1.)
personal jurisdiction, forum state, billing, contacts, avail,   Through the agreement, Plaintiff hired Defendant for
communications, Operations, collected, venue, bank              billing and collection work related to Plaintiff's long
account, purposefully, convenience, services, argues,           distance services. (Id. at Pg ID 2.) Plaintiff alleges
general jurisdiction, conducting business, activities,          Defendant failed to remit fees and owes Plaintiff
witnesses, parties                                              $838,870.92. (Id. at Pg ID 3.)

Counsel: [*1] For Communications Network Billing,               Presently before the court is Defendant's motion to
Inc., Plaintiff: Max S. Emmer, Frasco Caponigro                 dismiss or in the alternative motion to transfer venue,
Wineman & Scheible, Troy, MI; Tracey L. Porter, Eric D.         filed pursuant to Federal Rule of Civil Procedure
Scheible, Frasco Caponigro Wineman & Scheible,                  12(b)(2) and 28 U.S.C. § 1404(a) respectively on
PLLC, Troy, MI.                                                 February [*2] 21, 2017. The motion has been fully
                                                                briefed. Finding the facts and legal arguments
For ILD Telecommunications, Inc., now known as ILD
                                                                sufficiently presented in the parties' briefs, the Court
Corp., Defendant: Anthony J. Kochis, Wolfson Bolton
                                                                dispensed with oral argument pursuant to Eastern
PLLC, Troy, MI.
                                                                District of Michigan Local Rule 7.1(f) on this date. For
                                                                the reasons that follow, the Court is granting
Judges: Honorable LINDA V. PARKER, UNITED
                                                                Defendant's motion to dismiss and denying the motion
STATES DISTRICT JUDGE.
                                                                to transfer venue as moot.
Opinion by: LINDA V. PARKER

                                                                II. Applicable Standards
Opinion
                                                                When reviewing a Rule 12(b)(2) motion, a federal
                                                                district court may proceed by relying solely on written
                                                                submissions and affidavits to resolve the jurisdictional
OPINION AND ORDER (1) GRANTING                                  questions or it may permit limited discovery or hold an
DEFENDANT'S MOTION TO DISMISS FOR LACK OF                       evidentiary hearing in aid of the motion. Serras v. First
PERSONAL JURISDICTION PURSUANT TO                               Tenn. Bank Nat'l Ass'n, 875 F.2d 1212, 1214 (6th Cir.
FEDERAL RULE OF CIVIL PROCEDURE 12(b)(2)                        1989) (citation omitted). In all scenarios, "'the plaintiff
AND (2) DENYING AS MOOT DEFENDANT'S                             always bears the burden of establishing that jurisdiction
MOTION TO TRANSFER VENUE [ECF NO. 11]                           exists.'" Id. (citing McNutt v. General Motors Acceptance
     Case 2:19-cv-13094-TGB-EAS ECF No. 4-4, PageID.62 Filed 10/29/19 Page 5 of 50
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                                           2017 U.S. Dist. LEXIS 130408, *2

Corp., 298 U.S. 178, 189, 56 S. Ct. 780, 80 L. Ed. 1135        Ct. 2174, 85 L. Ed. 2d 528 (1985); Helicopteros
(1936).                                                        Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408,
                                                               414, 104 S. Ct. 1868, 80 L. Ed. 2d 404. "In other words,
A federal court may only exercise personal jurisdiction in     there must be an affiliation between the [*4] forum and
a diversity case if such jurisdiction is (1) authorized by     the underlying controversy, principally, [an] activity or an
the law of the state in which the court sits; and (2) is       occurrence that takes place in the forum State and is
otherwise consistent with the Due Process Clause of the        therefore subject to the State's regulation." Id. (citing
Fourteenth Amendment. Reynolds v. Int'l Amateur                Goodyear Dunlop Tires Operations, S.A., 564 U.S. at
Athletic Fed'n, 23 F.3d 1110, 1115 (6th Cir. 1994);            919.)
Welsh v. Gibbs, 631 F.2d 436, 439 (6th Cir. 1980). The
Sixth Circuit "historically has understood Michigan to         The Sixth Circuit has established a three-part test to
intend its long-arm statute to extend to the boundaries        determine whether a court may exercise specific
of the fourteenth amendment" and therefore, "the court         personal jurisdiction:
need only determine whether exercising personal
jurisdiction violates constitutional [*3] due process."            First, the defendant must purposefully avail himself
Children's Legal Servs., PLLC v. Shor Levin & DeRita,              of the privilege of acting in the forum state or
PC, 850 F.Supp.2d 673, 679 (6th Cir. 2012) (quoting                causing a consequence in the forum state. Second,
Theunissen v. Matthews, 935 F.2d 1454, 1458 (6th Cir.              the cause of action must arise from the defendant's
1991) and Bridgeport Music, Inc. v. Still N The Water              activities there. Finally, the acts of the defendant or
Publ'g, 327 F.3d 472, 477 (6th Cir. 2003)).                        consequences caused by the defendant must have
                                                                   a substantial enough connection with the forum
Personal jurisdiction over an out-of-state defendant               state to make the exercise of jurisdiction over the
arises from "certain minimum contacts with [the forum]             defendant reasonable.
such that maintenance of the suit does not offend
'traditional notions of fair play and substantial justice.'"   Calphalon Corp. v. Rowlette, 228 F.3d 718, 721 (6th Cir.
Int'l Shoe Co. v. Washington, 326 U.S. 310, 66 S. Ct.          2000) (citing Southern Machine Co. v. Mohasco Indus.,
154, 90 L. Ed. 95 (1945) (internal citation omitted).          Inc., 401 F.2d 374, 381 (6th Cir. 1968)).
Personal jurisdiction takes two forms: general and
                                                               A defendant "purposefully avails" himself if his "contacts
specific. "A court may assert general jurisdiction over
                                                               proximately result from the actions by the defendant
foreign (sister-state or foreign-country) corporations to
                                                               himself that create a 'substantial connection' with the
hear any and all claims against them when their
                                                               forum State." Burger King Corp. 471 U.S.at 475. This
affiliations with the State are so 'continuous and
                                                               requirement "ensures that a defendant will not be haled
systematic' as to render them essentially at home in the
                                                               into a jurisdiction solely as the result of 'random,'
forum State." Goodyear Dunlop Tires Operations, S.A.
                                                               'fortuitous,' or 'attenuated' contacts, or of the 'unilateral
v. Brown, 564 U.S. 915, 919, 131 S. Ct. 2846, 180 L.
                                                               activity of another party or third person.'" Id. at 475
Ed. 2d 796 (2011) (citing Int'l Shoe Co., 326 U.S. at
                                                               (quoting Keeton v. Hustler Magazine, 465 U.S. 770,
317.) "For an individual, the paradigm forum for the
                                                               774, 104 S. Ct. 1473, 79 L. Ed. 2d 790 (1984);
exercise of general jurisdiction is the individual's
                                                               Helicopteros, 466 U.S. at 417)).
domicile; for a corporation, it is an equivalent place, one
in which the corporation is fairly regarded at home." Id.      A court may transfer an action under [*5] 28 U.S.C. §
at 924.                                                        1404(a) if "(1) the action could have been brought in the
                                                               transferee district court; (2) a transfer serves the interest
The Supreme Court recently reiterated the governing
                                                               of justice; and (3) a transfer is in the convenience of the
principles of specific jurisdiction in Bristol-Myers Squibb
                                                               witnesses and parties." Kepler v. ITT Sheraton Corp.,
Co. v. Superior Court of California, San Francisco Cty.,
                                                               860 F.Supp. 393, 398 (E.D. Mich.1994) (internal citation
137 S. Ct. 1773, 198 L. Ed. 2d 395 (2017). "In order for
                                                               omitted). In determining whether transfer is proper,
a state court to exercise specific jurisdiction, 'the suit'
                                                               courts consider the following factors:
must 'aris[e] out of or relat[e] to the defendant's contacts
with the forum.'" Bristol-Myers Squibb Co., 137 S.Ct. at           (1) the convenience of the witnesses; (2) the
1780 (citing Daimler AG v. Bauman, 571 U.S. , 134 S.               location of relevant documents and relative ease of
Ct. 746, 754, 187 L. Ed. 2d 624 (2014) (internal                   access to sources of proof; (3) the convenience of
quotation marks omitted; emphasis added)); see Burger              the parties; (4) the locus of the operative facts; (5)
King Corp. v. Rudzewicz, 471 U.S. 462, 472-473, 105 S.             the availability of process to compel the attendance
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                                           2017 U.S. Dist. LEXIS 130408, *5

    of unwilling witnesses; (6) the relative means of the      corporation that conducts business in Wayne County,
    parties; (7) the forum's familiarity with the governing    Michigan. (Id. ¶ 2.)
    law; (8) the weight accorded the plaintiff's choice of
    forum; and (9) trial efficiency and the interests of       Defendant filed their motion to dismiss on February 21,
    justice.                                                   2017 alleging that this Court lacks personal jurisdiction
                                                               over the matter. Defendant argues that it is not subject
IFL Group v. World Wide Flight Servs., 306 F.Supp.2d           to personal jurisdiction in Michigan for four reasons.
709, 712 (E.D. Mich. 2004) (citing Overland, Inc. v.           First, ILD argues that it is not subject to general
Taylor, 79 F.Supp.2d 809, 811 (E.D. Mich. 2000)).              personal jurisdiction because it does not conduct
                                                               business, own properties, or have a corporate presence
Defendant bears the burden of showing that transfer of         in Michigan. (ECF No. 11 at Pg ID 54.) Rather, ILD
venue is appropriate. Id. at 714. Plaintiff's choice of        states it is a Delaware corporation with a principal place
forum deserves "foremost consideration" and should not         of business in Florida. (Id. at Pg ID 47.) Second, ILD
be disturbed unless the balance of factors strongly            contends that it is not subject to specific personal
favors Defendant. West Am. Ins. Co. v. Potts, No. 89-          jurisdiction because it did not purposefully avail itself of
6091, 1990 U.S. App. LEXIS 12513, 1990 WL 104034               the privilege of doing business in Michigan. (Id. at Pg ID
at *2 (6th Cir. July 25, 1990) (unpublished) (citing Nicol     56.) Third, Defendant alleges that Plaintiff's claims do
v. Koscinski, 188 F.2d 537 (6th Cir.1951)). The                not arise from ILD's activities in Michigan. (Id. at Pg ID
convenience of the witnesses is "one of the most               59.) Fourth, Defendant claims their alleged acts do not
important factors in determining whether to grant a            have a substantial enough connection [*8] to make
motion to change venue under § 1404(a)." Downing, No.          personal jurisdiction in Michigan reasonable. (Id. at Pg
09-14351, 2010 U.S. Dist. LEXIS 35763, 2010 WL                 ID 60.) If this Court finds that there is personal
1494767 at *5 (internal [*6] citation omitted).                jurisdiction, Defendant requests that this case be
                                                               transferred to the Southern District of Florida for the
                                                               convenience of the parties and witnesses and in the
III. Background                                                interest of justice. (Id. at Pg ID 62.)
Plaintiff CNBI provides long distance phone services to        In response, Plaintiff reminds the Court that it need only
customers. (ECF No. 1 ¶ 5.) On May 12, 2004, Plaintiff         make a prima facie showing of jurisdiction to defeat a
entered into the Billing and Collections Agreement             motion to dismiss pursuant to Federal Rule of Civil
("Agreement") with Defendant regarding billing and             Procedure 12(b)(2). (ECF No. 13 at Pg ID 84.) Next,
collections. (Id. at ¶ 6.) The Agreement stated that           Plaintiff argues that Defendant purposefully availed itself
Defendant would provide billing and collection services        of the privilege to conduct business in Michigan. (Id. at
for call records supplied by Plaintiff. (ECF No. 1-1 at Pg     Pg ID 88.) In particular, Plaintiff states that "[w]henever
ID 13.) In particular, ILD would receive Plaintiff's billing   ILD communicated with CNBI regarding its performance
records and transmit them to local exchange carriers.          under the Agreement, billing, services, or general
(ECF No. 11 at Pg ID 47.) The local exchange carriers          inquiries and business operations, it did so with BOSS'
would bill and collect the charges. (Id.) In return for        employees1 working from CNBI's office in Harper
providing billing and collection services, CNBI would pay      Woods, Michigan." (Id. at Pg ID 89.) Further, Defendant
ILD certain fees and charges. (ECF No. 1 ¶ 8.) Plaintiff       allegedly availed themselves to Michigan by remitting
alleges that Defendant failed to remit the fees it             CNBI's payments into its Michigan-based Comerica
collected based on the call records supplied by Plaintiff.     bank accounts on a weekly basis. (Id.) According to
(Id. at ¶ 9.)                                                  Plaintiff, Defendant has therefore enjoyed the benefits of
                                                               conducting business in Michigan. (Id.)
The Agreement states that it is between "[CNBI], a
Nevada limited liability company with its principal office     Next, Plaintiff argues that [*9] this action arises from
at 6701 Democracy Blvd, Suite 300, Bethesda, MD,               Defendant's conduct in Michigan because Defendant
20817 and [ILD], a Delaware corporation with its               failed to make timely payments to CNBI's Michigan-
principal office located at 16200 Addison Road, Suite          based bank accounts. (Id. at Pg ID 90.) Plaintiff also
100, Addison, Texas 75001." (ECF No. 1-1 at Pg ID 13.)
However, [*7] Plaintiff's complaint states that Plaintiff is
a Nevada corporation with a principal place of business        1 In
                                                                  their opposition brief, Plaintiff explains that it outsources its
in Wayne County, Michigan. (ECF No. 1 ¶ 1.) The                day-to-day operations to a third party, Back Office Support
complaint also states that Defendant is a Delaware             Systems, Inc. ("BOSS").
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contends that Defendant's activities have a substantial        CNBI's Michigan based Comerica account." (Id. at Pg ID
connection to Michigan.                                        83.) These repeated communications and transactions,
                                                               Plaintiff argues, are sufficient to establish purposeful
Lastly, Plaintiff requests that this matter not be             availment.
transferred to the Southern District of Florida because
transfer would shift the burden from Defendant to              First, the Court notes that the following have remained
Plaintiff. (Id. at Pg ID 94.)                                  undisputed, as noted by Defendant: (1) Defendant did
                                                               not travel to Michigan to negotiate the Agreement; (2)
                                                               Defendant's alleged statements that form the basis for
IV. Analysis                                                   the fraud claim [*11] were not made in Michigan; (3)
                                                               Defendant sent money to Plaintiff from Florida; and (4)
                                                               Defendant has no physical presence in Michigan. (ECF
A. General Jurisdiction                                        No. 15 at Pg ID 119.)

This Court can assert personal jurisdiction over a             Defendant's contacts with Michigan are insufficient to
foreign company if their contacts with the state are so        establish purposeful availment. Defendant's only
"continuous and systematic" that the company finds that        contacts with the forum were communications with a
they are "essentially at home in the forum State."             third party, BOSS, and depositing remittances into
Goodyear Dunlop Tires Operations, S.A., 564 U.S. at            Plaintiff's bank account. In Int'l Tech. Consultants v.
919 (citing Int'l Shoe Co., 326 U.S. at 317.) Plaintiff does   Euroglas, the Sixth Circuit similarly determined that the
not allege that Defendant's conduct is continuous and          out-of-state defendant's letters, phone calls, and faxes
systematic to warrant general jurisdiction over                to plaintiff in Michigan did not alter its determination that
Defendant. Defendant has no physical contacts in               the court did not have personal jurisdiction over
Michigan nor does Defendant regularly conduct                  defendant. 107 F.3d 386, 395 (6th Cir. 1997). The Sixth
business in Michigan. Therefore, the Court does not            Circuit explained:
have general jurisdiction over Defendant ILD.                       [T]he only reason the communications in question
                                                                    here were directed to Michigan was that [Plaintiff]
                                                                    found it convenient to be present there. [Defendant]
B. Specific Jurisdiction                                            was not attempting to exploit any market for its
                                                                    products in Michigan, and the company presumably
The Court will now turn to the Sixth Circuit's three-part           would have been pleased to communicate with
test to determine whether specific jurisdiction exists over         [Plaintiff] wherever the latter wished....From the
ILD. As previously noted, to establish specific [*10]               perspective of [Defendant], it was purely fortuitous
jurisdiction, the Court must find that:                             that [Plaintiff] happened to have a Michigan
                                                                    address.
    First, the defendant must purposefully avail himself
    of the privilege of acting in the forum state or           Id.; see also Wizie.com LLC v. Borukhin, No. 2:14-
    causing a consequence in the forum state. Second,          10391, 2014 U.S. Dist. LEXIS 82430, 2014 WL 2743375
    the cause of action must arise from the defendant's        (E.D. Mich. June 17, 2014) (finding [*12] that exercising
    activities there. Finally, the acts of the defendant or    personal jurisdiction over defendant unreasonable
    consequences caused by the defendant must have             where only contacts with forum state were emails,
    a substantial enough connection with the forum             faxes, and phone calls). The Court similarly finds that it
    state to make the exercise of jurisdiction over the        would be unreasonable to exercise specific personal
    defendant reasonable.                                      jurisdiction over ILD for its communications with BOSS
                                                               and deposits into the Michigan-based bank account.
Calphalon Corp., 228 F.3d at 721 (citing Southern
Machine Co, 401 F.2d at 381 (6th Cir. 1968)).                  The second prong of the Sixth Circuit test requires that
                                                               the cause of action arise from the defendant's activities
Plaintiff argues that Defendant purposefully availed
                                                               in the forum state. The Supreme Court's recent decision
themselves to jurisdiction in Michigan because of its
                                                               in Brystol-Myers Squibb Co. affirmed this principle,
communications with BOSS and payments to Plaintiff's
                                                               stating that "there must be an affiliation between the
Michigan-based accounts. (ECF No. 13 at Pg ID 89.)
                                                               forum and the underlying controversy, principally, [an]
Plaintiff notes that "[f]or nearly 13 years, ILD deposited
                                                               activity or an occurrence that takes place in the forum
tens of thousands of dollars on a weekly basis into
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State and is therefore subject to the State's regulation.      transferring venue.
Bristol-Myers Squibb Co., 137 S.Ct. at 1780 (citing
Goodyear Dunlop Tires Operations, S.A., 564 U.S. at            Accordingly,
919.) The Complaint makes clear that the underlying
                                                               IT IS ORDERED that Defendant's motion to dismiss
controversy in this matter is ILD's alleged failure to remit
                                                               pursuant to Federal Rule of Procedure 12(b)(2) is
the fees collected based on the call records supplied by
                                                               GRANTED;
CNBI. (ECF No. 1.) Therefore, the critical question is
where Defendant allegedly made the decision to                 IT IS FURTHER ORDERED that Defendant's motion to
withhold CNBI's payments.                                      transfer venue is DENIED AS MOOT;
Defendant provided a declaration by Kathy McQuade,             IT IS FURTHER ORDERED that Plaintiff's complaint is
the vice-president of Billing and Collection of ILD. In the    dismissed without prejudice.
declaration, [*13] McQuade states that Defendant's
billing clearinghouse division is based in Fort                /s/ Linda V. Parker
Lauderdale, Florida. (See ECF No. 11 at Pg ID 70.) The
billing clearinghouse division in Fort Lauderdale is           LINDA V. PARKER
responsible for all of the servicing of the account, as
                                                               U.S. DISTRICT JUDGE
well as the following tasks: generating and reviewing
client settlement statements; addressing client inquiries      Dated: August 16, 2017
and problems; and maintaining and negotiating the local
exchange carrier agreements. (Id.)
                                                                 End of Document
With respect to CNBI, the staff members at the billing
clearinghouse operations in Florida would submit
monthly bill record data over the internet to ILD's billing
and collection network database in Texas. (Id. at Pg ID
71.) After the data is aggregated in Texas, it is sent to
third-party vendors in Virginia or Texas who would
include the phone charges on a customer's local
telephone bill. (Id.) Once the customer paid their bill, the
money would be sent to ILD's bank in Florida. (Id.) Any
money sent from ILD to CNBI was sent from ILD's bank
account in Florida to the bank account designated by
the customer, CNBI. (ECF No. 11 at Pg ID 51.) Based
on these facts, the Court finds that any decision to
withhold money from CNBI would have occurred in
Florida. [*14] Therefore, Plaintiff fails to satisfy the
second prong of the test.

The third prong of the test calls for an inquiry into
whether defendant has a "substantial enough
connection with the forum state to make the exercise of
jurisdiction over the defendant reasonable." Calphalon
Corp., 228 F.3d at 721. For the above stated reasons,
the Court finds that Defendant lacks a substantial
connection with Michigan to make the exercise of
jurisdiction over ILD reasonable.


V. Conclusion

The Court therefore concludes that it lacks personal
jurisdiction over the Defendant in this matter. Therefore,
the Court does not need to discuss the issue of
     Case 2:19-cv-13094-TGB-EAS ECF No. 4-4, PageID.66 Filed 10/29/19 Page 9 of 50




    Cited
As of: October 29, 2019 6:54 PM Z


                                        Meyer v. Capital All. Grp.
                          United States District Court for the Southern District of California
                                November 6, 2017, Decided; November 6, 2017, Filed
                                            Case No.: 15-CV-2405-WVG

Reporter
2017 U.S. Dist. LEXIS 183690 *; 2017 WL 5138316
                                                             Defendants' motion for partial summary judgment was
DAVID MEYER et. al., Plaintiffs, v. CAPITAL ALLIANCE
                                                             granted in part; defendants' motion to dismiss was
GROUP et. al., Defendants.
                                                             granted in part; the recipients' motion for partial
                                                             summary judgment was denied.
Core Terms
faxes, Defendants', telemarketing, motion to dismiss,
                                                             LexisNexis® Headnotes
private right of action, Consumer, trespass, Message,
damages, regulations, loans, economic injury,
allegations, Plaintiffs', conversion, summary judgment,
advertising, unsolicited, telephone, lack standing,
Communications, cases, telephone line, intrusion,
                                                                 Civil Procedure > Judgments > Summary
phone, print, ink, summary judgment motion, personal
                                                                 Judgment > Entitlement as Matter of Law
property, subject matter jurisdiction
                                                                 Civil Procedure > ... > Summary
Case Summary                                                     Judgment > Burdens of Proof > Movant Persuasion
                                                                 & Proof

Overview                                                         Civil Procedure > ... > Summary
HOLDINGS: [1]-Recipients who received junk faxes                 Judgment > Burdens of Proof > Nonmovant
advertising small business loans lacked standing to              Persuasion & Proof
bring claims under the Junk Fax Law, Cal. Bus. & Prof.
Code § 17538.41, and Unfair Competition Law (UCL),           HN1[ ] Summary Judgment, Entitlement as Matter
Cal. Bus. & Prof. Code § 17200 et seq., because they         of Law
lacked the measurable economic damages that both
statutes required; [2]-One recipient received seven          A party may move for summary judgment, identifying
faxes over a months-long period; his claim that the          each claim or defense - or the part of each claim or
faxes consumed an unknown quantity of ink and paper          defense - on which summary judgment is sought. The
failed to establish a cognizable, non-trivial economic       court shall grant summary judgment if the movant
injury; other recipients received the faxes through          shows there is no genuine dispute as to any material
computer-based fax services that did not automatically       fact and the movant is entitled to judgment as a matter
print the faxes; [3]-Small business loans were not           of law. Fed. R. Civ. P. 56(a). The party seeking
covered by the Consumer Legal Remedies Act (CLRA),           summary judgment bears the initial burden of
Cal. Civ. Code §§ 1761, 1770, and the advertising            establishing the basis for its motion and of identifying
services defendants provided to lenders were ancillary       the portions of the declarations, pleadings, and
services that did not bring the case within the CLRA.        discovery that demonstrate absence of a genuine issue
                                                             of material fact. The party opposing summary judgment
Outcome                                                      cannot rest upon the mere allegations or denials of its
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                                       2017 U.S. Dist. LEXIS 183690, *183690

pleading' but must instead produce evidence that 'sets            Antitrust & Trade Law > Consumer
forth specific facts showing that there is a genuine issue        Protection > False Advertising > State Regulation
for trial. Fed. R. Civ. P 56(e).
                                                                  Business & Corporate
                                                                  Compliance > ... > Communications Law > Federal
                                                                  Acts > Telephone Consumer Protection Act
    Civil Procedure > ... > Summary
    Judgment > Entitlement as Matter of Law > Genuine
                                                                  Civil
    Disputes
                                                                  Procedure > ... > Justiciability > Standing > Burdens
                                                                  of Proof
    Civil Procedure > ... > Summary
    Judgment > Burdens of Proof > Movant Persuasion
                                                              HN4[    ] False Advertising, State Regulation
    & Proof
                                                              Although an alleged violation of the Telephone
    Civil Procedure > ... > Summary
                                                              Consumer Protection Act (TCPA), 47 U.S.C.S. § 227 et
    Judgment > Entitlement as Matter of
                                                              seq., is enough to bestow standing under federal law,
    Law > Materiality of Facts
                                                              California's Unfair Competition Law (UCL), Cal. Bus. &
                                                              Prof. Code § 17200 et seq., and False Advertising Law
HN2[ ] Entitlement as Matter of Law, Genuine
                                                              (FAL), Cal. Bus. & Prof. Code § 17500 et seq., have a
Disputes
                                                              more limited standing requirement than the general
                                                              standing requirement for federal claims. Because
On summary judgment, the moving party has the
                                                              elements for standing are not mere pleading
burden of showing the absence of a genuine issue as to
                                                              requirements but rather an indispensable part of the
any material fact, and for these purposes the material it
                                                              plaintiff's case, each element must be supported in the
lodged must be viewed in the light most favorable to the
                                                              same way as any other matter on which the plaintiff
opposing party. A fact is material if it could affect the
                                                              bears the burden of proof, i.e., with the manner and
outcome of the suit under applicable law. A dispute
                                                              degree of evidence required at the successive stages of
about a material fact is genuine if there is sufficient
                                                              the litigation.
evidence for a reasonable jury to return a verdict for the
non-moving party.

                                                                  Antitrust & Trade Law > Consumer
                                                                  Protection > False Advertising > State Regulation
    Antitrust & Trade Law > Consumer
    Protection > False Advertising > State Regulation
                                                                  Civil
                                                                  Procedure > ... > Justiciability > Standing > Injury in
    Business & Corporate
                                                                  Fact
    Compliance > ... > Communications Law > Federal
    Acts > Telephone Consumer Protection Act
                                                                  Torts > Business Torts > Unfair Business
                                                                  Practices > Elements
HN3[   ] False Advertising, State Regulation
                                                              HN5[    ] False Advertising, State Regulation
The Junk Fax Law, Cal. Bus. & Prof. Code § 17538.41,
is part of the series of statutes that are commonly
                                                              To demonstrate standing under the Unfair Competition
referred to as the False Advertising Law (FAL).
                                                              Law (UCL), Cal. Bus. & Prof. Code § 17200 et seq., and
Provisions directed at false advertising are contained in
                                                              False Advertising Law (FAL), Cal. Bus. & Prof. Code §
division 7, part 3, chapter 1, starting with section 17500,
                                                              17500 et seq., plaintiffs must (1) establish a loss or
which prohibits false or misleading statements. Section
                                                              deprivation of money or property sufficient to qualify as
17538.43—which appears in division 7, part 3, chapter
                                                              injury in fact, i.e., economic injury, and (2) show that that
1, article 2 of the Business and Professions Code is
                                                              economic injury was the result of, i.e., caused by, the
contained within the FAL. This section specifically
                                                              unfair business practice or false advertising that is the
regulates the transmission of junk faxes.
                                                              gravamen of the claim.
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    Antitrust & Trade Law > Consumer
    Protection > False Advertising > State Regulation
                                                                   Business & Corporate
    Civil                                                          Compliance > ... > Communications Law > Federal
    Procedure > ... > Justiciability > Standing > Injury in        Acts > Telephone Consumer Protection Act
    Fact
                                                               HN8[ ]     Federal     Acts,    Telephone        Consumer
    Torts > ... > Compensatory Damages > Types of              Protection Act
    Losses > Economic Losses
                                                               Cal. Civ. Code § 1770(a)(22) is a part of the Consumer
    Torts > Business Torts > Unfair Business                   Legal Remedies Act (CLRA) and essentially requires
    Practices > Elements                                       that all unsolicited prerecorded telephone messages
                                                               first be introduced by a live person who must ask for
HN6[   ] False Advertising, State Regulation                   permission to play a recorded message. The CLRA
                                                               simply does not apply to loan products.
The economic injury requirement of the Unfair
Competition Law (UCL), Cal. Bus. & Prof. Code § 17200
et seq., and the False Advertising Law (FAL), Cal. Bus.
& Prof. Code § 17500 et seq., is more restrictive than             Civil Procedure > Preliminary
federal injury in fact because it encompasses fewer                Considerations > Justiciability > Standing
kinds of injuries. To satisfy California's statutory injury-
                                                               HN9[   ] Justiciability, Standing
in-fact requirement, a plaintiff must show a personal,
individualized loss of money or property in any nontrivial
                                                               Because the question of standing is a threshold
amount. Although this bar is not high, trivial, de minimis,
                                                               jurisdictional issue, federal courts have a duty to
or non-existent alleged injuries are not sufficient and do
                                                               examine their jurisdiction sua sponte. The court may
not constitute injury-in-fact for UCL and FAL standing.
                                                               even dismiss a case for lack of subject matter
This economic damages requirement was the result of
                                                               jurisdiction without giving notice to the parties.
California Proposition 64, which amended the UCL and
FAL to require economic damages.

                                                                   Antitrust & Trade Law > Consumer
                                                                   Protection > Deceptive & Unfair Trade
    Antitrust & Trade Law > Consumer
                                                                   Practices > State Regulation
    Protection > False Advertising > State Regulation
                                                                   Business & Corporate
    Torts > ... > Compensatory Damages > Types of
                                                                   Compliance > ... > Communications Law > Federal
    Losses > Economic Losses
                                                                   Acts > Telephone Consumer Protection Act
    Civil
                                                               HN10[ ] Deceptive & Unfair Trade Practices, State
    Procedure > ... > Justiciability > Standing > Injury in
                                                               Regulation
    Fact
                                                               The Consumer Legal Remedies Act (CLRA) applies to
    Torts > Business Torts > Unfair Business
                                                               transactions intended to result or which result in the sale
    Practices > Elements
                                                               or lease of goods or services to a consumer. Cal. Civ.
                                                               Code § 1770(a). The CLRA defines goods as tangible
HN7[   ] False Advertising, State Regulation
                                                               chattels bought or leased for use primarily for personal,
In 2004, California voters passed Proposition 64, which        family, or household purposes, Cal. Civ. Code §
amended the Unfair Competition Law (UCL), Cal. Bus.            1761(a), and services as work, labor, and services for
& Prof. Code § 17200 et seq., and False Advertising            other than a commercial or business use, including
Law (FAL), Cal. Bus. & Prof. Code § 17500 et seq., to          services furnished in connection with the sale or repair
require plaintiffs to establish economic damages.              of goods, § 1761(b). For purposes of the CLRA, loans
Proposition 64 also amended the Junk Fax Law as                are neither goods nor services. Federal district courts
codified in Cal. Bus. & Prof. Code § 17538.43.                 have also held that loans do not qualify as goods and
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services under the CLRA.                                    HN13[    ] Conversion, Elements

                                                            Under California law, trespass to chattels lies where an
                                                            intentional interference with the possession of personal
    Antitrust & Trade Law > Consumer
                                                            property has proximately caused injury. In cases of
    Protection > Deceptive & Unfair Trade
                                                            interference with possession of personal property not
    Practices > State Regulation
                                                            amounting to conversion, the owner has a cause of
                                                            action for trespass or case, and may recover only the
    Governments > Legislation > Interpretation
                                                            actual damages suffered by reason of the impairment of
HN11[ ] Deceptive & Unfair Trade Practices, State           the property or the loss of its use. To allege a plausible
Regulation                                                  claim for trespass to a computer system or similar
                                                            device, California law requires that plaintiffs plead with
The Consumer Legal Remedies Act (CLRA), Cal. Civ.           factual particularity that the purported trespass: (1)
Code § 1770 et seq., does not cover ancillary services      caused physical damage to the personal property, (2)
related to loans, and such services do not transform        impaired the condition, quality, or value of the personal
intangible goods and services into tangible goods and       property, or (3) deprived plaintiff of the use of personal
services that would otherwise not be covered by the         property for a substantial time.
CLRA.

                                                                Business & Corporate Compliance > ... > Civil
    Antitrust & Trade Law > Consumer                            Actions > Computer & Internet Law > Civil Actions
    Protection > False Advertising > State Regulation
                                                                Torts > Premises & Property Liability > Trespass to
    Governments > Legislation > Interpretation                  Real Property

    Antitrust & Trade Law > Consumer                            Business & Corporate Compliance > ... > Computer
    Protection > Deceptive & Unfair Trade                       & Internet Law > Privacy & Security > State
    Practices > State Regulation                                Regulation

HN12[   ] False Advertising, State Regulation               HN14[    ] Computer & Internet, Civil Actions

The Consumer Legal Remedies Act (CLRA) defines              Under California law the tort of trespass does not
"services" as work, labor, and services for other than a    encompass, and should not be extended to encompass,
commercial or business use, including services              an electronic communication that neither damages the
furnished in connection with the sale or repair of goods.   recipient computer system nor impairs its functioning.
Cal. Civ. Code § 1761(b). For services in connection        Such an electronic communication does not constitute
with the sale of goods to qualify under the CLRA, goods     an actionable trespass to personal property, i.e., the
must themselves be covered by the CLRA. Since loans         computer system, because it does not interfere with the
at their core are not goods or services under the CLRA,     possessor's use or possession of, or any other legally
advertising related to selling such intangible financial    protected interest in, the personal property itself.
goods are not services furnished in connection with any
goods or services. It would seem wildly incongruous that
the CLRA would apply to advertising or marketing of             Torts > Intentional Torts > Conversion > Elements
loans but not apply to the loans themselves. Indeed,
bootstrapping the CLRA into this case in this manner        HN15[    ] Conversion, Elements
would defeat the apparent legislative intent in limiting
the definition of goods and services by greatly             The mere unauthorized use of another chattel is not
expanding that definition.                                  actionable as trespass to chattel without any showing of
                                                            injury. In the context of cognizable injury, a mere
                                                            momentary or theoretical deprivation of use is not
                                                            sufficient unless there is a dispossession. Thus, in the
    Torts > Intentional Torts > Conversion > Elements
                                                            absence of any actual damage or dispossession, a
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cause of action for trespass to chattels will not lie.

                                                                  Business & Corporate Law > Agency
                                                                  Relationships > Authority to Act > Actual Authority
    Business & Corporate Compliance > ... > Civil
    Actions > Computer & Internet Law > Civil Actions
                                                                  Business & Corporate Law > Agency
                                                                  Relationships > Authority to Act > Apparent
    Torts > Intentional Torts > Conversion > Elements
                                                                  Authority
    Business & Corporate Compliance > ... > Computer
                                                                  Business & Corporate Law > Agency
    & Internet Law > Privacy & Security > State
                                                                  Relationships > Ratification > Scope
    Regulation
                                                              HN19[    ] Authority to Act, Actual Authority
HN16[    ] Computer & Internet, Civil Actions
                                                              There are three different agency theories of liability
Courts have rejected trespass to chattels claims where
                                                              under California law: actual authority, apparent
the alleged injury was trifling and did not materially
                                                              authority, and ratification. Under the classical or actual
interfere with the computer system or resources.
                                                              authority theory of agency, to form an agency
                                                              relationship, both the principal and the agent must
                                                              manifest assent to the principal's right to control the
    Torts > Intentional Torts > Conversion > Elements         agent. This in turn implicates the degree of control
                                                              exercised by the principal over the activities of the
HN17[    ] Conversion, Elements                               agent. Agency is not established when control may be
                                                              exercised only as to the result of the work and not the
Under California law, plaintiffs asserting conversion         means by which it is accomplished; in such a case an
must prove an ownership or right to possession of the         independent contractor relationship exists.
property at the time of the conversion, the defendant's
conversion by a wrongful act or disposition of property
rights, and resulting damages. Conversion requires a
higher showing than trespass, which has been dubbed               Business & Corporate Law > ... > Authority to
the little brother of conversion.                                 Act > Apparent Authority > Conduct of Parties

                                                                  Business & Corporate Law > ... > Authority to
                                                                  Act > Apparent Authority > Proof
    Business & Corporate
    Compliance > ... > Communications Law > Federal           HN20[    ] Apparent Authority, Conduct of Parties
    Acts > Telephone Consumer Protection Act
                                                              Apparent authority is the power held by an agent or
    Governments > Legislation > Interpretation                other actor to affect a principal's legal relations with third
                                                              parties when a third party reasonably believes the actor
HN18[ ] Federal          Acts,    Telephone      Consumer     has authority to act on behalf of the principal and that
Protection Act                                                belief is traceable to the principal's manifestations.
                                                              Apparent authority cannot be established merely by
Under the implementing regulations of the Telephone           showing that the alleged agent claimed authority or
Consumer Protection Act (TCPA), 47 U.S.C.S. § 227 et          purported to exercise it. Rather, it is only established by
seq., a fax "sender" is defined as the person or entity on    proof of something said or done by the alleged principal,
whose behalf a facsimile unsolicited advertisement is         on which the plaintiff reasonably relied. The principal's
sent or whose goods or services are advertised or             manifestations giving rise to apparent authority may
promoted in the unsolicited advertisement. 47 C.F.R. §        consist of direct statements to the third person,
64.1200(f)(10). Thus, under this definition, a company        directions to the agent to tell something to the third
can "send" an unsolicited fax advertisement without           person, or the granting of permission to the agent to
directly participating in the physical transmission of such   perform acts under circumstances which create in him a
a fax.                                                        reputation of authority.
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                                                                lacks standing or if a case is not ripe for adjudication,
                                                                and consequently a federal court lacks subject matter
    Business & Corporate Law > Agency                           jurisdiction.
    Relationships > Ratification > Scope

HN21[    ] Agency Relationships, Ratification
                                                                    Civil Procedure > ... > Jurisdiction > Subject Matter
Under the ratification theory of agency, although a                 Jurisdiction > Jurisdiction Over Actions
principal is liable when it ratifies an originally
                                                                    Civil Procedure > Preliminary
unauthorized tort, the principal-agent relationship is still
                                                                    Considerations > Justiciability > Standing
a requisite, and ratification can have no meaning without
it.
                                                                    Civil Procedure > ... > Responses > Defenses,
                                                                    Demurrers & Objections > Motions to Dismiss

    Business & Corporate                                            Civil Procedure > ... > Responses > Defenses,
    Compliance > ... > Communications Law > Federal                 Demurrers & Objections > Waiver & Preservation of
    Acts > Telephone Consumer Protection Act                        Defenses

    Business & Corporate Law > ... > Corporate                  HN24[ ] Subject Matter Jurisdiction, Jurisdiction
    Governance > Directors & Officers > Management              Over Actions
    Duties & Liabilities
                                                                Lack of subject matter jurisdiction may be raised by any
HN22[ ] Federal          Acts,   Telephone       Consumer       party at any time, and it is never waived. Thus, an
Protection Act                                                  exception to Fed. R. Civ. P. 12(g) applies and permits a
                                                                motion to challenge the district court's jurisdiction based
The Telephone Consumer Protection Act (TCPA), 47                on plaintiffs' lack of standing. Fed. R. Civ. P. 12(h)(3)
U.S.C.S. § 227 et seq., imposes personal liability on           provides that if the court determines at any time that it
companies' directors and officers who direct, authorize,        lacks subject-matter jurisdiction, the court must dismiss
or ratify violations of the TCPA.                               the action.



    Civil Procedure > Preliminary                                   Business & Corporate
    Considerations > Justiciability > Case &                        Compliance > ... > Communications Law > Federal
    Controversy Requirements                                        Acts > Telephone Consumer Protection Act

    Constitutional Law > The Judiciary > Case or                    Civil
    Controversy > Ripeness                                          Procedure > ... > Justiciability > Standing > Injury in
                                                                    Fact
    Constitutional Law > The Judiciary > Case or
    Controversy > Standing                                          Constitutional Law > ... > Case or
                                                                    Controversy > Standing > Elements
    Civil Procedure > ... > Jurisdiction > Subject Matter
    Jurisdiction > Jurisdiction Over Actions                    HN25[ ] Federal         Acts,    Telephone       Consumer
                                                                Protection Act
    Civil Procedure > Preliminary
    Considerations > Justiciability > Standing                  In the context of the Telephone Consumer Protection
                                                                Act (TCPA), 47 U.S.C.S. § 227 et seq., unsolicited fax
HN23[ ]   Justiciability,        Case    &    Controversy       messages, like unsolicited telemarketing phone calls or
Requirements                                                    text messages, violate the consumer's privacy and
                                                                disturb their solicitude. For TCPA purposes, these
Under U.S. Const. art. III, § 2, the district court's subject   injuries are sufficient to confer Article III standing, and
matter jurisdiction is limited to deciding cases or             plaintiffs need not allege any additional harm.
controversies. No case or controversy exists if a plaintiff
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                                                                 Protection Act

    Civil                                                        Only two provisions of the Telephone Consumer
    Procedure > ... > Justiciability > Standing > Injury in      Protection Act (TCPA), 47 U.S.C.S. § 227 et seq.,
    Fact                                                         expressly create private rights of action. 47 U.S.C.S. §
                                                                 227(b)(3), 227(c)(5). However, the regulations in 47
    Constitutional Law > ... > Case or                           C.F.R. § 64.1200(b) flow directly from the directives in
    Controversy > Standing > Elements                            Section 227(d)(3). Section 227(d), unlike sections
                                                                 227(b) and 227(c), does not contain a provision that
    Governments > Legislation > Statutory Remedies &             creates a private right of action.
    Rights

HN26[    ] Standing, Injury in Fact
                                                                     Business & Corporate
Standing bears on jurisdiction, and the district court can           Compliance > ... > Communications Law > Federal
examine its jurisdiction at any time. Plaintiffs have                Acts > Telephone Consumer Protection Act
standing to bring suit provided they satisfy constitutional
and prudential requirements. To meet the constitutional              Governments > Legislation > Statutory Remedies &
requirements for standing, a plaintiff must demonstrate it           Rights
has suffered an injury in fact, the injury is fairly traceable
                                                                 HN29[ ] Federal        Acts,    Telephone     Consumer
to the challenged action, and it is likely that the injury
                                                                 Protection Act
will be redressed by a favorable decision. To satisfy the
prudential standing requirements, a plaintiff must have
                                                                 Congress did not intend private parties to enforce either
been granted a right to sue by the statute. Thus,
                                                                 47 U.S.C.S. § 227(d) of the Telephone Consumer
whether a statute grants a private right of action bears
                                                                 Protection Act (TCPA), 47 U.S.C.S. § 227 et seq., or the
on a plaintiff's standing and thus the court's jurisdiction.
                                                                 regulations prescribed pursuant to that section. A
                                                                 private cause of action should not be read into section
                                                                 227(d) and its attendant regulations where Congress
    Business & Corporate                                         conspicuously omitted it but explicitly included it in
    Compliance > ... > Communications Law > Federal              adjacent subsections.
    Acts > Telephone Consumer Protection Act

HN27[ ] Federal          Acts,    Telephone      Consumer
                                                                     Business & Corporate
Protection Act
                                                                     Compliance > ... > Communications Law > Federal
                                                                     Acts > Telephone Consumer Protection Act
The Federal Communication Commission's regulations
implementing the Telephone Consumer Protection Act
                                                                     Governments > Legislation > Statutory Remedies &
(TCPA), 47 U.S.C.S. § 227 et seq., in 47 C.F.R. §
                                                                     Rights
64.1200(b) require all prerecorded messages to state
the identity of the entity responsible for the call at the
                                                                 HN30[ ] Federal        Acts,    Telephone     Consumer
beginning of the call and provide a contact number
                                                                 Protection Act
during the message for that entity.
                                                                 47 C.F.R. § 64.1601(e), a regulation under the
                                                                 Telephone Consumer Protection Act (TCPA), 47
    Business & Corporate                                         U.S.C.S. § 227 et seq., does not create a private right of
    Compliance > ... > Communications Law > Federal              action.
    Acts > Telephone Consumer Protection Act

    Governments > Legislation > Statutory Remedies &
                                                                     Governments > Legislation > Interpretation
    Rights
                                                                     Governments > Legislation > Statutory Remedies &
HN28[    ]   Federal     Acts,    Telephone      Consumer
                                                                     Rights
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HN31[    ] Legislation, Interpretation                        Plaintiffs: Christopher Reichman, LEAD ATTORNEY,
                                                              Justin M. Prato, Prato & Reichman, APC, San Diego,
Where a statutory scheme and its implementing                 CA.
regulations have expressly created a private right of
                                                              For Capital Alliance Group, Capital Alliance Partners,
action but have not expressly done so elsewhere in the
                                                              LLC, Mark Mendoza, Narin Charanvattanakit, also
same scheme, it is highly improbable that Congress—or
                                                              known as Charan, Narin, also known as Clayton Heath,
the implementing agency—absent-mindedly forgot to
                                                              doing business as Bankcapital, doing business as
mention an intended private action. If the statute itself
                                                              Bankcapital Direct, doing business as Simple Business
does not display an intent to create a private remedy,
                                                              Funding, doing business as Community Business
then a cause of action does not exist and courts may
                                                              Funding, doing business as 3-Day Loans, doing
not create one, no matter how desirable that might be
                                                              business as Zoom Capital, doing business as Fund
as a policy matter, or how compatible with the statute.
                                                              Quick, doing business as Snap Business Funding, doing
The Supreme Court has held that the judicial task is
                                                              business as Next Day Business Loans, Defendants:
instead limited solely to determining whether Congress
                                                              Gene S. Stone, LEAD ATTORNEY, Homan & Stone,
intended to create the private right of action asserted. If
                                                              Redlands, CA.
the statute does not itself so provide, a private cause of
action will not be created through judicial mandate.
                                                              Judges: Hon. William V. Gallo, United States
                                                              Magistrate Judge.

    Business & Corporate                                      Opinion by: William V. Gallo
    Compliance > ... > Communications Law > Federal
    Acts > Telephone Consumer Protection Act                  Opinion
    Governments > Legislation > Interpretation

    Governments > Legislation > Statutory Remedies &          ORDER (1) GRANTING-IN-PART DEFENDANTS'
    Rights                                                    MOTION FOR PARTIAL SUMMARY JUDGMENT; (2)
                                                              GRANTING-IN-PART DEFENDANTS' MOTION TO
HN32[ ] Federal         Acts,   Telephone      Consumer       DISMISS; and (3) DENYING PLAINTIFFS' MOTION
Protection Act                                                FOR PARTIAL SUMMARY JUDGMENT.

47 C.F.R. § 64.1601(e), implementing the Telephone
Consumer Protection Act (TCPA), 47 U.S.C.S. § 227 et          [Doc. Nos. 48, 49, 50, 61 & 76.]
seq., does not expressly convey a private right of action.
Although the section references § 227(c), the Federal         In this action, Plaintiffs allege they received unlawful
Communications Commission's rule in § 64.1601(e)              facsimile advertisements and telemarketing calls in
appears to support consumers' enforcement efforts             violation of the Telephone Consumer Protection Act
under the TCPA's subsection (c), rather than to create a      ("TCPA") [*2] and other federal and state statutes and
separate mechanism upon which a consumer can make             regulations. Pending before the Court are cross-motions
an actionable claim.                                          for partial summary judgment and a motion to dismiss
                                                              the Second Amended Complaint ("SAC"). As explained
                                                              below, Defendants' summary judgment motion is
    Torts > ... > Multiple Defendants > Concerted             GRANTED-IN-PART, their motion to dismiss is
    Action > Civil Conspiracy                                 GRANTED-IN-PART, and Plaintiffs' summary judgment
                                                              motion is DENIED. Ultimately only Claims One and
HN33[    ] Concerted Action, Civil Conspiracy                 Three, both under the TCPA, remain from the Second
                                                              Amended Complaint.
Civil conspiracy is a legal theory of liability, not an
independent, actionable claim.
                                                              I. CASE SUMMARY
Counsel: [*1] For David Meyer, Ken Moser, Arnie Katz,
DCM Properties, Inc., Venture Support Group, LLC,             Plaintiffs David Meyer, Arnie Katz, and Ken Moser are
                                                              individual business owners who maintain fax and
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telephone lines in furtherance of their businesses.1           172 L. Ed. 2d 44 (2008) (quoting Fed. R. Civ. P 56(e)).
According to Plaintiffs, Defendant Capital Alliance
Group, in its various formulations, is engaged in the          HN2[ ] The moving party has "the burden of showing
business of advertising small business loans through           the absence [*4] of a genuine issue as to any material
third-party companies, which then illegally sent "junk         fact, and for these purposes the material it lodged must
faxes" and initiated telemarketing "robocalls" on its          be viewed in the light most favorable to the opposing
behalf.2 All three plaintiffs received several junk faxes,     party." Adickes v. S. H. Kress & Co., 398 U.S. 144, 157,
which they allege ultimately traced back to Defendants.        90 S. Ct. 1598, 26 L. Ed. 2d 142 (1970); see also Tolan
Plaintiff Moser also received telemarketing calls on his       v. Cotton, 572 U.S. , 134 S. Ct. 1861, 1866, 188 L. Ed.
mobile telephone, which he alleges traced back to              2d 895 (2014). A fact is material if it could affect the
Defendants. Plaintiffs brought this action under various       outcome of the suit under applicable law. See Anderson
state and federal [*3] statutes and regulations and            v. Liberty Lobby, Inc., 477 U.S. 242, 248-49, 106 S. Ct.
ultimately seek treble damages and attorneys' fees             2505, 91 L. Ed. 2d 202 (1986). A dispute about a
based on what they allege is Defendants' longstanding,         material fact is genuine if there is sufficient evidence for
willful, and knowing pattern of violative conduct. Trial is    a reasonable jury to return a verdict for the non-moving
scheduled to commence on December 4, 2017.                     party. Id. at 248.



II. DISCUSSION                                                 2. Claims Two, Seven, and Eight



A. Defendants' Motion for Partial Summary                      a. Claims Two (Cal. Bus. & Prof. Code § 17538.41,
Judgment (Doc. No. 50)                                         Junk Fax Law) and Eight (Cal. Bus. & Prof. Code §§
                                                               17200 et seq., Unfair Competition Law)

                                                               Defendants contend Plaintiffs lacks standing to bring
1. Legal Standard
                                                               both Claim Two (the so-called "Junk Fax Law," Cal. Bus.
HN1[ ] "A party may move for summary judgment,                 Prof. Code § 17538.41)3 and Claim Eight (California's
identifying each claim or defense - or the part of each        Unfair Competition Law ("UCL"), Cal. Bus. Prof. Code
claim or defense - on which summary judgment is                §§ 17200 et seq.) because they lack the measurable
sought. The court shall grant summary judgment if the          economic damages that both statutes require. (Doc. No.
movant shows there is no genuine dispute as to any             48 at 16-17; Doc. No. 50 at 12.)4 Defendants are
material fact and the movant is entitled to judgment as a      correct.
matter of law." Fed. R. Civ. P. 56(a). The party seeking
                                                               HN4[ ] Although an alleged violation of the TCPA is
summary judgment bears the initial burden of
                                                               enough to bestow standing under federal law, Van
establishing the basis for its motion and of identifying
the portions of the declarations, pleadings, and
discovery that demonstrate absence of a genuine issue
                                                               3 HN3[    ] The Junk Fax Law is part of the series of statutes
of material fact. Celotex Corp. v. Catrett, 477 U.S. 317,
106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986). The party            that are commonly referred to as the "false advertising law"
opposing summary judgment cannot "'rest upon the               ("FAL"). See People ex rel. Kennedy v. Beaumont Inv., Ltd.,
mere allegations or denials of [its] pleading' but must        111 Cal. App. 4th 102, 3 Cal. Rptr. 3d 429, 443 (Cal. Ct. App.
                                                               2003) ("Provisions . . . directed at false advertising are
instead produce evidence that 'sets forth specific facts
                                                               contained in division 7, part 3, chapter 1, starting with section
showing that there is a genuine issue for trial.'" Estate of
                                                               17500, which prohibits false or misleading statements. For
Tucker v. Interscope Records, 515 F.3d 1019, 1030 (9th
                                                               simplicity, we sometimes refer to these provisions as the 'false
Cir. 2008), cert. denied, 555 U.S. 827, 129 S. Ct. 174,        advertising law.'"). Section 17538.43—which appears in
                                                               division 7, part 3, chapter 1, article 2 of the Business and
                                                               Professions Code is contained within the FAL. This section
1 Plaintiff
          DMC Properties, Inc. ("DCM"), is owned and           specifically regulates the transmission of junk faxes.
operated by Meyer, and Plaintiff Venture Support Group, LLC    4 Allpin-cite references to documents filed on the Court's
("Venture"), is owned and operated by Katz.
                                                               CM/ECF system are to the page numbers electronically-
2 Defendants   Mark Mendoza and Narin Charanvattanakit are     generated by the CM/ECF system, not to the documents'
Capital Alliance Group's principals.                           native pagination.
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Patten v. Vertical Fitness Grp., LLC, 847 F.3d 1037,            allegations insufficient where that unsolicited text
1042 (9th Cir. 2017), the UCL and FAL have a "more              "advertising uses the paid for and economically valuable
limited standing requirement" than the general standing         text message allotments."); Olmos v. Bank of Am., N.A.,
requirement for federal claims, id. at 1048. "Because           No. 15-CV-2786-BAS(BGS), 2016 U.S. Dist. LEXIS
elements for standing 'are not mere pleading                    72329, at *10-11 (S.D. Cal. June 1, 2016) ("[T]he
requirements but rather an indispensable part of the            allegation that Plaintiff received two short text messages
plaintiff's case, each element must be supported in the         is insufficient to convey standing because the loss of
same way as [*5] any other matter on which the plaintiff        battery life and bandwidth as a result of these two
bears the burden of proof, i.e., with the manner and            messages was de minimis."). As Defendants point out,
degree of evidence required at the successive stages of         this economic damages requirement was the result of
the litigation.'" Troyk v. Farmers Grp., Inc., 171 Cal. App.    California Proposition 64, which amended the UCL and
4th 1305, 90 Cal. Rptr. 3d 589, 622 (Cal. Ct. App. 2009)        FAL to require economic damages.
(quoting Lujan v. Defenders of Wildlife, 504 U.S. 555,
561, 112 S. Ct. 2130, 119 L. Ed. 2d 351 (1992).                 HN7[ ] In 2004, California voters passed Proposition
                                                                64, which amended the UCL and FAL to require
HN5[ ] To demonstrate standing under the UCL and                plaintiffs to establish economic damages. Plaintiffs [*7]
FAL, Plaintiffs must "(1) establish a loss or deprivation       here argue that Proposition 64 amended only the UCL
of money or property sufficient to qualify as injury in fact,   and had no impact on the Junk Fax Law as codified in §
i.e., economic injury, and (2) show that that economic          17538.43. (Doc. No. 63 at 4.) Plaintiffs are decidedly
injury was the result of, i.e., caused by, the unfair           wrong. Proposition 64 also amended the FAL in the
business practice or false advertising that is the              same manner as the UCL. McGill v. Citibank, N.A., 2
gravamen of the claim." Kwikset Corp. v. Superior               Cal. 5th 945, 216 Cal. Rptr. 3d 627, 393 P.3d 85, 92
Court, 51 Cal. 4th 310, 120 Cal. Rptr. 3d 741, 246 P.3d         (Cal. 2017) ("In 2004, the voters, by passing Proposition
877, 885 (Cal. 2011) (emphasis in original).                    64, amended [the UCL and FAL] to provide that private
                                                                individuals may . . . file an action for relief only if they
HN6[ ] The UCL and FAL's "economic injury                       have 'suffered injury in fact and [have] lost money or
requirement is 'more restrictive than federal injury in         property as a result of' a violation . . . ."); Kwikset Corp.,
fact' because it encompasses fewer kinds of injuries."          246 P.3d at 887 ("Proposition 64 requires that a
Van Patten, 847 F.3d at 1048-49 (quoting Kwikset, 246           plaintiff's economic injury come "as a result of" the unfair
P.3d at 886). To satisfy California's statutory injury-in-      competition or a violation of the false advertising law.")
fact requirement, a plaintiff must show "a personal,            (emphasis added); Angelucci v. Century Supper Club,
individualized loss of money or property in any nontrivial      41 Cal. 4th 160, 59 Cal. Rptr. 3d 142, 158 P.3d 718,
amount." Kwikset Corp., 246 P.3d at 887.                        728 n.10 (Cal. 2007) ("We note as well that in 2004 the
                                                                California electorate enacted legislation restricting
Although this bar is not high, trivial, de minimis, or non-
                                                                previously broad standing requirements for a private
existent alleged injuries are not sufficient and do not
                                                                right of action under the state unfair competition and
constitute injury-in-fact for UCL and FAL standing.
                                                                false advertising laws (Bus. & Prof. Code, §§ 17200 et
Kwikset Corp., 246 P.3d at 887 (requiring "nontrivial
                                                                seq., 17500 et seq.)") (emphasis added). Accordingly,
amount"; noting that where California courts have found
                                                                section 17538.43 of the FAL requires the same
standing present, "the plaintiff could allege or prove an
                                                                economic injury as the UCL.5
identifiable monetary [*6] or property injury."). For
example, in Van Patten, the Ninth Circuit found that the        Here, Defendants contend none of the three Plaintiffs
plaintiff's receipt of an unwanted text was sufficient to       incurred cognizable economic damages as a result of
confer Article III standing, but not enough for standing        receiving Defendants' faxes. The Court agrees and
under the UCL. 847 F.3d at 1043, 1049. There, the only          addresses each Plaintiff in turn. In doing so, the
economic injury plaintiff alleged was that he was               Court [*8] keeps in mind that Plaintiffs bear the burden
required to pay for receiving defendant's text messages,        of proving they having standing and that "[i]n response
but the evidence showed that his cell phone plan                to a summary judgment motion [they cannot rest on] . . .
allowed unlimited messaging, meaning that he had no             mere allegations, but must set forth by affidavit or other
measurable economic loss. Id. at 1049; see also
Reichman v. Poshmark, Inc., No. 16-CV-2359-
                                                                5 Because   the UCL's economic injury requirement applies
DMS(JLB), 267 F. Supp. 3d 1278, 2017 U.S. Dist.
LEXIS 36371, at *17-18 (S.D. Cal. Jan. 3, 2017) (finding        equally to the FAL, references to the only UCL or the FAL in
                                                                this analysis apply equally to both.
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evidence specific facts, which for purposes of the                   expert testimony—that in any manner establishes any
summary judgment motion will be taken to be true."                   measure of economic injury he sustained from receiving
Lujan v. Defs. of Wildlife, 504 U.S. 555, 561, 112 S. Ct.            seven faxes. He merely avers that the faxes
2130, 119 L. Ed. 2d 351 (1992) (emphasis added;                      consumed [*10] an unknown quantity of ink and paper
citation and internal quotations omitted); see also                  that his business had to purchase to operate the fax
Kwikset Corp., 246 P.3d at 888-89 (applying Lujan                    machine. He and DCM conclude that because they
standard to state claim, but at motion to dismiss stage);            suffered a "loss of ink and paper," they have satisfied
Troyk v. Farmers Grp., Inc., 171 Cal. App. 4th 1305, 90              the economic loss requirement for UCL and FAL
Cal. Rptr. 3d 589, 622 (Cal. Ct. App. 2009) (same).6                 standing. (Doc. No. 63 at 5.)

                                                                     It is plainly evident that Meyer is unable to establish that
i. DCM Properties, Inc. and David Meyer                              he suffered a cognizable, non-trivial economic injury
                                                                     under the UCL and FAL. Although ink and paper have
Meyer, DCM's president, testified at deposition that he              some cost, Meyer provides nothing more than the
did not recall whether his fax machine required service              generic assertion that "literally anybody living in America
after he received Defendants' faxes. (Defendants' Fact               would have to know that ink and paper are economic
No. 10; Doc. No. 50-3 at 18.) Meyer testified he pays                commodities." (Doc. No. 63 at 5.) In relying on such
Vonage a flat rate for fax services and does not pay for             generic assertions, Meyer misses the point, relies on
individual faxes. (Defendants' Fact No. 5; Doc. No. 50-3             "mere allegations," and provides no specific evidence
at 11.) He did not known how much the junk faxes cost                from which the Court can conclude that he and DCM
DCM in paper or electricity. (Doc. No. 50-3 at 21, 24.)              suffered anything beyond a trivial, di minimis loss.
He speculated there might be a limit to the number of
faxes he could receive, but did not know whether there               To the contrary, Meyer's testimony actually establishes
was such a limit on his service plan. (Id.) Additionally,            that DCM's loss was trivial and di minimis. For example,
during the year Meyer received Defendants' faxes, his                DCM received a total of seven faxes from Defendants in
business both sent and received [*9] "a number of                    2013 and 2014, and Meyer testified that DCM
faxes" every day using a single fax machine.                         employees sent and received "a number" of faxes on a
(Defendants' Fact No. 6; Doc. No. 50-3 at 14.)                       daily basis during that year. Although "a number" of
Moreover, at deposition, Meyer withdrew any claim of                 faxes per day is not numerically [*11] defined by either
actual damages related to transmission of the junk                   party, the ink and paper that seven junk faxes would
faxes. (Defendants' Fact No. 11; Doc. No. 53 at 19.)                 consume during 2013 and 2014 would have been
                                                                     negligible. Even conservatively assuming for the sake of
The only evidence Meyer musters in response to this                  argument that DCM sent and received only two faxes
portion of Defendants' summary judgment motion is his                per day in 2013 and 2014, the resources that the 723
own declaration. (See Doc. No. 63-2.) With respect to                non-junk faxes would have consumed in those years
the economic injury issue, he therein declares that DCM              would have dwarfed any negligible resources that
Properties maintains a fax machine that operates in the              Defendants' seven7 junk faxes consumed. Even under
following manner: "If someone uses a device to send a                this conservative scenario, DCM's losses were di
fax to our fax number it will transcribe text and/or                 minimis and trivial.
images from a paper document to an electronic signal to
be received by our fax machine which will then                       Moreover, as in Van Patten, DCM paid a flat rate to
automatically print out a paper document copy of the                 Vonage and was not charged on a per-fax basis. Thus,
fax. This uses DCM Properties, Inc.'s ink and paper                  there is no evidence that DCM incurred any additional
which we and not the sender must purchase to make                    service provider charges when it received the seven
the physical fax document." (Doc. No. 63-2 at 2 ¶ 5                  junk faxes.
(emphasis added).) Beyond this generic statement,
                                                                     Plaintiffs seem to have recognized and admitted their
Meyer provides no evidence—documents or lay or


                                                                     7 Under   this conservative scenario that favors Meyer, seven
6 "[F]or a [UCL] lawsuit properly to be allowed to continue,         faxes account for less than 1% of all faxes Meyer would have
standing must exist at all times until judgment is entered and       sent and received in 2013 and 2014. Of course, the reality is
not just on the date the complaint is filed." Troyk, 90 Cal. Rptr.   likely that DCM sent and received many more than only two
3d at 622 (citation and internal quotations omitted).                faxes per day.
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inability to prove economic damages from the inception             voluntarily took affirmative steps to cause the
of this case. (See, e.g., SAC ¶ 61 (stating, in the context        consumption of ink and electricity—nothing Defendants
of the TCPA claim, that "[g]iven the nominal amount of             did compelled Katz and Moser to print the digital faxes
actual damages, Plaintiffs elect to pursue statutory               and incur damages, whether cognizable or not. Thus,
damages . . . .") (emphasis added).) Because Meyer                 even if Katz, Moser, and Venture had quantifiable
and DCM have only nominal damages and have failed                  damages, they could not be properly traced or attributed
to meet their burden to establish quantifiable, non-trivial        to Defendants. Defendants could not have caused such
economic injury, they lack standing under the [*12]                damages because they did not cause the faxes' printing.
UCL and the Junk Fax Law.
                                                                   Because Katz, Moser, and Venture have failed to meet
                                                                   their burden to establish that they suffered a
ii. Arnie Katz, Venture Support Group LLC, and Ken                 quantifiable, non-trivial economic injury, they lack
Moser                                                              standing under the UCL and the Junk Fax Law.

Plaintiffs Arnie Katz, Venture, and Ken Moser are
similarly situated in that they received junk faxes                iii. Conclusion
through      computer-based       fax    services    called
"myfax.com" and "efax.com." These services did not                 In sum, Defendants argue [*14] Plaintiffs had sustained
automatically print any of the faxes they received, and            no cognizable economic injury for UCL and FAL
the faxes were instead digitally stored on their                   standing purposes. In response, Plaintiffs provided no
computers.8 (Defendants' Fact No. 17; Doc. No. 50-5 at             specific evidence of economic injury and failed to
9-10; see Doc. No. 63-3 at 2 ¶¶ 5-6.) Both Katz and                dispute Defendants' asserted facts. Accordingly,
Moser saved the junk faxes and chose to voluntarily                Plaintiffs have not sufficiently established for purposes
print the faxes at a later date. (Doc. No. 50-5 at 11; Doc.        of the summary judgment any injury in fact. Cf. Troyk v.
No. 50-6 at 8-9.) Katz was not charged for individual              Farmers Grp., Inc., 171 Cal. App. 4th 1305, 90 Cal.
faxes and paid a flat rate fee to his service provider.            Rptr. 3d 589, 624-25 (Cal. Ct. App. 2009) (denying
(Doc. No. 50-5 at 9.)                                              Defendant's summary judgment motion challenging
                                                                   standing where Plaintiff presented sufficient evidence
Additionally, like Meyer, Katz and Moser generally                 that he was charged an additional $5 per month). Based
assert, without any evidence, that their economic loss—            on the foregoing, the Court lacks subject matter
whatever the amount might be—encompasses the "use                  jurisdiction over Claims Two (Junk Fax Law) and Eight
of ink and paper." (Doc. No. 63 at 6.) However, they               (UCL) because Plaintiffs lack standing. Accordingly,
provide no concrete evidence of economic injury to                 Defendants' motion for summary judgment is
rebut Defendants' argument that they suffered no such              GRANTED-IN-PART and judgment shall be entered in
injury. They simply contend that ink and paper have                Defendants' favor on these claims.
some measure of economic value, and that is enough to
satisfy the economic injury requirement under the [*13]
UCL and FAL. Applying the standard cited above, it is              b. Claim Seven: Consumer Legal Remedies Act, Cal.
again plainly evident that Katz and Moser suffered                 Civil Code § 1770(a)(22)
nothing more than trivial, nominal, di minimis economic
injury from the junk faxes they received. They have not-           In Claim Seven, Plaintiff Moser alleges Defendants
so-tacitly admitted this since the inception of this case.         violated HN8[ ] California Civil Code § 1770(a)(22),
(SAC ¶ 61.) And they now confirm as much given the                 which is a part of the Consumer Legal Remedies Act
complete dearth of evidence of quantifiable economic               ("CLRA"), and which essentially requires that all
injury.                                                            unsolicited prerecorded telephone messages first be
                                                                   introduced by a live person who must ask for permission
Finally, it not insignificant that Katz and Moser                  to play a recorded message. Continuing the challenge
voluntarily printed the faxes that were electronically             to Plaintiffs' standing, Defendants contend Moser [*15]
stored on their computers. Katz and Moser thus                     has not proven he suffered damages under the CLRA.9


8 Katzalso had a traditional, physical fax machine and testified   9 Forthe first time in their reply brief, Defendants also argue
at deposition that this machine had not required repair.           Moser was not a "consumer" under the CLRA because he
(Defendants' Fact No. 26; Doc. No. 50-6 at 9.)                     never intended to purchase the goods and services they were
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However, there is a more fundamental reason why                 insurance do not bring the [insurance] policies within the
Moser lacks standing: the CLRA simply does not apply            coverage of the [CLRA]."); Elstead v. JPMorgan Chase
to loan products in the first place. Although neither party     Bank, Nos. A140069, A141247, 2017 Cal. App. Unpub.
addressed whether the CLRA applies to the type of               LEXIS 1567, at *51-52 (Mar. 3, 2017) (approvingly
product marketed by the unsolicited faxes and                   discussing Alborzian in dicta).
telemarketing at issue in this case, the Court
nonetheless has a duty to examine its jurisdiction sua          Federal district courts have also held that loans do not
sponte. The Court does so now and finds that the CLRA           qualify as goods and services under the CLRA. See,
does not apply to this case.                                    e.g., Jamison v. Bank of Am., N.A., 194 F. Supp. 3d
                                                                1022, 1031-32 (E.D. Cal. 2016) ("[T]he court agrees
As an initial matter, HN9[ ] because the question of            with the California Court of Appeal decision in Alborzian
standing is a threshold jurisdictional issue, federal           and the majority of district court cases and concludes
courts have a duty to examine their jurisdiction sua            defendant's mortgage services do not fall within the
sponte. See D'Lil v. Best W. Encina Lodge & Suites, 538         coverage of the CLRA."); Consumer Solutions Reo, LLC
F.3d 1031, 1035 (9th Cir. 2008); United Investors Life          v. Hillery, 658 F. Supp. 2d 1002, 1016-17 (N.D. Cal.
Ins. Co. v. Waddell & Reed Inc., 360 F.3d 960, 967 (9th         2009) (dismissing CLRA claim with prejudice because
Cir. 2004) (stating that "the district court had a duty to      "loans are intangible goods and that ancillary services
establish subject matter jurisdiction . . . sua sponte,         provided in the sale of intangible goods [*17] do not
whether the parties raised the issue or not"). The Court        bring these goods within the coverage of the CLRA.");
may even dismiss a case for lack of subject matter              Sapan v. Lexington Mortg. Corp., No. SACV 16-01718-
jurisdiction without giving notice to the parties.              JVS(DFMx), 2017 U.S. Dist. LEXIS 63069, at *5-6 (C.D.
Scholastic Entm't, Inc. v. Fox Entm't Grp., Inc., 336 F.3d      Cal. Apr. 17, 2017); Kirkeby v. JP Morgan Chase Bank,
982, 985 (9th Cir. 2003); Franklin v. Oregon, State             N.A., No. 13-CV-377-WQH(MDD), 2014 U.S. Dist.
Welfare Div., 662 F.2d 1337, 1342 (9th Cir. 1981).              LEXIS 174385, at *22-25 (S.D. Cal. Dec. 17, 2014)
                                                                (holding loan modification programs, which are
HN10[ ] The CLRA applies to "transaction[s] intended            contractual obligations to pay money, are not goods or
to result or which result[] in the sale or lease of goods or    services within the meaning of the CLRA); Sonoda v.
services to [a] consumer . . . ." Cal. Civ. Code § 1770(a).     Amerisave Mortg. Corp., No. C-11-1803-EMC, 2011
The CLRA defines "goods" as "tangible chattels bought           U.S. Dist. LEXIS 73940, at *5 (N.D. Cal. July 8, 2011)
or leased for use primarily for personal, family, or            ("If a contractual obligation to pay money (under an
household purposes," id. § 1761(a), and [*16]                   insurance contract) is not a service, then neither is a
"services" as "work, labor, and services for other than a       contractual obligation to lend money.") (emphasis in
commercial or business use, including services                  original); Reynoso v. Paul Fin., LLC, No. 09-3225-SC,
furnished in connection with the sale or repair of goods,"      2009 U.S. Dist. LEXIS 106555, at *28-29 (N.D. Cal.
id. § 1761(b). For purposes of the CLRA, loans are              Nov. 16, 2009) (concluding the CLRA does not extend
neither goods nor services. Alborzian v. JPMorgan               to "ancillary services" in connection with mortgage
Chase Bank, N.A., 235 Cal. App. 4th 29, 185 Cal. Rptr.          loans).
3d 84, 93 (Cal. Ct. App. 2015) ("A mortgage loan is not
a 'good' because it is not a 'tangible chattel'; it is not a    Here, there is no dispute that Defendants' telemarketing
'service' because it is not 'work, labor, [or] services . . .   efforts concerned attempts to sell short-term business
furnished in connection with the sale or repair of              loans. (Doc. No. 61-5 at 20-28, 32 (exhibits D, E, F, and
goods.'"); see also Fairbanks v. Superior Court, 46 Cal.        H     to     Moser     Declaration    containing    email
4th 56, 92 Cal. Rptr. 3d 279, 205 P.3d 201, 206 (Cal.           communications Moser received from Capital Alliance in
2009) ("[A]ncillary services that insurers provide [such        response to Moser's communications with Capital
as loans] to actual and prospective purchasers of life          Alliance after he received telemarketing calls to his
                                                                cellular telephone; all emails specifically mention short-
trying to market through their telemarketing calls. If true,    term business loans); SAC, Doc. No. 1-1 at 30-85 (55
Moser lacks standing under the CLRA for this additional         exhibits to Second Amended Complaint containing
reason. However, the entire focus of Defendants' MSJ was on     faxes offering short-term business loans). [*18] Short-
their contention that Moser has no standing based on the lack   term business loans are not materially distinguishable
of actual economic damages. Given the Court's finding that      from the mortgage loans at issue in Alborzian—at
the CLRA does not apply in this case in the first place, the    bottom, both are contractual obligations to lend money.
Court does not resolve whether Moser qualifies as a
                                                                Moreover, the services Defendants provided to lenders
"consumer" under the CLRA.
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are ancillary services that do not bring this case within      furnished in connection with the sale or repair of goods."
the CLRA. The Court agrees with the multitude of state         Alborzian, 185 Cal. Rptr. 3d at 93 (citing Cal. Civ. Code
and federal cases and finds the CLRA does not cover            § 1761(b)) (emphasis added). For services "in
the subject matter of this case.                               connection with" the sale of goods to qualify under the
                                                               CLRA, "goods" must themselves be covered by the
At oral argument, Plaintiffs attempted to distinguish this     CLRA. See Gerbitz, 967 F. Supp. 2d at 1080. Since
case by arguing that Defendants were not lenders and           loans at their core are not "goods" or "services" under
were not themselves in the business of making business         the CLRA, advertising related to selling such intangible
loans—they merely served as loan advertisers. They             financial goods are not "services furnished in connection
contend that because Defendants did not actually issue         with" any goods or services. See Consumer Solutions
loans and simply provided marketing or advertising             Reo, LLC v. Hillery, 658 F. Supp. 2d 1002, 1016-17
services for the loan originators, they provided services      (N.D. Cal. 2009) ("Fairbanks . . . indicates that loans are
"related to" loans and thus fall outside the rule above.       intangible goods and that ancillary services provided in
The Court is not persuaded. In Fairbanks v. Superior           the sale of intangible goods do not bring these goods
Court, 46 Cal. 4th 56, 92 Cal. Rptr. 3d 279, 205 P.3d          within the coverage of the CLRA."). It would seem wildly
201 (Cal. 2009), the Supreme Court of California held          incongruous that the CLRA would apply to advertising or
that "the ancillary services that insurers provide to actual   marketing of loans but not apply to the loans
and prospective purchasers of life insurance do not            themselves. Indeed, bootstrapping the CLRA into this
bring the policies within the coverage of the CLRA." 205       case in this manner would, as the Supreme Court of
P.3d at 206. Since then, state and federal courts have         California explained, "defeat the apparent legislative
followed Fairbanks and have consistently found that            intent in limiting the definition of" goods and services,
HN11[ ] the CLRA does [*19] not cover ancillary                Fairbanks, 205 P.3d at 202; see also Gerbitz, 967 F.
services related to loans, and such services do not            Supp. 2d at 1080, by greatly expanding that definition.
transform intangible goods and services into tangible
goods and services that would otherwise not be covered         The Court finds that Defendants' advertising or
by the CLRA. See, e.g., Jamison v. Bank of Am., N.A.,          marketing of loans is an ancillary service that does not
194 F. Supp. 3d 1022 (E.D. Cal. 2016) (CLRA                    fall within the CLRA. Accordingly, Moser lacks [*21]
inapplicable to servicer of mortgage loan); Gerbitz v.         standing under the CLRA, and Defendants are entitled
ING Bank, 967 F. Supp. 2d 1072, 1080 (D. Del. 2013)            to summary judgment on Claim Seven.10
(finding that California law "makes clear that . . .
ancillary services, including maintenance or other
customer services, do not transform an intangible              3. Claims Nine (Trespass) and Ten (Conversion)
service into a tangible good or service under the
CLRA."); Alborzian v. JPMorgan Chase Bank, N.A., 235           Defendants seek summary judgment on the ninth claim
Cal. App. 4th 29, 185 Cal. Rptr. 3d 84, 93 (Cal. Ct. App.      (trespass) and tenth claim (conversion) on the basis that
2015) (affirming the dismissal of a homeowner's CLRA           Plaintiffs suffered no actual harm from Defendants'
claim alleged against one of its mortgage lenders and a        faxes or telemarketing calls. (Doc. No. 50 at 16-18.)
debt collection agent of the lender); Robles v. One W.         Plaintiffs respond that they suffered harm in the form of
Bank, No. B234196, 2012 Cal. App. Unpub. LEXIS                 the "tying up" of telephone lines and the use of Plaintiffs'
7618, at *13-14 (Cal. Ct. App. Oct. 22, 2012) (explaining      "physical and electronic" resources. (Doc. No. 63 at 8.)
that the court in Fairbanks "held that 'ancillary services'    Such nebulous "damages" are not sufficient for trespass
provided by insurers—like those also provided by sellers       and conversion claims under California law.
of investment securities, bank deposit accounts, and
                                                               HN13[ ] "Under California law, trespass to chattels lies
loans—which include 'assist[ing] prospective customers
                                                               where an intentional interference with the possession of
in selecting products that suit their needs, and . . .
                                                               personal property has proximately caused injury. In
provid[ing] additional customer services related to the
maintenance, value, use, redemption, resale, or
repayment,' do not fall under the CLRA.").
                                                               10 Giventhe Court's findings above, the Court need not resolve
The Court finds these state and federal cases                  whether the CLRA requires actual economic damages or
persuasive. HN12[ ] The CLRA defines "services" as             whether any damages satisfy CLRA standing. (See Doc. No.
"work, labor, and services for other than a                    50 at 15.) In light of the Court's grant of summary judgment,
                                                               the portion of the motion to dismiss the CLRA claim is
commercial [*20] or business use, including services
                                                               DENIED as moot.
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cases of interference with possession of personal              sufficient unless there is a dispossession . . . ." Id.
property not amounting to conversion, the owner has a          (internal quotations and citation omitted; emphasis
cause of action for trespass or case, and may recover          added). Thus, the Court held that in the absence of any
only the actual damages suffered by reason of the              actual damage or dispossession, a cause of action for
impairment of the property or the loss of its use." Intel      trespass to chattels will not lie. Id. at 308, 311.
Corp. v. Hamidi, 30 Cal. 4th 1342, 1 Cal. Rptr. 3d 32, 71
P.3d 296, 302 (Cal. 2003) (internal quotations and             Cases where viable electronic intrusion-based trespass
citation omitted) (emphasis in original). To allege a          claims lay have involved more than the trifling
plausible claim for trespass to a computer system or           interference with phone and fax lines evident in the
similar device, California [*22] law requires that             instant case. See, e.g., Thrifty-Tel, Inc. v. Bezenek, 46
plaintiffs plead with factual particularity that the           Cal. App. 4th 1559, 54 Cal. Rptr. 2d 468, 471 (Cal. Ct.
purported trespass: (1) caused physical damage to the          App. 1996) (finding trespass claim actionable where the
personal property, (2) impaired the condition, quality, or     defendant's [*24]      automated        dialing    system
value of the personal property, or (3) deprived plaintiff of   "overburdened the system, denying some subscribers
the use of personal property for a substantial time. Id. at    access to phones lines") (emphasis added); In re
306. The Supreme Court of California has emphasized            Lenovo Adware Litig., No. 15-MD-2624-RMW, 2016
that:                                                          U.S. Dist. LEXIS 149958, at *35 (N.D. Cal. Oct. 27,
                                                               2016) (denying motion to dismiss where "Plaintiffs
    HN14[ ] [U]nder California law the tort [of                allege[d] that consumers complained that [software
    trespass] does not encompass, and should not be            installed on computers] 'interfered with watching videos
    extended      to    encompass,      an    electronic       online, caused the computers to run slow, blocked or
    communication that neither damages the recipient           slowed connections to certain websites, and caused
    computer system nor impairs its functioning. Such          security issues.'"); see also Sch. of Visual Arts v.
    an electronic communication does not constitute an         Kuprewicz, 3 Misc. 3d 278, 771 N.Y.S.2d 804, 808 (N.Y.
    actionable trespass to personal property, i.e., the        Sup. Ct. 2003) (finding sufficient plaintiffs' allegations
    computer system, because it does not interfere with        that "large volumes" of unsolicited job applications and
    the possessor's use or possession of, or any other         pornographic e-mails "depleted hard disk space, drained
    legally protected interest in, the personal property       processing power, and adversely affected other system
    itself.                                                    resources on SVA's computer system").

Id. at 300 (emphasis added).                                   Consistent with the reasoning in Hamidi, HN16[ ]
                                                               courts have rejected trespass claims where the alleged
In Hamidi, a computer company brought an action                injury was trifling and did not materially interfere with the
against a former employee and sought an injunction to          computer system or resources. See, e.g., In re iPhone
prevent him from sending e-mails to the company's              Application Litig., 844 F. Supp. 2d 1040, 1069 (N.D. Cal.
employees. The employee had used Intel's internal              2012) (dismissing complaint with prejudice where
internet-connected e-mail system to send e-mails to            alleged harm included consumption of bandwidth,
between 8,000 and 35,000 employees on six occasions,           storage space, memory and finding that "[w]hile these
and he refused to stop when Intel requested [*23] that         allegations conceivably constitute a harm, they do not
he do so. Id. The trial court granted summary judgment         plausibly establish a significant reduction in service
for Intel and issued a permanent injunction on a theory        constituting an interference with the intended
of trespass to chattels. Id. at 301-02. The appellate          functioning [*25] of the system, which is necessary to
court affirmed, but the Supreme Court of California            establish a cause of action for trespass."); Fields v.
reversed on the grounds that the tort of trespass to           Wise Media, LLC, No. C12-05160-WHA, 2013 U.S. Dist.
chattels did not encompass, and should not be                  LEXIS 136914, at *13 (N.D. Cal. Sep. 24, 2013)
extended to encompass, electronic intrusions that              (dismissing complaint with prejudice and rejecting
neither damaged nor impaired the functioning of Intel's        argument that the "defendants' interference with
computer system. Id. at 300, 304. In doing so, HN15[ ]         plaintiffs' phones by sending unsolicited text messages
the court rejected the argument that the mere                  directly affects a 'legally protected interest' of plaintiffs,
"unauthorized use of another chattel is actionable even        even if their phones are not physically damaged."); see
without any showing of injury." Id. at 306. In the context     also Fields, 2013 U.S. Dist. LEXIS 136914, at *14-15
of cognizable injury, the court then explained that "[a]       ("Allowing plaintiffs to assert a claim for trespass to
mere momentary or theoretical deprivation of use is not        chattels absent actual physical harm or impairment to
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their phones would vastly expand tort law and this order       nominal damages for harmless intermeddlings with the
will not do so absent binding Ninth Circuit authority. This    chattel.'") (citing Hamidi, 71 P.3d at 302) (emphasis
order denies plaintiffs leave to add trespass to chattels      added).
as a claim for relief based on the plain reading of
Hamidi.").                                                     Plaintiffs' reliance on Thrifty-Tel is misplaced because
                                                               that case involved a far greater intrusion upon telephone
Here, Plaintiffs' trespass claim is precisely the type of      lines than Plaintiffs experienced. There, the defendants
momentary, injury-lacking intrusion described in Hamidi.       essentially hacked Thrifty-Tel's telephone lines, used
Beyond bare assertions that "the illegal facsimiles and        software to perform "rapid-fire random number
calls tied up the phone lines and used the physical and        searches" four hours on end, made thousands of long-
electronic resources of Plaintiffs," (see Doc. No. 63 at       distance telephone calls, and "[b]ecause Thrifty-Tel is a
8), Plaintiffs have presented no competent evidence of         small carrier with relatively few telephone lines, [the
meaningful interference with—or any dispossession of—          defendant's] automated calling overburdened the
their computers, telephone lines, or fax lines.                system, denying some subscribers access to phones
Besides [*26] the general assertion that their telephone       lines." Thrifty-Tel, Inc., 54 Cal. Rptr. 2d at 471-72 [*28] .
and fax lines were "tied up," they present no evidence of      The California Court of Appeal held that the trespass
any measureable damage or impairment of functioning.           claim survived under these aggravated circumstances
Rather, the only evidence before the Court establishes         that demonstrated substantial interference with,
that Plaintiffs sustained nothing more than momentary          occupation, and use of Thrifty-Tel's resources. Here,
intrusions.                                                    however, the totality of the evidence Plaintiffs muster is
                                                               that their fax and telephone lines were momentarily "tied
Additionally, Plaintiffs have not—and cannot—establish         up" on a trivial number of occasions11 and fail to present
the cost of their alleged losses. First, had they had any      any evidence of any real harm they suffered as a
such evidence, they surely would have presented it at          result.12 This case is therefore a far cry from Thrifty-Tel,
this summary judgment phase. And second, Plaintiffs all        which does not support Plaintiffs' analysis-lacking
testified in depositions that they could not quantify the      assertions claiming otherwise.
amount of their losses. Such trifling intrusions are
patently insufficient and plainly not actionable under         As for Claim Ten for conversion, HN17[ ] under
California law. See Hamidi, 71 P.3d at 306. Accordingly,       California law, Plaintiffs must prove an "ownership or
because the only evidence before the Court establishes
nothing more than a momentary intrusion upon
Plaintiffs, their trespass claim fails. Accord id. at 306-07   11 Defendants  Meyer and DCM Properties collectively received
("That Hamidi's messages temporarily used some
                                                               seven faxes and no telemarketing calls. (Doc. No. 63-2 at ¶ 6.)
portion of the Intel computers' processors or storage is, .    Defendant Moser received six faxes and four telemarketing
. . not enough; Intel must, but does not, demonstrate          calls. (Doc. No. 63-3 at ¶¶ 67, 11, 14, 15-16.) Defendant Katz
some measurable loss from the use of its computer              received 41 faxes and no telemarketing calls. (Doc. No. 63-4
system.")                                                      at ¶ 14.) Even Katz's 41 faxes pale in comparison to the
                                                               thousands of calls the Thrifty-Tel defendants made using far
However, even if Plaintiffs had been able to quantify the      more intrusive methods that essentially hijacked the
amount of their losses, those amounts would                    company's telephone lines. Indeed, the Thrify-Tel defendants'
nonetheless have been nominal given [*27] the small            conduct was far more egregious, as it involved the intrusion
number of telephone calls and faxes they received.             into the company's computer systems and intrusive, rapid-fire
Indeed, Plaintiffs themselves acknowledge that they            searches using outside software that overburdened the
suffered nothing more than nominal damages. (SAC,              systems for hours.
Doc. No. 1-1 at ¶¶ 40, 61 ("Given the nominal amount of        12 Any  ink, paper, and electricity costs Katz and Moser incurred
actual damages, Plaintiffs elect to pursue statutory
                                                               from printing the faxes are not attributable to Defendants.
damages . . . .") (emphasis added).) The trespass claim        They admit that their computers did not automatically print the
would nonetheless fail for the simple and undisputed           faxes and instead stored all of them digitally. Any costs related
fact that Plaintiffs suffered nothing more than nominal        to printing the faxes were incurred by Katz and Moser's own
damages, if any at all. See Omega World Travel, Inc. v.        affirmative actions and cannot be compared to Thrifty-Tel.
Mummagraphics, Inc., 469 F.3d 348, 359 (4th Cir. 2006)         Plaintiffs imposed the costs upon themselves. It utterly strains
("[T]he courts that recognize trespass to chattels based       credulity to attribute any such costs to Defendants when Katz
upon computer intrusions do not allow 'an action for           and Moser themselves chose to print digital faxes stored on
                                                               their computers.
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right to possession of the property at the time of the       unsolicited advertisement is sent or whose goods or
conversion, the defendant's conversion by a wrongful         services are advertised or promoted in the unsolicited
act or disposition of property rights, and resulting         advertisement.'" Bee, Denning, Inc. v. Capital All. Grp.,
damages." Avidor v. Sutter's Place, Inc., 212 Cal. App.      310 F.R.D. 614, 620 n.2 (S.D. Cal. 2015) (quoting 47
4th 1439, 151 Cal. Rptr. 3d 804, 814 (Cal. Ct. App.          C.F.R. § 64.1200(f)(10)) (emphasis in original). "Thus,
2013). Conversion requires a higher showing than             under this definition, a company can 'send' an
trespass, which has been dubbed the "little brother of       unsolicited     fax   advertisement     without   directly
conversion." Hamidi, 71 P.3d at 302 ("[T]he tort of          participating in the physical transmission of such a fax."
trespass to chattels allows recovery for interferences       Id. Accordingly, Defendants are incorrect that they
with possession of personal property 'not sufficiently       cannot be held liable because they did not personally
important to be classed as conversion.'"); Plotnik v.        send faxes or make telemarketing calls.
Meihaus, 208 Cal. App. 4th 1590, 146 Cal. Rptr. 3d 585,
600 (Cal. Ct. App. 2012) ("Trespass to personal              As for both Claims One and Three, the question is
property often arises in circumstances where a               whether Defendants can be held liable for the fax
defendant's interference with another's property falls       transmissions or telemarketing calls of third-party
short of that required for [*29] a conversion cause of       vendors. This analysis requires Plaintiffs to prove there
action."); Thrifty-Tel, Inc., 54 Cal. Rptr. 2d at 473.       is an agency relationship between Capital Alliance and
Because conversion claims require a higher showing, it       Absolute Fax for Claim One and Capital Alliance and
follows that plaintiffs who cannot meet the lower            Message Communications for Claim Three. If there is
trespass threshold will not be able to meet the higher       no legal agency relationship, then Message
conversion threshold. Defendants are entitled to             Communications and Absolute Fax are independent
summary judgment on both the trespass (claim 9) and          contractors under the law and Defendants cannot be
conversion claims (claim ten).                               held liable.

                                                             HN19[ ] There are three different agency theories of
                                                             liability under California law: actual authority, apparent
4. Claim Eleven (Civil Conspiracy)
                                                             authority, and ratification. Id. at n.3; see also Henderson
In light of the Court's finding below dismissing Claim       v. United Student Aid Funds, Inc., No. 13-CV-1845-
Eleven with prejudice, this portion of Defendants'           JLS(BLM), 2017 U.S. Dist. LEXIS 28165, at *19 (S.D.
summary judgment motion is DENIED as moot.                   Cal. Feb. 27, 2017) [*31] (discuss all three agency
                                                             theories in the context of the TCPA; granting
                                                             defendants' summary judgment motion).
B. Plaintiffs' Motion for Partial Summary Judgment
                                                             Under the "classical" or actual authority theory of
(Doc. No. 61)
                                                             agency, "'[t]o form an agency relationship, both the
                                                             principal and the agent must manifest assent to the
                                                             principal's right to control the agent." Henderson, 2017
1. Claims One (Junk Faxes, 47 U.S.C. § 227(b)(1)(C))
                                                             U.S. Dist. LEXIS 28165, at *16 (quoting United States v.
and Three (Telemarketing Calls, 47 U.S.C. §
                                                             Bonds, 608 F.3d 495, 506 (9th Cir. 2010)). "This in turn
227(b)(1)(B))
                                                             implicates 'the degree of control exercised by the
In Claim One, Plaintiffs Meyer, Katz, and DCM                principal over the activities of the agent.'" Id. (quoting In
Properties allege they received junk faxes in violation of   re Coupon Clearing Serv., Inc., 113 F.3d 1091, 1099
47 U.S.C. § 227(b)(1)(C). In Claim Three, Plaintiff Moser    (9th Cir. 1997)). "Agency is not established when
further alleges he received pre-recorded telemarketing       'control may be exercised only as to the result of the
calls on his home telephone on at least four occasions       work and not the means by which it is accomplished[;]"
in violation of 47 U.S.C. § 227(b)(1)(B). Because a          in such a case "an independent contractor relationship
genuine dispute of material fact exists as to Defendants'    exists.'" Id. (same).
third-party liability, Plaintiffs' motion for summary
                                                             Here, as to Claim One, Plaintiffs proffer that the
judgment on these claims is DENIED.
                                                             evidence establishes that "Capital Alliance, though its
As an initial matter, HN18[ ] "[u]nder the TCPA's            CEO, Mr. Charanvattanakit, admits it hired a company
implementing regulations, a fax 'sender' is defined as       called Absolute Fax to send fax ads on its behalf. Mr.
'the person [*30] or entity on whose behalf a facsimile      Charanvattanakit agrees that he knew Absolute Fax
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would send fax advertisements for Capital Alliance                  Dist. Council of Iron Workers of Cal. & Vicinity, 124 F.3d
Group. [He] admits Capital Alliance Group paid Absolute             1094, 1099 (9th Cir.1997). Rather, it is only established
Fax to send the fax ads. [He] admits that Absolute Fax              "by proof of something said or done by the [alleged
sent these fax ads. He also admits that he did not                  principal], on which [the plaintiff] reasonably relied." Id.
discuss TCPA compliance [*32] with Absolute Fax."                   "The principal's manifestations giving rise to apparent
(Doc. No. 61-1 at 9.) As to Claim Three, Plaintiffs proffer         authority may consist of direct statements to the third
that the evidence establishes that "Capital Alliance,               person, directions to the agent to tell something to the
though its CEO, Mr. Charanvattanakit, admits it hired a             third person, or the granting [*34] of permission to the
company called Message Communications to make                       agent to perform acts . . . under circumstances which
calls on its behalf. [He] agrees that he knew Message               create in him a reputation of authority. . . ." Mavrix
Communications would make prerecorded phone calls                   Photographs, Ltd. Liab. Co. v. LiveJournal, Inc., No. 14-
for Capital Alliance. [He] admits Capital Alliance paid             56596, 873 F.3d 1045, 2017 U.S. App. LEXIS 16624, at
Message Communications to make the calls. [He]                      *18-19 (9th Cir. Apr. 7, 2017) (amended opinion)
admits that Message Communications made these                       (quoting Hawaiian Paradise Park Corp. v. Friendly
calls." (Doc. No. 61-1 at 14-15.)                                   Broad. Co., 414 F.2d 750, 756 (9th Cir. 1969)).

Even accepting all of the above as true, Plaintiffs have            Here, there is currently insufficient evidence for the
nonetheless failed to establish actual authority agency             Court to conclude that apparent authority agency exists
as a matter of law.13 Plaintiffs have at most established           as a matter of law. Plaintiffs argue that consumers who
Capital Alliance's control over the result of the work—             called the numbers listed on faxes pressed buttons,
not over the means by which it was accomplished. In                 reached Capital Alliance, and had "no choice other than
other words, Plaintiffs have only established                       to believe Message Communications was acting on
Defendants' hiring of third-party vendors to accomplish             behalf of Capital Alliance Group since the third party
the ultimate goal of sending faxes and making                       would never even know during the call that anybody
telemarketing calls, but they have not established the              other than Capital Alliance Group was on the line." (Doc.
requisite control over the methods and means the                    61 at 17.) But they cite no cases that support this
companies employed to accomplish these tasks.                       argument. While there could be sufficient evidence for a
Plaintiffs inadvertently signal this lack of oversight and          jury to find Message Communications and Absolute Fax
control when they argue that Capital Alliance [*33] "did            had apparent authority, there is insufficient evidence for
not express to Message Communications any                           the Court to so conclude as a matter of law. In sum,
requirement of TCPA-compliance in transmitting its                  reasonable minds could differ, and Plaintiffs have not
calls." (Doc. No. 61 at 16.) At this juncture, Plaintiffs           produced sufficient evidence. A triable issue of fact
have not shown as a matter of law that an actual                    exists as to whether Defendants are liable for TCPA
authority agency relationship existed such that Capital             violations under the apparent authority theory of
Alliance is liable for the faxes Plaintiffs received and the        vicarious liability.
telemarketing calls Moser received.
                                                                    Finally, HN21[ ] under the ratification theory of agency,
Next, HN20[ ] "[a]pparent authority is the power held               "[a]lthough a principal [*35] is liable when it ratifies an
by an agent or other actor to affect a principal's legal            originally unauthorized tort, the principal-agent
relations with third parties when a third party reasonably          relationship is still a requisite, and ratification can have
believes the actor has authority to act on behalf of the            no meaning without it." Batzel v. Smith, 333 F.3d 1018,
principal and that belief is traceable to the principal's           1036 (9th Cir. 2003); see also Henderson, 2017 U.S.
manifestations." Makaron v. GE Sec. Mfg., No. CV-14-                Dist. LEXIS 28165, at *23-24. Accordingly, the Court
1274-GW(AGRx), 2015 U.S. Dist. LEXIS 75240, at *20-                 necessarily denies this portion of the MSJ as well
21 (C.D. Cal. May 18, 2015) (internal quotations and                because it is dependent on the existence of actual or
citation omitted). Apparent authority "cannot be                    apparent authority agency.
established merely by showing that [the alleged agent]
claimed authority or purported to exercise it." NLRB v.
                                                                    2. Claims Two, Three, and Six

13 Defendants'     objections to the expert report of Jeffrey       Plaintiffs seeks entry of judgment in their favor on
Hansen are moot. Even accepting, for the sake of argument,          Claims Two, Three, and Six. However, in light of the
all of Plaintiffs' proffered evidence, including Hansen's report,   Court's rulings on these claims in Defendants' favor
jury questions still remain.
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elsewhere in this Order, these portions of Plaintiffs'       Court's subject matter jurisdiction is limited to deciding
motion are DENIED as moot.                                   "cases" or "controversies." See, e.g., Allen v. Wright,
                                                             468 U.S. 737, 750, 104 S. Ct. 3315, 82 L. Ed. 2d 556
                                                             (1984). No case or controversy exists if a plaintiff lacks
4. Personal Liability of Narin Charanvattanakit and          standing or if a case is not ripe for adjudication, see,
Mark Mendoza; Statutory Damages; and Entitlement             e.g., Thomas v. Anchorage Equal Rights Comm'n, 220
to "Willful" or "Knowing" Trebled Damages                    F.3d 1134, 1139 (9th Cir. 1999) (en banc), and
                                                             consequently a federal court lacks subject matter
HN22[ ] The TCPA imposes personal liability on               jurisdiction. See, e.g., White v. Lee, 227 F.3d 1214,
companies' directors and officers who direct, authorize,     1242 (9th Cir. 2000) (reiterating that "standing . . .
or ratify violations of the TCPA. Plaintiffs seek summary    pertain[s] to a federal court's subject-matter jurisdiction
judgment on the personal liability of Mark Mendoza and       under Article III"); St. Clair v. City of Chico, 880 F.2d
Narin Charanvattanakit, Capital Alliance's principals.       199, 201 (9th Cir. 1989) ("Whether a claim is ripe for
However, because the Court has found Plaintiffs have         adjudication goes to a court's subject matter jurisdiction
not established a TCPA violation in the first place and      under the case or controversy clause of article III of the
thus denied their MSJ on Claims One and Three, this          federal Constitution.").
portion of the motion is also DENIED. [*36] Additionally,
Plaintiffs' motion as to their entitlement of statutory      Plaintiffs object that FRCP 12(g) prohibits Defendants
damages is DENIED for the same reason. Finally, the          from filing this motion to dismiss in its entirety because
motion as to whether Defendants wilfully or knowingly        they failed to raise the jurisdictional challenge in their
violated the TCPA is DENIED for the same reason. The         initial motion to dismiss. However, HN24[ ] lack of
fundamental determination that the TCPA has been             subject matter jurisdiction may be raised by any party at
violated must precede each of these inquiries, which         any time, and it is never waived. See United States v.
cannot logically follow if there has been no TCPA            Cotton, 535 U.S. 625, 630, 122 S. Ct. 1781, 152 L. Ed.
violation in the first place.                                2d 860 (2002). Thus, an exception to FRCP 12(g)
                                                             applies here and permits Defendants to challenge the
                                                             Court's jurisdiction based on Plaintiffs' lack of standing.
C. Defendants' Motion to Dismiss (Doc. Nos. 48, 49)          See FRCP 12(h)(3) ("If the court determines at any time
                                                             that it lacks subject-matter jurisdiction, [*38] the court
Defendants' motion to dismiss is based on (1) the lack       must dismiss the action.") (emphasis added).
of subject matter jurisdiction based on lack of standing     Accordingly, the motion to dismiss is timely.
and (2) failure to state a claim under Rule 12(b)(6). As a
result of the rulings above on Defendants' MSJ, five
portions of the motion to dismiss are moot. The Court        b. Plaintiffs Properly Allege Article III Standing for
GRANTS the motion in part and dismisses Claims Four,         TCPA Purposes
Five, Six, and Eleven with prejudice. The motion with
respect to Claims One and Three is DENIED.                   HN25[ ] In the context of the TCPA, unsolicited fax
                                                             messages, like unsolicited telemarketing phone calls or
                                                             text messages, violate the consumer's privacy and
1. Claim One: Telephone Consumer Protection Act,             disturb their solicitude. See Van Patten v. Vertical
47 U.S.C. §§ 227 et al.                                      Fitness Grp., Ltd. Liab. Co., 847 F.3d 1037, 1043 (9th
                                                             Cir. 2017). For TCPA purposes, these injuries are
Defendants contend Plaintiffs lack standing to bring the     sufficient to confer Article III standing, and Plaintiffs
TCPA Claim One. (Doc. No. 48 at 11-15.) As an initial        need not allege any additional harm. Id.; accord Gibbs
matter, the Court finds this portion of the motion is        v. SolarCity Corp., 239 F. Supp. 3d 391 (D. Mass. 2017)
timely, as it is a challenge to the Court's jurisdiction.    (collecting cases); Flores v. Access Ins. Co., No. 15-CV-
However, Plaintiffs have properly alleged Article [*37]      2883-CAS(AGRx), 2017 U.S. Dist. LEXIS 36486, at *11-
III standing, and the Court has jurisdiction over the        12 (C.D. Cal. Mar. 13, 2017) (rejecting economic harm
TCPA claim as a result.                                      argument); see also Palm Beach Golf Ctr.-Boca, Inc. v.
                                                             John G. Sarris, D.D.S., P.A., 781 F.3d 1245, 1252-53
                                                             (11th Cir. 2015) (holding that occupation of fax machine
a. Timeliness of the Motion to Dismiss                       during junk fax transmission on its own sufficiently
                                                             confers Article III standing); Cordoba v. DIRECTV, LLC,
HN23[    ] Under Article III § 2 of the Constitution, this
    Case 2:19-cv-13094-TGB-EAS ECF No. 4-4, PageID.85 Filed 10/29/19 Page 28 of 50
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320 F.R.D. 582, 2017 U.S. Dist. LEXIS 125486, at *25-          Based on the foregoing, Defendants' motion to dismiss
27 (N.D. Ga. 2017) (same; collecting cases).                   Claim One based on the lack of Article III standing is
                                                               DENIED.14
Here, Plaintiffs allege Defendants violated the TCPA by
sending each of them unsolicited fax messages without
their consent and without a pre-existing business              2. Claims Two, Seven, Eight, Nine, and Ten
relationship. (SAC ¶¶ 34-36.) Under the line of cases
above, these allegations alone are sufficient to confer        Defendants move to dismiss Claims Two, Seven Eight,
Article III standing on Plaintiffs, and they need not allege   Nine, and Ten. However, given that the Court has found
anything further.                                              they are entitled to summary judgment, the motion to
                                                               dismiss these claims is DENIED as moot.
Defendants primarily argue that Plaintiffs cannot "claim
actual harm" in this case because each of the faxes
contained a telephone number or website address                3. Claim Three (TCPA, 47 U.S.C. § 227(b)(1)(B))15
where the [*39] recipient can ask to opt out. But this
argument is misleading because it relies on what is            Defendants contend Claim Three must be dismissed
essentially a defense to a TCPA claim that is jury-rigged      because Plaintiff Moser failed to provide "well pleaded
into a standing argument. They cite ARcare v. Qiagen           factual allegations" with respect to the Claim's second
North American Holdings, Inc., No. CV-16-7638-                 element, which alleges Defendants used an automatic
PA(ASx), 2017 U.S. Dist. LEXIS 8344 (C.D. Cal. Jan.            telephone dialing system in violation of 47 U.S.C. §
19, 2017), and argue that faxes that contain opt-out           227(b)(1)(B). (Doc. No. 48 at 17.) Specifically, Moser
notices render Plaintiffs "unable to show that their           alleges, "on information and belief . . . that Defendants
injuries are traceable or related to [Defendants'] alleged     made many more calls to his telephone lines by
violations of the TCPA." (Doc. No. 48 at 15.) ARcare           prerecorded      voice     message        containing   [a
followed this same line of reasoning that Defendants           prerecorded [*41] voice to deliver a message]." (SAC,
now advance. However, ARcare is not persuasive for             Doc. No. 1 ¶ 71.) Defendants take issue that these
two reasons.                                                   allegations were made "on information and belief."
                                                               However, in the preceding paragraph of the Second
First, ARcare is an unpublished district court case that       Amended Complaint, Moser alleges: "Defendants . . .
pre-dated Van Patten—a binding, published opinion by           called Plaintiff MOSER'S residential telephone line,
the Ninth Circuit, which requires nothing more than the        using a prerecorded voice to deliver a message, without
transmission of an unsolicited fax to confer Article III       Plaintiff MOSER'S express permission at least four (4)
standing. The Court declines to follow ARcare over Van         times within the last 4 years, the statutory period
Patten. So long as Plaintiffs allege they received
unsolicited faxes, which they have done here, they have
satisfied the standing pleading requirement and need           14 Because  ARcare is inapposite here, Defendants' request for
not allege more.                                               judicial notice (Doc. No. 49) of the telephone numbers
                                                               contained in the faxes attached to the Second Amended
Second, ARcare has been criticized as imposing "a
                                                               Complaint is DENIED as moot.
heightened causation requirement that is not supported
by case law on standing." Horton v. Southwest Med.             15 Although   the motion to dismiss this claim is procedurally
Consulting, LLC, No. 17-CV-266-CVE-mjx, 2017 U.S.              untimely under Federal Rule of Civil Procedure 12(g)(2), the
Dist. LEXIS 105663, at *13 (N.D. Okla. July 10,                Ninth Circuit recently joined two other Circuit Courts of
2017) [*40] ; see also Gorss Motels, Inc. v. Sysco Guest       Appeals in "forgiving of a district court's ruling on the merits of
Supply, LLC, 2017 U.S. Dist. LEXIS 133488, at *19-20           a late-filed Rule 12(b)(6) motion." In re Apple iPhone Antitrust
(D. Conn. Aug. 21, 2017) (criticizing ARcare; concurring       Litig., 846 F.3d 313, 319 (9th Cir. 2017). In doing so, the Court
                                                               read section 12(g)(2) in conjunction with Rule 1 and concluded
with Horton); Cordoba, 320 F.R.D. 582, 2017 U.S. Dist.
                                                               that "[d]enying late-filed Rule 12(b)(6) motions and relegating
LEXIS 125486, at *25-27 ("[A]n overwhelming majority
                                                               defendants to the three procedural avenues specified in Rule
of courts . . . have continued to hold that the mere
                                                               12(h)(2) can produce unnecessary and costly delays, contrary
receipt of faxes, telemarketing calls, and/or text             to the direction of Rule 1." Id. at 318. Accordingly, with this
messages in violation of the TCPA constitutes sufficient       guidance in mind, Plaintiffs' objections to the timeliness of the
harm for purposes of Article III standing") (collecting        motion in this regard are OVERRULED, and the Court
cases; identifying ARcare as an outlier).                      proceeds to the merits of this otherwise untimely portion of the
                                                               motion to dismiss.
    Case 2:19-cv-13094-TGB-EAS ECF No. 4-4, PageID.86 Filed 10/29/19 Page 29 of 50
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established by 28 U.S.C. § 1658. Plaintiff received the
calls on 8/6/13, 8/29/13, 11/15/13, and 11/26/13." (Id. ¶       b. Claims Four and Five are Dismissed
70.) Ignoring these specific factual allegations,
Defendants contend Claim Three contains "nothing                HN27[ ] The FCC's TCPA-implementing regulations in
more than a formulaic recitation of the second element .        47 C.F.R. § 64.1200(b) require all prerecorded
. . ." (Doc. No. 48 at 17.) However, even assuming,             messages to state the identity of the entity responsible
without deciding, Defendants are correct that the               for the call at the beginning of the call and provide a
allegations in paragraph 71 are insufficient, Claim Three       contact number during the message for that entity.
remains viably well-pled based on the specific                  Defendants contend this regulation does not create a
allegations in paragraph 70. The latter paragraph               private right of action and accordingly seek dismissal of
contains specific facts and dates, complies with                Claims Four and Five. Defendants are correct.
pleading requirements, and is not a mere formulaic
                                                                HN28[ ] Only two provisions of the TCPA expressly
recitation of elements. Accordingly, Defendants' motion
                                                                create private rights of action. 47 U.S.C. §§ 227(b)(3),
to dismiss Claim Three is DENIED.
                                                                227(c)(5). However, the regulations in section
                                                                64.1200(b) "flow directly from the directives in Section
4. Claims Four (47 C.F.R. § 64.1200(b)(1)); Five (47            227(d)(3)." Hurley v. Wayne Cty. Bd. of Educ., No. 3:16-
C.F.R. § 64.1200(b)(2)); and Six (47 C.F.R. §                   9949, 2017 U.S. Dist. LEXIS 86345, at *10 (S.D. W. Va.
64.1601(e))                                                     June 6, 2017); see also Lynn v. Monarch Recovery
                                                                Mgmt., 953 F. Supp. 2d 612, 620 n.26 (D. Md. 2013).
Next, [*42] Defendants contend Plaintiffs lack standing         Section 227(d), unlike sections 227(b) and 227(c), does
to bring the fourth, fifth, and sixth claims because the        not contain a provision that creates a private right of
relevant subsections of 47 C.F.R. § 64.1200 and 47              action. Charvat v. NMP, LLC, 656 F.3d 440, 449 (6th
C.F.R. § 64.1601(e) do not provide for a private right of       Cir. 2011) ("Technical and procedural standards specific
action. As an initial matter, the Court finds this portion of   to automated calls are included in § 227(d) and
the motion to dismiss is timely given that it is a              accompanying regulation 47 C.F.R. § 64.1200(b), which
challenge to the Court's jurisdiction. As for the merits,       do not provide a private right of action or a statutory-
the Court finds none of the regulations in these claims         damages provision."); Boydston v. Asset Acceptance
confer a private right of action upon Plaintiffs.               LLC, 496 F. Supp. 2d 1101, 1106 (N.D. Cal. 2007) ("In
                                                                contrast to section 227(b)(3), the TCPA does not
                                                                provide a private right of action for violations of the
a. Timeliness                                                   technical and procedural standards imposed by section
                                                                227(d)."); Hurley, 2017 U.S. Dist. LEXIS 86345, at *10;
As discussed above, HN26[ ] standing bears on                   Gulden v. Consol. World Travel Inc., No. CV-16-1113-
jurisdiction, and the Court can examine its jurisdiction at     PHX-DJH, 2017 U.S. Dist. LEXIS 23350, at *7-8 (D.
any time. Plaintiffs have standing to bring suit provided       Ariz. Feb. 15, 2017).
they satisfy constitutional and prudential requirements.
Nuclear Info. and Res. Serv. v. Nuclear Regulatory              Based on the foregoing, the [*44] Court "is compelled
Comm'n, 457 F.3d 941, 950 (9th Cir. 2006). To meet the          to find that HN29[ ] Congress did not intend private
constitutional requirements for standing, a plaintiff must      parties to enforce either section [227(d)] or the
demonstrate it has "suffered an injury in fact," "the injury    regulations prescribed pursuant to that section," and "is
is fairly traceable to the challenged action," and "it is       unwilling to read a private cause of action into section
likely . . . that the injury will be redressed by a favorable   [227(d)] and its attendant regulations where Congress
decision." Id. (quoting Friends of the Earth, Inc. v.           conspicuously omitted it but explicitly included it in
Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 180-81, 120 S.       adjacent subsections." Hurley, 2017 U.S. Dist. LEXIS
Ct. 693, 145 L. Ed. 2d 610 (2000)). To satisfy the              86345, at *10. Accordingly Claims Four and Five are
prudential standing requirements, a plaintiff must have         DISMISSED with prejudice.
"been granted a right to sue by the statute." Id. Thus,
whether a statute grants a private right of action bears
on a plaintiff's standing and thus the Court's jurisdiction.    c. Claim Six is Dismissed
See [*43] id. Accordingly, the motion to dismiss is
timely under Rules 12(g)(2) and 12(h)(3).                       Defendants contend Plaintiffs lack standing to bring
                                                                Claim Six because 47 C.F.R. § 64.1601(e) does not
    Case 2:19-cv-13094-TGB-EAS ECF No. 4-4, PageID.87 Filed 10/29/19 Page 30 of 50
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convey a private right of action. Plaintiffs recognize this         conjunction with other amendments to its TCPA
lack of an express grant of a private right of action but           regulations in § 64.1200 et seq., the FCC
nonetheless invite the Court to imply such a right when             specifically amended this set of regulations in 2003
the statute and regulations have not expressly granted              by adding § 64.1601(e), which requires
one. However, the Court finds HN30[ ] section                       telemarketers to transmit caller identification
64.1601(e) does not create a private right of action. In            information, including either calling party number . .
so finding, the Court is generally guided by the United             . or automatic number identification of the calling
States Supreme Court's jurisprudence on statutory                   party's billing number . . . and, when available by
construction in the private right of action context and             the telemarketer's carrier, the telemarketer's name;
finds persuasive the only case in the country to address            this regulation also prohibited telemarketers from
this issue.                                                         blocking the transmission of caller identification
                                                                    information. However, it is not clear whether §
HN31[ ] Where a statutory scheme and its                            64.1601(e) is promulgated under either subsection
implementing regulations have expressly created a                   b or subsection c of the TCPA[, which expressly
private right of action but have not expressly done so              grant private rights of action]. Caller ID technology
elsewhere in the same scheme, [*45] it is "highly                   does not fit neatly into the focus of either
improbable" that Congress—or here, the FCC—"absent                  subsection, neither of which requires the use of
mindedly forgot to mention an intended private action."             such technology to accomplish their respective
Transamerica Mortg. Advisors, Inc. v. Lewis, 444 U.S.               purposes. Thus, it is also not clear whether a
11, 20, 100 S. Ct. 242, 62 L. Ed. 2d 146 (1979) (internal           violation of § 64.1601(e) falls within the private right
quotation and citation omitted); see also Cannon v.                 of action granted by subsection b or subsection c. It
Univ. of Chi., 441 U. S. 677, 717, 99 S. Ct. 1946, 60 L.            seems just as likely that the FCC may have only
Ed. 2d 560 (1979) (stating that where Congress "intends             intended to ensure consistency between its
private litigants to have a cause of action," the "far              preexisting Caller ID regulations and its revised
better course" is for Congress to confer that remedy in             TCPA regulations and/or [*47]             the FTC's
explicit terms). If the statute itself does not "displa[y] an       regulations pertaining to telemarketing when the
intent" to create "a private remedy," then "a cause of              FCC promulgated § 64.1601(e); those efforts all
action does not exist and courts may not create one, no             occurred at the same time, in 2003. Additionally,
matter how desirable that might be as a policy matter, or           the FCC said, "Caller ID requirements will improve
how compatible with the statute." Alexander v.                      the ability of consumers to identify and enforce do-
Sandoval, 532 U.S. 275, 286-87, 121 S. Ct. 1511, 149                not-call rights against telemarketers."
L. Ed. 2d 517 (2001); see also Transamerica Mortg.
Advisors, Inc., 444 U. S. at 15-16. The Supreme Court           Worsham, 2016 U.S. Dist. LEXIS 118774, at *11-12
has held that the judicial task is instead "limited solely to   (emphasis added; citations omitted). Here, as Plaintiffs
determining whether Congress intended to create the             must concede, HN32[ ] section 64.1601(e) does not
private right of action asserted." Touche Ross & Co. v.         expressly convey a private right of action. They
Redington, 442 U. S. 560, 568, 99 S. Ct. 2479, 61 L. Ed.        nonetheless contend that the "genesis" of this section
2d 82 (1979). "If the statute does not itself so provide, a     implies a private right of action was created because the
private cause of action will not be created through             section references TCPA subsection (c). However, as
judicial mandate." Ziglar v. Abbasi, 582 U.S. , 137 S.          Worsham concluded, "the FCC's rule in § 64.1601(e)
Ct. 1843, 1855-56, 198 L. Ed. 2d 290 (2017). The Court          appears to support consumers' enforcement efforts
keeps these principles in mind as it considers below the        under the TCPA's subsection c, rather than to create a
only case in the country to address whether section             separate mechanism upon which a consumer can make
64.1601(e) creates a private right of action                    an actionable claim." Id. at *12 (emphasis in original).

The District of Maryland in Worsham v. Travel Options,          The Court finds Worsham persuasive and—in
Inc., No. JKB-14-2749, 2016 U.S. Dist. LEXIS 118774,            conjunction with the Supreme Court's general
2016 WL 4592373 (D. Md. Sept. 2, 2016), noted                   guidance—finds section 64.1601(e) does not create a
uncertainty about where in the TCPA scheme section              private right of action. The Court declines the invitation
64.1601(e) fits:                                                to infer a private right of action where section
                                                                64.1601(e) is silent on the matter. Accordingly, Claim
    In recognition of the role played by Caller [*46] ID        Six is DISMISSED with prejudice.
    in helping consumers avoid unwanted calls, and in
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                                                                         Act, Cal. Civ. Code §§ 1770 et seq.);
5. Claim Eleven (Civil Conspiracy)16
                                                                         c. Claim Eight (Unfair Competition Law, Cal. Bus. &
Defendants contend Claim Eleven for "civil [*48]                         Prof. Code §§ 17200 et seq.);
conspiracy" must be dismissed for failure to properly                    d. Claim Nine (Trespass); and
allege how Plaintiffs "were actually harmed" by                          e. Claim Ten (Conversion).
Defendants' conduct and for failure to allege "what, if
any, actual damage they suffered as a result." (Doc. No.             2. Defendants' motion to dismiss (Doc. No. 48) is
48 at 22.) Plaintiffs respond: "Of course the general                GRANTED-IN-PART, and the following claims are
conspiracy [sic] is not a cause of action." (Doc. No. 62 at          DISMISSED with prejudice:
23.) The Court's analysis begins and ends with this                       a. Claim Four (47 C.F.R. § 64.1200(b)(1));
concession. The purpose of the inclusion of claims in                     b. Claim Five (47 C.F.R. § 64.1200(b)(2));
complaints is not, as Plaintiffs contend, "to highlight the               c. Claim Six (47 C.F.R. § 64.1601(e)); and
agency relationships between the Defendants," and the                     d. Claim Eleven (Civil Conspiracy).
Court declines to allow the inclusion of an admittedly               The remainder of the motion to dismiss is DENIED for
improper claim simply to "highlight[] the agency aspects             the reasons explained herein.
of the case." (Id. at 23-24.) The law could not possibly
                                                                     3. Plaintiffs' motion for partial summary judgment (Doc.
be more clear that HN33[ ] civil conspiracy is a legal
                                                                     No. 61) is DENIED.
theory of liability, not an independent, actionable claim.
Entm't Research Grp., Inc. v. Genesis Creative Grp.,                 4. Defendants' request for judicial notice (Doc. No. 49) is
Inc., 122 F.3d 1211, 1228 (9th Cir. 1997); Applied                   DENIED as moot.
Equip. Corp. v. Litton Saudi Arabia Ltd., 7 Cal. 4th 503,
28 Cal. Rptr. 2d 475, 869 P.2d 454, 457 (Cal. 1994)                  5. The Clerk of Court is directed to terminate docket
(holding that conspiracy is not a legal cause of action              entry 76, which was incorrectly filed as a motion.
independent of underlying tort); see also FDIC v.
Tarkanian, No. 10-CV-980-WQH(BGS), 2012 U.S. Dist.                   IT IS SO ORDERED.
LEXIS 62209, at *12-13 (S.D. Cal. May 3, 2012);
                                                                     DATED: November 6, 2017
Navarrete v. Meyer, 237 Cal. App. 4th 1276, 188 Cal.
Rptr. 3d 623, 636 (Cal. Ct. App. 2015). Claim Eleven is              /s/ William V. Gallo
DISMISSED with prejudice.17
                                                                     Hon. William V. Gallo

III. CONCLUSION                                                      United States Magistrate Judge

1. Defendants' motion for partial summary judgment
(Doc. No. 50) is GRANTED-IN-PART, and judgment                         End of Document
shall be entered in Defendants' favor on the following
claims:
     a. Claim Two ("Junk Fax Law," Cal. Bus. & Prof.
     Code § 17538.41);

        b. [*49] Claim Seven (Consumer Legal Remedies



16 As  with the motion to dismiss Claim Three, this portion of the
motion is untimely. However, the Court proceeds to the merits
of the claim in accordance with the Ninth Circuit's signaling
guidance in Pepper v. Apple Inc. (In re Apple iPhone Antitrust
Litig.), 846 F.3d 313, 319 (9th Cir. 2017).
17 Of course, given that agency is a general theory of liability,
the Court's finding does not preclude Plaintiffs from pursuing
this legal theory if it is otherwise appropriate, a determination
the Court does not make today.
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    Neutral
As of: October 29, 2019 6:56 PM Z


                                    Hurley v. Wayne Cty. Bd. of Educ.
              United States District Court for the Southern District of West Virginia, Huntington Division
                                       June 6, 2017, Decided; June 6, 2017, Filed
                                              CIVIL ACTION NO. 3:16-9949

Reporter
2017 U.S. Dist. LEXIS 86345 *; 2017 WL 2454325

JOANN HURLEY, on behalf of herself and all others
                                                              Judges: ROBERT C. CHAMBERS, CHIEF UNITED
similarly situated, Plaintiffs, v. WAYNE COUNTY
                                                              STATES DISTRICT JUDGE.
BOARD OF EDUCATION, a West Virginia Political
Subdivision, and THOMAS MESSER, a West Virginia
                                                              Opinion by: ROBERT C. CHAMBERS
resident, Defendants.

Prior History: Hurley v. Wayne Cnty. Bd. of Educ.,            Opinion
2017 U.S. Dist. LEXIS 56951 (S.D. W. Va., Apr. 13,
2017)

                                                              MEMORANDUM OPINION AND ORDER
Core Terms
                                                              Pending before the Court are Defendant Wayne County
messages, motion to dismiss, regulations, alleges,            Board of Education's ("BoE") Motion to Dismiss and
prerecorded, violations, pleadings, phone, private right      Amended Motion to Dismiss. ECF Nos. 4, 10. Also
of action, vicarious liability, motion to amend, parties,     pending is Plaintiff Joann Hurley's Motion for Leave to
motion for judgment, entity, private cause of action,         Amend the Complaint. ECF No. 28. Hurley brought suit
agency relationship, factual allegations, direct liability,   against the BoE for violations of the Telephone
requirements, promulgated, subsections, prescribed,           Consumer Protection Act ("TCPA") and related federal
telephone, directs                                            regulations for allegedly improper political calls made by
                                                              Defendants. The [*2] BoE believes Plaintiff has not
Counsel: [*1] For Joann Hurley, on behalf of herself,         alleged facts to support a claim of direct liability nor
and all others similarly situated, Plaintiff: Anthony J.      vicarious liability, and therefore the case should be
Majestro, LEAD ATTORNEY, POWELL & MAJESTRO,                   dismissed against the BoE. Moreover, BoE maintains
Charleston, WV; J. Ryan Stewart, LEAD ATTORNEY,               that Hurley's Motion to Amend does not address the
BUCCI JAVINS & CARTER, Charleston, WV; Timothy                deficiencies raised in its motion to dismiss and is
C. Bailey, LEAD ATTORNEY, BAILEY JAVINS &                     therefore futile. For the following reasons the Court
CARTER, Charleston, WV.                                       DENIES Hurley's Motion to Amend, GRANTS the BoE's
For Wayne County Board of Education, a West Virginia          Amended Motion to Dismiss, and DENIES the BoE's
Political Subdivision, and, Defendant: Bernard S.             Motion to Dismiss as moot.
Vallejos, LEAD ATTORNEY, FARRELL FARRELL &
FARRELL, Huntington, WV; Michael J. Farrell, LEAD
ATTORNEY, FARRELL WHITE & LEGG, Huntington,                   I. Background
WV.
                                                              Sometime prior to February 2016, Hurley filed a bid for
For Thomas Messer, a West Virginia resident,                  re-election to the BoE. Compl. ¶ 6, ECF No. 1. On
Defendant: W. Michael Frazier, LEAD ATTORNEY,                 February 25, 2016, Hurley received a phone call from a
FRAZIER & OXLEY, Huntington, WV.                              number not known to her. Id. ¶ 7. The call conveyed a
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                                             2017 U.S. Dist. LEXIS 86345, *2

prerecorded message that stated "Hurley votes no for            10. This motion has been fully briefed by both parties
students and for schools and to vote responsibly." Id.          and is ripe for decision.2
The message did not reveal the identity of the
proponent of the message nor the telephone number or            Hurley's proposed Amended Complaint makes few
address of the proponent. Id. The next day, February            additions of consequence to the original Complaint.
26, 2016, another person received the same                      Hurley added two additional claims in response to this
prerecorded message. Id. ¶ 12. The caller identification        Court's Order requesting additional briefing on whether
function on this person's phone indicated that the caller       Section 227(d) provided for a private cause of action.
was Defendant Thomas Messer, an employee of the                 Pl.'s Mot. for Leave to Amend Compl. Ex. A, ECF No.
BoE. Id. Hurley kept receiving [*3] these prerecorded           28-1. Hurley now alleges violations of Section 227(b)
phone calls until May 9, 2016, the day before Election          and related regulations, while still [*5] retaining her
Day. Id. ¶ 9. The prerecorded messages were delivered           227(d) claims. Id. Hurley also makes additions
from two different phone numbers. Id. ¶ 10. The first           explaining Messer's method of placing the calls. Id. She
number was active from February through part of April           explains that Messer used online computer programs to
and associated with Defendant Thomas Messer by                  make robocalls at times he designated (1:00 p.m. to
caller ID. Id. ¶¶ 10, 12. The second was used for the           7:00 p.m.) using voice actors that Messer paid through
remainder of April until May 9, 2016. Id. ¶ 10. During          another online program to record scripts that he wrote.
February, March, and April if the "0" key was pressed           Id.
immediately following the prerecorded message,
                                                                BoE renewed its arguments supporting its Motion to
another message would play that stated: "you have
                                                                Dismiss in its Response to Hurley's Motion to Amend.
reached the voicemail of Thomas Messer." Id. ¶ 14.
                                                                BoE maintains that Hurley has not sufficiently pled facts
Hurley alleges that anyone with any affiliation with the        to support any direct liability nor has she pled facts to
BoE received the prerecorded messages and that the              support any kind of vicarious liability. BoE, relying on its
messages were received on both mobile phones and
landlines. Id. ¶ 15. Hurley also alleges that Messer and
the BoE initiated the calls using a call system                 attention that she did not file proofs of service evidencing the
                                                                date on which Defendants were served with a summons and
maintained by the BoE, which incorporates the BoE's
                                                                complaint. Although the Court lacks this information, it
"master call list." Id. ¶ 17. The list contains telephone
                                                                suspects that either the original motion to dismiss or the
numbers for people affiliated with the BoE in some way.
                                                                amended motion to dismiss were filed out of time.
Id. Hurley alleges that none of the messages included           Nonetheless, Hurley did not raise this issue and the Court will
required identifying and contact information for the            not address it. It is enough to remind Hurley that she should
initiator of the calls as required by the TCPA. Id. ¶ 7.        have filed the proofs of service and both Hurley and the BoE
                                                                should endeavor to observe the Federal Rules of Civil
Hurley then brought [*4] this putative class action on          Procedure and the local rules of this District.
behalf of herself and all people that were or now are a
                                                                2 The   Court will treat the amended motion as a motion for
part of the BoE contact list. Id. Hurley's Complaint
alleges two causes of action. Count One alleges both            judgment on the pleadings in accord with Federal Rule of Civil
defendants violated Section 227(d) of the TCPA, which           Procedure 12(c). See Fed. R. Civ. P. 12(c); 12(h)(2)(B).
imposes restrictions on prerecorded phone messages.             Submission of the amended motion moots the original motion.
                                                                As such, the BoE has now effectively served an answer. Rule
Id. ¶ 30; 47 U.S.C. § 227(d)(3). Count Two alleges both
                                                                12(c) states: "[a]fter the pleadings are closed . . . a party may
defendants violated the Federal Communication
                                                                move for judgment on the pleadings." Fed. R. Civ. P. 12(c).
Commission's ("FCC") regulations enforcing the TCPA.
                                                                Where no counterclaims or cross-claims are made, pleadings
Id. ¶ 34; 47 C.F.R. § 64.1200(b).                               are closed once a complaint and answer are filed. Doe v.
                                                                United States, 419 F.3d 1058, 1061-62 (9th Cir. 2005). A
The BoE now seeks dismissal from the case. The BoE
                                                                motion to dismiss filed after an answer, as is the case here
first filed a motion to dismiss and an answer in the            where no cross-claim or counterclaim has been filed, is treated
alternative. ECF No. 4. Hurley did not respond to this          as a motion for judgment on the pleadings pursuant to Rule
motion. Some weeks later, the BoE filed an amended              12(c). Edwards v. City of Goldsboro, 178 F.3d 231, 242 (4th
motion to dismiss, which sets out in much greater detail        Cir. 1999). The standard of review for a motion for judgment
the BoE's arguments in support of its motion.1 ECF No.          on the pleadings made by a defendant asserting that the
                                                                plaintiff has failed to state a claim is the same as would be
                                                                applied were the motion treated as a motion to dismiss
1 The   Court would be remiss if it did not bring to Hurley's   pursuant to Rule 12(b)(6). Id.
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response to the Court's request for additional briefing,       Accepting the factual allegations in the complaint as true
also argues that Section 227(d) of the TCPA does not           (even when doubtful), the allegations "must be enough
provide a private cause of action and therefore Hurley's       to raise a right to relief above the speculative level …."
claims based on this section must be dismissed.                Twombly, 550 U.S. at 555 (citations omitted). If the
                                                               allegations in the complaint, assuming their truth, do
                                                               "not raise a claim of entitlement to relief, this basic
II. Legal Standard                                             deficiency should … be exposed at the point of
                                                               minimum expenditure of time and money by the parties
Rule 15(a)(2) of the Federal Rules of Civil Procedure          and the court." Id. at 558 (internal quotations and
permits amendment of a complaint after a responsive            citations omitted). Finally, "[a]lthough for the purposes of
pleading has been filed "with the opposing party's             a motion [for judgment on the pleadings] we must take
written consent or the court's leave." Fed. R. Civ. P.         all of the factual allegations in the complaint as true, we
15(a)(2). Leave should be freely given "when justice so        are not bound to accept as true a legal conclusion
requires." Id. "[A] district court has discretion to deny a    couched as a factual allegation." Iqbal, 556 U.S. at 678
motion to amend a complaint, so long as it does not            (internal quotations and citation omitted).
outright refuse to grant the leave without any justifying
reason." Equal Rights Ctr. v. Niles Bolton Assocs. 602
F.3d 597, 603 (4th Cir. 2010) (quoting [*6] Foman v.           III. Discussion
Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 9 L. Ed. 2d 222
(1962)). A court may deny a motion to amend a                  The Court will first address whether Hurley's claims
complaint if the amendment would be futile. Id. (citing        based on Section 227(d)(3) (Count I of the Complaint
Laber v. Harvey, 438 F.3d 404, 426 (4th Cir. 2006) (en         and Count III of the proposed Amended Complaint) can
banc)). An amendment is futile where even if it is             survive. Section 227(d)(3) directs the FCC to "prescribe
permitted the amendment would not save the complaint           technical and procedural standards" for prerecorded
from a motion to dismiss. Perkins v. United States, 55         telephone messages. The standards must include
F.3d 910, 917 (4th Cir. 1995) (citing Glick v. Koenig, 766     requirements that the messages include the identity of
F.2d 265, 268-69 (7th Cir. 1985)).                             the entity placing the call and reveal the address or
                                                               phone number of that entity. 47 U.S.C. § 227(d)(3).
In analyzing a party's motion for judgment on the              Leaving [*8] to one side that the section allegedly
pleadings pursuant to Federal Rule 12(c), the Fourth           violated by BoE only directs the FCC to promulgate
Circuit has indicated that the applicable standard is the      regulations containing certain requirements and says
same as a motion to dismiss pursuant to Federal Rule           nothing of restricting the actions of private parties,
12(b)(6), noting that the "distinction is one without a        Section 227(d), unlike other subsections of 227,
difference." Burbach Broad Co. of Del. v. Elkins Radio         contains no explicit private right of action. Compare §
Corp., 278 F.3d 401, 405-06 (4th Cir. 2002). To                227(d) with §§ 227(b), (c).
overcome a motion for judgment on the pleadings, a
complaint must be plausible. Bell Atl. Corp. v. Twombly,       There is ample reason to believe that 227(d) does not
550 U.S. 544, 546, 127 S. Ct. 1955, 167 L. Ed. 2d 929          confer such a right. For example, both Section 227(b)
(2007). This standard requires a plaintiff to set forth the    and 227(c) have subsections titled "Private right of
"grounds" for an "entitle[ment] to relief" that is more than   action." 47 U.S.C. §§ 227(b), (c). In each, the statute
mere "labels and conclusions, and a formulaic recitation       permits private rights of action based on violations of
of the elements of a cause of action will not do." Id. at      "this subsection." Id. In other words, they authorize
555 (internal quotations and citations omitted). A             private rights of action for violations of that specific
complaint must contain "sufficient factual matter,             subsection—either subsection (b) or (c). Section 227(d)
accepted as true, to state a claim to relief that is           has no such provision. See 47 U.S.C. § 227(d).
plausible on its face." Ashcroft v. Iqbal, 556 U.S. 662,
678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (internal       To add, Section 227(g)(1) empowers state attorneys
quotations and citation omitted). Facial plausibility exists   general to bring suit based on a "pattern or practice of
when a claim contains "factual content that allows the         telephone calls" in violation of "this section or the
court to draw the reasonable inference that the                regulations prescribed under this section." 47 U.S.C. §
defendant is liable for the misconduct alleged." Id.           227(g)(1). The Court interprets "this section or the
(citation [*7] omitted).                                       regulations" to mean Section 227, all of its parts, and
                                                               any regulations promulgated pursuant to Section 227. In
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this respect, the TCPA is not unlike other federal             the regulations promulgated pursuant to those
consumer protection statutes, providing private rights of      subsections. §§ 227(b)(3), (c)(5) (a plaintiff may bring
action for some but not all violations and empowering          "an action based on a violation of . . . the regulations
state attorneys general [*9] to enforce the statute more       prescribed under this subsection . . . ."). Without such
broadly. See, e.g., Truth in Lending Act, 15 U.S.C. §          language in Section (d), the Court is compelled to find
1640(e) (empowering state attorneys general to enforce         that Congress did not intend private parties to enforce
certain sections of the Act that do not provide for private    either Section 227(d) or the regulations prescribed
rights of action). This reading is consistent with virtually   pursuant to that section. The Court is unwilling to read a
every federal court to have considered this issue. See         private cause of action into Section (d) and its attendant
Ashland Hosp. Corp. v. Serv. Emp. Int'l Union, Dist.           regulations where Congress conspicuously omitted it
1199, 708 F.3d 737, 745 (6th Cir. 2013); Cunningham v.         but explicitly included it in adjacent subsections.
Credit Mgmt., L.P., No. 3:09-cv-1497, 2010 U.S. Dist.
LEXIS 102802, 2010 WL 3791104, at *5 (N.D. Tex. Aug.           The Court will now turn to the BoE's arguments that
30, 2010); Merch. & Gould, P.C. v. Premiere Global             Hurley's [*11] Motion to Amend should be rejected
Servs., 749 F. Supp. 2d 923, 937 n. 6 (D. Minn. 2010);         because it does not cure the fatal flaws it raised in its
Boydston v. Asset Acceptance LLC, 496 F. Supp. 2d              Motion to Dismiss. First, the BoE argues, and the Court
1101, 1110 (N.D. Cal. 2007); Kopff v. Battaglia, 425 F.        agrees, Hurley has made no allegation that can support
Supp. 2d 76, 91 (D.D.C. 2006); G.M. Sign, Inc. v.              a claim for direct liability against the BoE. Nowhere in
Franklin Bank, S.S.B., No. 06-cv-0949, 2006 U.S. Dist.         Hurley's Amended Complaint does she mention a
LEXIS 29667, 2006 WL 1132386, at *4 (N.D. Ill. Apr. 19,        specific act done by the BoE to commit the alleged
2006); Klein v. Vision Lab Telecomms., Inc., 399 F.            violations. The only allegations in the Complaint and
Supp. 2d 528, 539 (S.D.N.Y. 2005).                             Amended Complaint are aimed at Messer. To sustain
                                                               her claim of direct liability Hurley must allege specific
This finding is further bolstered by the text of 227(d)(3).    facts to support it. She has failed to do this.
The section directs the FCC to conduct rule-making and
specifies particular substance for the rules. Initiators of    Second, the BoE contends that Hurley has not alleged
calls are not the subject of the section and thus the          sufficient facts to support a claim for vicarious liability
section, by its own terms, does not direct any action by       against the BoE.3 Hurley comes closer to the mark on
any entity other than the FCC.

Moreover, the regulations promulgated pursuant to this         3 The   BoE makes a fleeting reference to section 29-12A-4 of
section are solely enforceable by the FCC and state            the West Virginia Code in its Amended Motion to Dismiss
attorneys general. See § 227(g)(1). Hurley alleges             apparently to support its contention that Hurley needs to plead
violations of the regulations promulgated pursuant to          that the phone calls placed by Messer were in the scope of his
Section 227(d). She argues that even if Section                employment. Section 29-12A-4 is a qualified immunity statute
227(d)(3) does not permit a private right of action, surely    that states in relevant part: "a political subdivision (BoE is such
the FCC regulations, which impose certain requirements         an entity) is not liable in damages in a civil action for injury,
on prerecorded phone messages, create a private right          death, or loss to persons or property allegedly caused by any
of action for violations of the regulations. See 47 C.F.R.     act or omission of the political subdivision or an employee"
64.1200. The text of the TCPA, again, compels [*10]            unless such injury, death or loss to persons or property were
                                                               "caused by the negligent performance of acts by their
the Court to find otherwise.
                                                               employees while acting in the scope of employment." The BoE
Specifically, Hurley alleges violations of 47 C.F.R.           made no argument related to immunity when it first cited this
                                                               section in its Amended Motion to Dismiss. But then, in its reply
64.1200(b). The regulations prescribed in that section
                                                               to Hurley's Response, the BoE unfurled a full-fledged
require all prerecorded messages to state the identity of
                                                               argument for dismissal based on the immunity statute. As an
the entity responsible for the call at the beginning of the
                                                               initial matter, raising an issue for the first time in a reply is
call and to provide a contact number during the                disfavored and those issues are generally considered waived.
message for that entity. These provisions flow directly        See Scottsdale Ins. Co. v. Flowers 513 F.3d 546, 553 (6th Cir.
from the directives in Section 227(d)(3). Section 227(d),      2008) (quoting Novosteel SA v. United States, 284 F.3d 1261,
however, lacks the same private cause of action                1274 (Fed. Cir. 2002)). The practice is disfavored because it
provisions contained in Sections (b) and (c). In both (b)      denies the non-moving party a chance to respond, to which it
and (c), the private cause of action provisions                is ordinarily due. Still, BoE then reprised the argument in its
specifically permit cases brought based on violations of       Response to Hurley's Motion to Amend. Nevertheless,
                                                               because the immunity issue can be swatted away with ease,
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this claim but still falls short. Hurley alleged in both her   working hours, but did not himself make them at that
Complaint and Amended Complaint that Messer is                 time; an autodialing system was programed to make
employed by the BoE as a "technology coordinator               them during those hours.
and/or curriculum specialist," he was employed by the
BoE when the calls were placed, and he used a call list        Arguing that a "reasonable factfinder" could find that
maintained by the BoE to identify recipients of the            Messer was acting within the scope of his employment,
messages. Taking all of these allegations as true, as the      as Hurley attempts, fundamentally misunderstands the
Court must at the pleading stage, Hurley has failed to         standard by which she must plead her case. That
allege a claim based on vicarious liability [*12] against      standard is more appropriate at the summary judgment
the BoE.                                                       phase. At this stage, the Court, assuming all well-
                                                               pleaded factual allegations as true, determines if the
"An employer may be liable for both negligent and              plaintiff has pled a viable cause of action. Iqbal, 556
intentional torts committed by an employee within the          U.S. at 678. The Court must confine its review to the
scope of his or her employment." Burlington Indus., Inc.       allegations made in the complaint. See Fed R. Civ. P.
v. Ellerth, 524 U.S. 742, 756, 118 S. Ct. 2257, 141 L.         12(d) [*14] . If Hurley has more evidence linking
Ed. 2d 633 (1998). Declaring, without any factual              Messer's actions to the BoE she would do well to
support, that Messer "was in the course of his                 include them in her pleadings. Without them, however,
employment with defendant . . . during the time these          she has not plead a plausible case for vicarious liability
illegal . . . messages were created, initiated, and made"      against the BoE.
is not sufficient to demonstrate that Messer was acting
within the scope of his employment. In fact, the words:        In coming to this conclusion, the Court makes no
"was in the course of his employment . . . during the          determination whether Messer did or did not, in fact, act
time" that the calls were made seems to convey only            within the scope of his employment, only that Hurley did
that Messer was employed by the BoE at the time the            not plead as much. This distinction is the animating
messages were disseminated. This is not enough.                principle of a motion to dismiss. A determination
Hurley must allege, as is required by the standard for         whether Messer was acting within the scope of his
vicarious liability, that placing the calls was within the     employment is undeniably an issue of fact, but at the
scope of his employment. See id. In the case of                pleading stage, Hurley must plead the facts upon which
intentional torts committed by emplyees, as Messer's           that determination could rest. The Court will not fill in the
actions can most certainly be classified, that means the       blanks for her.
act was done with the purpose, in whole or in part, to
                                                               Hurley's attempt to assert other forms of agency
serve his employer. See id. There are no facts in either
                                                               relationships does not save her Motion to Amend. First,
complaint that support a plausible inference that Messer
                                                               Hurley does not explicitly plead a formal agency
was acting to serve the BoE.
                                                               relationship, express or implied, between the BoE and
Rather, the facts pled lead to an inference that Messer        Messer outside of his status as an employee, nor does
was acting [*13] on his own and for his own purposes.          she plead apparent authority or ratification. She raises
He sought out the voice actors, wrote the scripts for the      these other agency relationships in her briefing only.
messages, and used private autodialing services to             Hurley admittedly refers to Messer as an
make the calls. He then set an autodialing program to          "employee/agent" of the BoE in her Complaint and
make the calls from 1:00 p.m. to 7:00 p.m. The fact that       proposed Amended Complaint but [*15] provides no
he used the BoE call list (however dubious the claim           further factual development of the alleged relationship.
may be) only supports an inference that he had access          An agency relationship is a legal definition that applies
to it—not that he was acting at the behest of the BoE or       to certain relationships based on particular facts.
in service of it. Moreover, placing the calls during           Declaring that Messer was an agent of the BoE in some
Messer's working hours is purely incidental to his             way outside of his employment without alleging
employment. Messer set the calls to be made during             supporting facts is a bare legal conclusion that is not
                                                               entitled to the presumption of truth that is ordinarily due
                                                               to well-pleaded factual allegations. Iqbal, 556 U.S. at
the Court will consider it. The immunity statute explicitly    678.
exempts claims based on federal statutes. W. Va. Code § 29-
12A-18(e). Hurley's claims are based exclusively on the        Arguments asserting that a finding of an agency
TCPA, a federal statute. The BoE's immunity argument is thus   relationship is an issue of fact for the fact-finder are
obviously inapplicable.
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sorely misplaced at this stage. There is no question that
the ultimate determination of the existence of such a
relationship is an issue of fact, but to reiterate the
pleading standard, Hurley must actually plead the facts
to support her allegations. Hurley provides no factual
support for her vicarious liability claim against the BoE
in either her Amended Complaint or the original
Complaint.

Hurley has failed to sufficiently plead either direct
liability or vicarious liability claims against the BoE in her
proposed Amended Complaint. These same defects
infect her original Complaint. Accordingly, the Court
finds that Hurley's Motion to Amend would be
futile [*16] as applied to the BoE. The Court further
finds that Hurley has failed to state a claim upon which
relief could be granted against the BoE, and as a matter
of law cannot maintain a claim based on 47 U.S.C. §
227(d)(3) and 47 C.F.R. 64.1200(b) as against all
Defendants.


IV. Conclusion

For the foregoing reasons, Plaintiff's Motion for Leave to
Amend is GRANTED in part with respect to Defendant
Thomas Messer and DENIED in part with respect to
Defendant Wayne County Board of Education. ECF No.
28. Defendant's Amended Motion to Dismiss is
GRANTED, ECF No. 10, and its Motion to Dismiss is
DENIED as moot. ECF No. 4. The Wayne County Board
of Education is DISMISSED from the case. Plaintiff's
case based on her Amended Complaint may continue
against Thomas Messer, but only Counts I & II survive.
Counts III & IV are DISMISSED.

The Court DIRECTS the Clerk to send a copy of this
Order to counsel of record and any unrepresented
parties.

ENTER: June 6, 2017

/s/ Robert C. Chambers

ROBERT C. CHAMBERS, CHIEF JUDGE


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    Case 2:19-cv-13094-TGB-EAS ECF No. 4-4, PageID.95 Filed 10/29/19 Page 38 of 50




    Cited
As of: October 29, 2019 7:01 PM Z


                                  Gulden v. Consol. World Travel Inc.
                                    United States District Court for the District of Arizona
                                 February 15, 2017, Decided; February 15, 2017, Filed
                                                 No. CV-16-01113-PHX-DJH

Reporter
2017 U.S. Dist. LEXIS 23350 *
                                                                 and Defendant filed a Reply thereto (Doc. 21).
Charles A. Gulden, Plaintiff, v. Consolidated World
Travel Incorporated, Defendant.
                                                                 I. BACKGROUND
Core Terms
                                                                 Plaintiff filed a Complaint in Yuma County Justice Court
allegations, Counts, private right of action, solicitations,     in the State of Arizona on March 28, 2016. (Doc. 1-1).
initiated, training, violations, Notice, labels, motion to       Defendant removed the case to this Court. (Doc. 1).
dismiss, leave to amend, requires, services, phone               Plaintiff's Complaint alleges various violations of the
                                                                 federal Telephone Consumer Protection Act ("TCPA"),
Counsel: [*1] Charles A Gulden, Plaintiff, Pro se,               47 U.S.C. §227.2
Yuma, AZ.
                                                                 Plaintiff alleges that from approximately December 4,
For Consolidated World Travel Incorporated, Defendant:
                                                                 2015 to January 31, 2016, "Defendant, Defendant's
Jeffrey Aaron Backman, Richard Wayne Epstein, Roy
                                                                 agents or parties acting on behalf of Defendant" [*2]
Taub, LEAD ATTORNEYS, Greenspoon Marder PA, Ft
                                                                 called Plaintiff's residential phone four times "for the
Lauderdale, FL; Julia Anne Wagner, Todd Feltus, LEAD
                                                                 purpose of soliciting for its products and services." (Doc.
ATTORNEYS, Kercsmar & Feltus PLLC, Scottsdale,
                                                                 1-1 at ¶3).3 These calls were initiated using "an artificial
AZ.
                                                                 or prerecorded voice," and an automatic telephone
Judges: Honorable Diane J. Humetewa, United States
District Judge.
                                                                 2 Plaintiffapparently filed at least six TCPA actions in 2016
Opinion by: Diane J. Humetewa                                    against different defendants, including four actions (counting
                                                                 this one) in March 2016 alone. Plaintiff filed similar complaints
Opinion                                                          in each case, which the various defendants subsequently
                                                                 removed to federal court. See Notice of Removal, Gulden v.
                                                                 Dickey's Barbeque Restaurants, Inc., No. 2:16-cv-00387-SPL
                                                                 (D. Ariz. February 11, 2016); Notice of Removal, Gulden v.
ORDER                                                            Paramount Equity Mortgage, LLC, No. 2:16-cv-00795-SRB (D.
                                                                 Ariz. Mar. 23, 2016); Notice of Removal, Gulden v. New Penn
This matter is before the Court on Defendant's Motion to         Financial, LLC (D. Ariz. Apr. 4, 2016); Notice of Removal,
Dismiss (Doc. 19).1 Plaintiff filed a Response (Doc. 20),        Gulden v. Quicken Loans Incorporated, No. 2:16-cv-00960-
                                                                 ROS (D. Ariz. Apr. 6, 2016); Notice of Removal, Gulden v.
                                                                 Royal Neighbors of America & Dynamic Insurance Services,
1 Defendant
                                                                 Inc., No. 2:16-cv-04000-DGC (D. Ariz. Nov. 18, 2016).
            has requested oral argument. The Court denies
the request because the issues have been fully briefed and       3 Unless otherwise indicated, the Court's citations to filed
oral argument will not aid the Court's decision. See             documents reflect the docket number(s) and page number(s)
Fed.R.Civ.P. 78(b) (court may decide motions without oral        generated by CMECF, the district court's electronic filing and
hearings); LRCiv 7.2(f) (same).                                  case management system.
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dialing system (ATDS) without Plaintiff's consent. (Id. at      relief that is plausible on its face.'" Iqbal, 556 U.S. at
¶¶5-7). Plaintiff was never Defendant's customer, and           678. "A claim has facial plausibility when the pleaded
never provided personal information to Defendant. (Id.          factual content allows the court to draw the reasonable
at ¶8). The calls at issue were not for emergency               inference that the defendant is [*4] liable for the
purposes, and Defendant "failed to state clearly the            misconduct alleged." Id.
identity of the business, individual or other entity
responsible for initiating the calls and artificial             The Court must interpret the facts alleged in the
prerecorded message." (Id. at ¶¶9-10). Defendant also           complaint in the light most favorable to the plaintiff,
"failed to provide an automated, interactive voice-and/or       while also accepting all well-pleaded factual allegations
key press-activated opt-out mechanism for the Plaintiff         as true. Shwarz v. United States, 234 F.3d 428, 435 (9th
to make a do-not-call request." (Id. at ¶11). For at least      Cir. 2000). That rule does not apply, however, to legal
thirty-one days prior to the calls, "Plaintiff's residential    conclusions. Iqbal, 556 U.S. at 678. A complaint that
telephone number was registered on the national Do-             provides "labels and conclusions," or "a formulaic
Not-Call registry." (Id. at ¶12).                               recitation of the elements of a cause of action will not
                                                                do." Twombly, 550 U.S. at 555. Nor will a complaint
Based on these alleged facts, Plaintiff claims that with        suffice if it presents nothing more than "naked
each of the four phone calls, Defendant committed a             assertions" without "further factual enhancement." Id. at
separate negligent violation of the TCPA pursuant to 47         557. The Court is mindful that it must "construe pro se
U.S.C. §227(b)(1)(B). (Doc. 1-1 at ¶¶13-15). Plaintiff          filings liberally when evaluating them under Iqbal."
labels these claims "TCPA Violations [*3] I, II, III, & IV."    Jackson v. Barnes, 749 F.3d 755, 763-64 (9th Cir. 2014)
(Id.) Plaintiff also alleges that the same four phone calls     (quoting Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir.
give rise to additional claims under 47 U.S.C. §227(c).         2010)).
(Id. at ¶¶16-18). Plaintiff labels these claims "TCPA
Violations V, VI, VII, VIII." (Id.) Plaintiff further alleges
that the same four phone calls give rise to three               III. APPLICATION
additional claims under 47 U.S.C. §227(d)(3)(A), 47
C.F.R.         §64.1200(b)(3),       and      47       C.F.R.
§64.1200(c)(2)(i)(B). (Id. at ¶¶19-27). Plaintiff labels        A. All Counts (Counts I — XI)
these claims TCPA Violation IX, X, and XI, respectively.
(Id.)                                                           In the Motion, Defendant argues that the entire
                                                                Complaint fails as a matter of law because it does not
Defendant moved to dismiss Plaintiff's claims under             state sufficient facts to support Plaintiff's allegations that
Rule 12(b)(6) of the Federal Rules of Civil Procedure for       (1) the calls at issue were initiated by Defendant; or (2)
failure to state a claim upon which relief can be granted.      the calls were prohibited solicitations. Plaintiff responds
                                                                that his Complaint alleges both who initiated the calls
                                                                and the purpose for which the calls were initiated.4
II. LEGAL STANDARD                                              Defendant counters that Plaintiff still has not provided

A motion to dismiss pursuant to Rule 12(b)(6)
challenges the legal sufficiency of a complaint. Ileto v.
                                                                4 In the "Legal Standard for a Motion to Dismiss" section of his
Glock, Inc., 349 F.3d 1191, 1199-1200 (9th Cir. 2003). A
complaint must contain a "short and plain statement             Response, Plaintiff cites Gilligan v. Jamco Dev. Corp., 108
showing that the pleader is entitled to relief."                F.3d 246, 248 (9th Cir. 1997) and Conley v. Gibson, 355 U.S.
                                                                41, 45-46, 78 S. Ct. 99, 2 L. Ed. 2d 80 (1957) and asserts, "A
Fed.R.Civ.P. 8(a). Rule 8 requires "more than an
                                                                complaint should not be dismissed for failure to state a claim
unadorned,          the-defendant-unlawfully-harmed-me
                                                                'unless it appears beyond doubt that the plaintiff can prove no
accusation." Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.
                                                                set of facts in support of his claim which would entitle him to
Ct. 1937, 173 L. Ed. 2d 868 (2009) (citing Bell Atlantic        relief.'" (Doc. 20 at 2:23-25). In light of the Supreme Court's
Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955,           holding in Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.
167 L. Ed. 2d 929 (2007)).                                      Ct. 1955, 167 L. Ed. 2d 929 (2007), this statement is no longer
                                                                an accurate statement of the law. See Borja-Valdes v. City
Rule 8(a) does not require that a complaint contain             and County of San Francisco, 2015 U.S. Dist. LEXIS 125252,
"detailed factual allegations." Twombly, 550 U.S. at 545.       2015 WL 5522287, *8 n. 5 (N.D. Cal. Sept. 18, 2015)("Since
The Rule requires that the complaint "contain sufficient        Twombly and Iqbal... several district courts... have treated
factual matter, accepted as true, to 'state a claim for         Gilligan as implicitly overruled.").
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any facts in support of his assertions that the calls          See Daniel v. Five Stars Loyalty, Inc., 2015 U.S. Dist.
contained [*5] unsolicited advertisements or that              LEXIS 159007, 2015 WL 7454260, *1 (N.D. Cal. Nov.
Defendant had any role in the calls.                           24, 2015); Dolemba v. Illinois Farmers Ins. Co., 2015
                                                               U.S. Dist. LEXIS 104314, 2015 WL 4727331, *1 (N.D.
                                                               Ill. Aug. 10, 2015); Orea v. Nielsen Audio, Inc., 2015
1. The Identity of the Caller                                  U.S. Dist. LEXIS 54916, 2015 WL 1885936, *1 (N.D.
                                                               Cal. Apr. 24, 2015); Alleman v. Yellowbook, 2013 U.S.
As noted above, Plaintiff has alleged that "Defendant,         Dist. LEXIS 127212, 2013 WL 4782217, *1 (S.D. Ill.
Defendant's agents or parties acting on behalf of the          Sept. 6, 2013).
Defendant" initiated the alleged calls. (Doc. 1-1 at ¶3).
Plaintiff offers no factual support for this statement,        Although Defendant's case citations are not directly on
which leaves the Court wondering how Plaintiff                 point, the Court agrees with Defendant that Plaintiff's
concluded that Defendant was the source of the alleged         claims contain insufficient [*7] factual support to state a
calls. Plaintiff's Complaint is devoid of any facts that       claim under Rules 8(a) and 12(b)(6). To survive a
"allow[] the court to draw the reasonable inference that       motion to dismiss, Plaintiff must adequately allege that
the defendant is liable for the misconduct alleged,"           the calls received were unsolicited advertisements as
because the Complaint is devoid of any facts implying          that term is defined in the TCPA. See 47 U.S.C.
that Defendant was involved in the calls. Cf. Chesbro v.       §227(b)(1)(C). Plaintiff does not describe the calls, but
Best Buy Stores, L.P., 705 F.3d 913, 916 (9th Cir. 2012)       simply avers that the calls were made "for the purpose
(explaining that plaintiff claimed "he could identify the      of soliciting for [Defendant's] products or services." This
caller from the caller identification feature on his           is nothing more than a conclusion, which Twombly
phone"). The Court therefore finds that on this issue, the     specifically prohibits. Twombly, 550 U.S. at 555 ("[A]
Complaint provides only "labels and conclusions" and a         plaintiff's obligation to provide the 'grounds' of his
"recitation of the elements" of a TCPA claim. See              'entitle[ment] to relief' requires more than labels and
Twombly, 550 U.S. at 555. Because identity is a                conclusions.") (emphasis added). Without "further
necessary element of all of Plaintiff's claims, this           factual enhancement," Plaintiff's allegation that the calls
deficiency warrants dismissal of all of Plaintiff's claims.    were unsolicited advertisements is insufficient to survive
                                                               a motion to dismiss. See id. at 557.

2. The Character of the Call
                                                               B. Counts IX and X
Plaintiff's allegation that the calls were prohibited [*6]
solicitations suffers from the same lack of factual            In the Motion, Defendant also argues that Counts IX and
support as his allegation that Defendant was involved in       X should be dismissed because they are based on
the calls. Plaintiff's Complaint alleges that the calls were   §227(d) of the TCPA, which contains no express private
initiated "for the purpose of soliciting for [Defendant's]     right of action. Plaintiff does not respond to these
products and services," but provides no factual support        arguments. A review of the statute reveals that §227(d)
that would allow the court to draw a reasonable                does not, in fact, contain an express private right of
inference that this is true. (Doc. 1-1 at ¶3). As Defendant    action. 47 U.S.C. §227(d); see also Boydston v. Asset
correctly asserts, the determination of whether a call         Acceptance LLC, 496 F. Supp. 2d 1101, 1106 (N.D. Cal.
was a prohibited solicitation should turn on "the purpose      2007) ("In contrast to section 227(b)(3), the TCPA does
of the message." Chesbro, 705 F.3d at 918.                     not provide a private right of action for violations of the
                                                               technical and procedural standards imposed [*8] by
Defendant urges this Court to do "as other courts have         section 227(d)."); Harris v. American General Financial
done in the face of similarly nondescript allegations" and     Services, LLC, 2012 U.S. Dist. LEXIS 83192, 2012 WL
dismiss Plaintiff's complaint. (Doc. 19 at 7:6-9)              2243663, *2 (D. Nev. June 14, 2010) (explaining that
(emphasis added). Defendant then cites a number of             §227(d) "does not provide for a private right of action for
cases, but none of these cases involve a complaint             violations,    instead     describing      the     Federal
dismissed on the basis of "nondescript allegations."           Communications Commission's authority to promulgate
Indeed, the cases cited by Defendant include                   regulations pursuant to this subsection"). Because
descriptions or transcriptions of the relevant call or text    §227(d) does not contain a private right of action,
message, which renders the allegations about the               Counts IX and X will be dismissed with prejudice.
character of the call in those cases far from nondescript.
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                                                                     §64.1200(c)(2)(B), does not exist.
D. Count XI

Defendant argues Count XI should be dismissed                        IV. AMENDMENT
because the lack of training alleged by Plaintiff cannot
form the basis for a TCPA claim. (Doc. 19 at 15:5-9).
Plaintiff does not respond to this argument.                         A. Legal Standard

Plaintiff's Complaint states that Defendant's alleged                Where "it is not 'abundantly clear' that [a plaintiff] could
violations of the TCPA "indicate that Defendant has                  not      cure    [the    complaint's]     deficiencies    by
failed to train its personnel or others acting on its behalf         amendment," [*10] the court must grant an opportunity
in procedures established pursuant to the National Do                to amend the complaint. Jackson v. Barnes, 749 F.3d
Not Call Registry and rules, pursuant to 47 U.S.C.                   755, 767 (9th Cir. 2014) (citations omitted); see also
227(c)(2) and 47 C.F.R. §64.1200(c)(2)(B)." (Doc. 1-1 at             Lopez v. Smith, 203 F.3d 1122, 1131 (9th Cir. 2000) (en
¶26). As Defendant correctly explains, §227(c)(2)                    banc) (internal quotation marks and citations omitted)
requires that the Federal Communications Commission                  (holding that a pro se litigant must be given leave to
"prescribe regulations to implement methods and                      amend his complaint "if it appears at all possible that the
procedures for protecting the privacy rights" described in           plaintiff can correct the defect" in the complaint); Fed. R.
a §227(c)(1). This section does not require any                      Civ. P. 15(a)(2) (leave to amend should be "freely" given
particular personnel training, so it alone cannot form the           "when justice so requires").
basis for Plaintiff's claim that Defendant failed to train its
personnel.
                                                                     B. Application
Defendant also points [*9] out that the regulation
Plaintiff cited in support of Count XI, 47 C.F.R.                    As outlined above, Plaintiff fails to state a claim upon
§64.1200(c)(2)(B), does not exist. Defendant speculates              which relief can be granted on any of his claims. The
that Plaintiff meant to rely on 47 C.F.R.                            Court, however, cannot now conclude that it is
§64.1200(c)(2)(i)(B), and argues that that section does              "abundantly clear" that Plaintiff could not cure the
not require any particular personnel training. The Court             deficiencies in Counts I-VIII and Count XI by
declines to make this assumption. In light of the typo, it           amendment. See Jackson, 749 F.3d at 767. Thus,
is possible that Plaintiff was attempting to cite some               Plaintiff must be granted leave to amend these claims to
other section in support of his claim. Plaintiff, however,           address the deficiencies identified above and provide
has failed to state a claim upon which relief can be                 sufficient factual allegations to state a claim. Counts IX
granted based on any failure to train because he has                 and X cannot be saved by amendment, however,
not identified any affirmative requirement that Defendant            because they rely on statutes that do not provide for a
provide any particular training.5                                    private right of action. Plaintiff will therefore not be
                                                                     granted leave to amend as to Counts IX and X.

E. Conclusion
                                                                     V. CONCLUSION
Plaintiff fails to state a claim upon which relief can be
granted on all counts because Plaintiff has failed to                Accordingly,
allege facts suggesting Defendant was involved in the
calls or that the calls were prohibited solicitations.               IT IS ORDERED that Defendant's Motion to Dismiss
Counts IX and X fail for the additional reason that                  (Doc. 19) is GRANTED.
§227(d) does not contain a provision for a private right
                                                                     IT IS FURTHER ORDERED that Count IX and Count X
of action. Count XI fails for the additional reason that the
                                                                     are [*11] dismissed with prejudice.
statute Plaintiff cited in support of that claim, 47 C.F.R.
                                                                     IT IS FURTHER ORDERED that Plaintiff's remaining
                                                                     claims, Counts I-VIII and XI, are dismissed with leave
5 Itmay well be that Count XI, like Counts IX and X, is not          to amend. Plaintiff shall have thirty (30) days from the
actionable. However, because Plaintiff has not identified an         date this Order is filed to file a first amended complaint
existing statute or regulation upon which he bases Count XI,
                                                                     in compliance with this Order. If Plaintiff fails to file an
the Court is unable at this time to determine if this is the case.
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amended complaint within thirty (30) days, the Clerk of
the Court shall, without further notice, enter a judgment
of dismissal of this action without prejudice.

Dated this 15th day of February, 2017.

/s/ Diane J. Humetewa

Honorable Diane J. Humetewa

United States District Judge


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                                    Worsham v. Travel Options, Inc.
                                United States District Court for the District of Maryland
                                September 1, 2016, Decided; September 2, 2016, Filed
                                                CIVIL NO. JKB-14-2749

Reporter
2016 U.S. Dist. LEXIS 118774 *; 2016 WL 4592373
                                                               No. 1.) He asked for total damages of $64,000 and
MICHAEL C. WORSHAM, Plaintiff v. TRAVEL
                                                               injunctive relief. Service was made on the two
OPTIONS, INC., et al., Defendants
                                                               Defendants (ECF No. 6), but neither one appeared or
Subsequent History: Affirmed by, Motion denied by              filed an answer. At Worsham's request, the Clerk
Worsham v. Travel Options, Inc., 2017 U.S. App. LEXIS          entered defaults against both Defendants. (ECF Nos. 9,
3862 (4th Cir. Md., Mar. 3, 2017)                              10.) Now pending before the Court is Worsham's motion
                                                               for default judgment. (ECF Nos. 18, 19.) In his motion,
                                                               Worsham asks for total statutory damages of $18,000
Core Terms                                                     ($8,000 under the TCPA and $10,000 under the
                                                               MTCPA) to be awarded jointly and severally against
telemarketer's, regulations, Travel, allegations,
                                                               both Defendants and for injunctive relief.1 As will be
telephone number, caller, Counts, violations, automatic
                                                               explained below, default judgment will be entered
telephone, caller id, Consumer, dialing, initiating, factual
                                                               against Travel Options, Inc., only; judgment will be
allegations, statutory damages, telephone, identification,
                                                               entered for Defendant Shannon.
carrier, injunctive relief, conclusions, entitlement,
requires, services, damages, private right of action,
telephone call, Implementing, well-pleaded, prescribed,
                                                               I. Standard for Default Judgment
default
                                                               The Supreme Court has opined that a default judgment
Counsel: [*1] Michael C. Worsham, Plaintiff, Pro se,           may be lawfully entered only "according to what is
Forest Hill, MD.                                               proper to be decreed upon the statements of the bill,
                                                               assumed to be true." Thomson v. Wooster, 114 U.S.
Judges: James K. Bredar, United States District Judge.
                                                               104, 113, 5 S. Ct. 788, 29 L. Ed. 105, 1885 Dec.
                                                               Comm'r Pat. 279 (1884). "'The defendant, by his default,
Opinion by: James K. Bredar
                                                               admits the plaintiff's well pleaded allegations of fact, is
                                                               concluded on those facts by the judgment, and is barred
Opinion                                                        from contesting on appeal the facts thus established. . .
                                                               . The defendant is not held . . . to admit conclusions of
                                                               law.'" Ryan v. Homecomings Fin. Network, 253 F.3d
                                                               778, 780 (4th Cir. 2001) (quoting Nishimatsu Constr.
MEMORANDUM                                                     Co., Ltd. v. Houston Nat'l Bank, 515 F.2d 1200, 1206
                                                               (5th Cir. 1975)). It is the court's task, therefore, to
Plaintiff Michael C. Worsham filed this lawsuit against
                                                               "determine whether the well-pleaded allegations in
Travel Options, Inc., and Clifford Shannon, alleging
violations of the Telephone Consumer Protection Act of
1991 ("TCPA"), codified at 47 U.S.C. § 227, and the            1 In  his motion, Worsham only pursues the statutory
Maryland Telephone Consumer Protection Act
                                                               compensatory damages and [*2] does not seek the enhanced
("MTCPA"), codified at Md. Code Ann., Com. Law §§              statutory damages for willful or knowing violation of the TCPA
14-3201 and 14-3202 (LexisNexis 2013). (Compl., ECF            or FCC regulations.
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                                            2016 U.S. Dist. LEXIS 118774, *2

[plaintiff's] complaint support the relief sought . . . ."       Through the use of "Caller ID," Worsham identified four
Ryan, 253 F.3d at 780. Mere default "does not in itself          calls to his number from the same Florida number, 954-
warrant the court in entering a default judgment. There          656-4091, which were made July 16-18, 2014. (Id. ¶ 9.)
must be a sufficient basis in the pleadings for the              During the first three calls, no message was left. (Id. ¶
judgment entered." Nishimatsu, 515 F.2d at 1206; see             10.) It is reasonable to infer that the first three calls went
also DirecTV, Inc. v. Pernites, 200 F. App'x 257, 258            to an answering machine or to voicemail in Worsham's
(4th Cir. 2006) (per curiam).                                    home, although he does not so state, and that the caller
                                                                 hung up without leaving a message. Worsham says he
The Court surmises that "well-pleaded allegations of             answered the fourth call and spoke with a man who said
fact" sufficient to support a default judgment are equal in      he was Jim Allison with Travel Options. (Id. ¶ 11.)
quality and character to those factual allegations               Allison allegedly told Worsham that he had an unused
sufficient for a complaint to survive a motion to dismiss        travel credit of $750 from attending a timeshare
under Federal Rule of Civil Procedure 12(b)(6).                  presentation in either Florida or Las Vegas in the
Compare Ryan, 253 F.3d at 780 ("well-pleaded                     preceding two to four years, and then Allison offered to
allegations" [*3] in complaint must support relief               sell a travel package to Worsham that would incorporate
sought), with Ashcroft v. Iqbal, 556 U.S. 662, 679, 129          the unused travel credit. (Id.) Allison indicated the
S. Ct. 1937, 173 L. Ed. 2d 868 (2009) ("When there are           travel [*5] package had a Florida part, a Las Vegas
well-pleaded factual allegations, a court should assume          part, and a cruise, all of which was worth over $4,000,
their veracity and then determine whether they plausibly         but Worsham's cost after applying the credit would only
give rise to an entitlement to relief."). Under Rule             be $697 if he agreed to participate in a ninety-minute
8(a)(2), a plaintiff must "show" he is entitled to relief, and   timeshare presentation. (Id.) Allison further indicated the
that "requires more than labels and conclusions"; "a             travel package was essentially a tax write-off for the
formulaic recitation of the elements of a cause of action        timeshare companies "and a way to keep rooms
will not do." Bell Atl. Corp. v. Twombly, 550 U.S. 544,          occupied that would otherwise be empty." (Id.)
555, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007). See              Worsham did not attend a timeshare presentation
also Iqbal, 556 U.S. at 678 ("Threadbare recitals of the         anywhere in the two to four years preceding the
elements of a cause of action, supported by mere                 telephone conversation. (Id. ¶ 13.) Additionally,
conclusory statements, do not suffice."). The principle          Worsham has no business relationship of any kind with
that a court must accept as true all of the complaint's          Defendant, its affiliates, agents, contractors, or partners,
allegations only applies to factual allegations; legal           and he never gave any prior permission for any of them
conclusions couched as factual allegations need not be           to call him. (Id. ¶ 24.)
accepted as binding. Iqbal, 556 U.S. at 678. Further, a
court need not accept "unwarranted inferences,                   Worsham makes many other allegations, but these
unreasonable conclusions, or arguments." United States           amount to his conclusions with no supporting factual
ex rel. Oberg v. Pa. Higher Educ. Assistance Agency,             basis. For example, he alleges Shannon exercised
745 F.3d 131, 136 (4th Cir. 2014).                               decision-making control over Travel Options's policies,
                                                                 procedures, and business practices and, as well,
                                                                 Shannon made the decisions causing the calls and
II. Allegations of the Complaint                                 violations. (Id. ¶ 16.) He also alleges the name of the
                                                                 telemarketer is available for transmission via Caller ID
Worsham alleges he resides in Harford County,                    by Defendants' carrier. (Id. [*6] ¶¶ 22, 23.) In addition,
Maryland, and that he "has continuously subscribed to            Worsham alleges Travel Options has no policy or
and used his phone number 410-557-6192, which has                procedures pertaining to the Do Not Call ("DNC")
been on the National Do Not Call list over 8 years since         registry, as required by the TCPA and by rules
July 15, 2006, and is a Verizon Wireless cell phone              promulgated       by   the    Federal    Communications
number." (Compl. ¶ 1.) The two Defendants are Travel             Commission ("FCC"). (Id. ¶ 27.) Also, Worsham alleges
Options, Inc., [*4] which "is a Florida for-profit               "Defendants' calls used an 'automatic telephone dialing
corporation incorporated in October 2010 with an                 system' (ATDS) as defined by 47 U.S.C. § 227(a)(1) and
address" in Boca Raton, Florida, and Clifford Shannon,           47 C.F.R. § 64.1200(f)(2)." (Id. ¶ 29.) He further alleges,
described by Worsham as "an individual who lives in              "Defendants are all aware and know about, and approve
Florida, and who has been President and registered               of, the telemarketing calling patterns and practices used
agent for Travel Options, Inc. at all times relevant to this     in their calling centers and/or used by of [sic] their
suit." (Id. ¶¶ 2, 3.)                                            agents or contractors" (id. ¶ 38), "Defendants all ratified
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the acts and conduct of all person [sic] involve [sic] in       FTC regulation prohibiting a failure to transmit or
the Scam . . ." (id. ¶ 40), and "Defendants failed to pay       cause to transmit [*8] the telephone number and,
the annual fee for access to telephone numbers within           when made available by the telemarketer's carrier,
Plaintiff's area code 410 that are included on the              the telemarketer's name to any caller identification
National DNC list registry maintained by the FTC" (id. ¶        service used by the call's recipient and, therefore,
44). None of these additional allegations rests on facts        violated the MTCPA.
logically within the knowledge of Worsham, and he
provides no supporting factual allegations for them.
                                                            III. Applicable Law
Worsham's complaint includes twenty-four counts based
on alleged violations of the TCPA, FCC rules, Federal       The TCPA was passed in response to numerous
Trade Commission ("FTC") rules, and the MTCPA:              complaints from both consumers and businesses about
    • Count 1: Each call violated the TCPA's and FCC's      telemarketing calls, i.e., telephone calls to market goods
    prohibition on initiating calls to a telephone number   and services. Pub. L. 102-243, § 2. The Act is codified
    on the DNC list.                                        in section 227, Title 47, United States Code. The TCPA
    • Count 2: Each call violated the TCPA's and FCC's      "was enacted to protect consumer privacy interests" and
    prohibition on initiating any telephone call using an   "seeks primarily to protect subscribers from unrestricted
    automatic telephone dialing system or an artificial     commercial telemarketing calls." Rules and Regulations
    or prerecorded voice to any telephone number            Implementing the Telephone Consumer Protection Act
    assigned to a cellular telephone service.               (TCPA) of 1991, 68 Fed. Reg. 44,144, 44,150, 44,165
    • Count 3: Each call violated the TCPA's and FCC's      (July 25, 2003). Relevant to the instant case, subsection
    requirement to identify the caller, the person or       b prohibits unconsented-to, nonemergency calls using
    entity on behalf of whom the call is made, and a        any automatic telephone dialing system or an artificial or
    telephone number or address at which the person         prerecorded voice to certain telephone lines, including
    or entity may be contacted.                             any telephone number assigned to a cellular service;
                                                            subsection c directed the FCC to promulgate regulations
    • Count [*7] 4: Each call violated the TCPA's and       aimed at establishment and operation of a national
    FCC's requirement to transmit caller identification     database of telephone numbers of residential
    and to include the calling number and the name of       subscribers who object to receiving telephone
    the telemarketer if the name is available by the        solicitations and, further, permitted the FCC to prohibit
    telemarketer's carrier.                                 telephone solicitations [*9] to any number in the
    • Count 5: The TCPA and/or FCC rule violation in        database; and subsection d makes it unlawful, inter alia,
    Count 1 violated the MTCPA.                             for anyone to make a telephone call using an automatic
    • Count 6: The TCPA and/or FCC rule violation in        telephone dialing system that does not comply with the
    Count 2 violated the MTCPA.                             technical and procedural standards prescribed by the
    • Count 7: The TCPA and/or FCC rule violation in        FCC.
    Count 3 violated the MTCPA.
    • Count 8: The TCPA and/or FCC rule violation in        The TCPA permits a person to institute a private action
    Count 4 violated the MTCPA.                             based on a violation of subsection b and the regulations
    • Counts 9 through 12: The four calls violated the      prescribed under that subsection "to enjoin such
    FTC's Telemarketing Sales Rule and, therefore,          violation [and/or] . . . to receive $500 in damages for
    also violate the MTCPA.                                 each such violation," § 227(b)(3); as well, subsection c
    • Counts 13 through 16: The four calls violated the     grants a right of private action to "[a] person who has
    FTC regulation mandating that a telemarketer pay        received more than one telephone call within any 12-
    an annual fee for access to telephone numbers on        month period by or on behalf of the same entity in
    the DNC list and, therefore, violated the MTCPA.        violation of the regulations prescribed under [subsection
    • Counts 17 through 20: The four calls violated the     c] . . . to enjoin such violation [and/or] . . . to receive up
    FTC regulation requiring that a telemarketer            to $500 in damages for each such violation," §
    disclose the seller's identity, the call's purpose to   227(c)(5). No private right of action is granted under any
    sell goods or services, and the nature of the goods     other subsection of § 227.
    or services and, therefore, violated the MTCPA.
                                                            The FCC is charged with the responsibility of
    • Counts 21 through 24: The four calls violated the     prescribing regulations to implement the requirements of
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the TCPA's various subsections and, accordingly, has          ensure consistency between its preexisting Caller ID
promulgated regulations codified at 47 C.F.R. §               regulations and its revised TCPA regulations and/or the
64.1200. The FCC has addressed the specific concerns          FTC's     regulations    pertaining   to   telemarketing
expressed in subsection b within § 64.1200(a), and it         when [*12] the FCC promulgated § 64.1601(e); those
has addressed [*10] those expressed in subsection c           efforts all occurred at the same time, in 2003.
within § 64.1200(c). What the FCC has prescribed in §         Additionally, the FCC said, "Caller ID requirements will
64.1200(b) implements subsection d of the TCPA, which         improve the ability of consumers to identify and enforce
mandates regulations for technical and procedural             do-not-call rights against telemarketers." 68 Fed. Reg.
standards for telephone calls initiated by an automatic       at 44,156. Therefore, the FCC's rule in § 64.1601(e)
telephone dialing system or calls using an artificial or      appears to support consumers' enforcement efforts
prerecorded voice system; likewise, the requirements of       under the TCPA's subsection c, rather than to create a
§ 64.1200(d) set forth the procedural standards for           separate mechanism upon which a consumer can make
telemarketers to maintain their own, company-specific,        an actionable claim.
do-not-call lists and, consequently, appear to fall under
the aegis of subsection d of the TCPA.                        The FTC has enacted its Telemarketing Sales Rule
                                                              ("TSR") in Title 16, Part 310, of the Code of Federal
The regulations published by the FCC as §§ 64.1600            Regulations pursuant to its responsibilities mandated in
through 64.1605, referred to in Worsham's motion for          15 U.S.C. § 6102. Telemarketing Sales Rule, 68 Fed.
default judgment, p. 10, are mostly in furtherance of the     Reg. 4580 (Jan. 29, 2003). Worsham's complaint relies
FCC's duty to regulate services of telephone carriers, in     upon § 310.4(a)(8), § 310.4(b)(1)(iii)(B), § 310.4(d)(1),2
particular, "to establish federal policies and rules          and § 310.8(a). Section 310.4(a)(8) prohibits abusive
governing calling number identification service (caller       conduct in telemarketing by the caller's "[f]ailing to
ID) on an interstate basis" made necessary by new             transmit or cause to be transmitted the telephone
telephone switching technology that "has fostered new         number, and, when made available by the
telephone services for both business and residential          telemarketer's carrier, the name of the telemarketer, to
use." Calling Number Identification, 56 Fed. Reg. 57,300      any caller identification service in use by a recipient of a
(Nov. 8, 1991). See also Calling Number Identification,       telemarketing call."3 Section 310.4(b)(1)(iii)(B) prohibits
59 Fed. Reg. 18,318 (Apr. 18, 1994) (publishing final         initiation of a telemarketing call to a person when that
rule pertaining to Caller ID services; noting addition of     person's telephone number is on the DNC list. Section
new Subpart P to Part 64 of Title 47, Code of Federal         310.4(d)(1) prohibits a telemarketer's failure "to disclose
Regulations). In recognition of the role played by Caller     truthfully, promptly, and in a clear and conspicuous
ID in helping [*11] consumers avoid unwanted calls,           manner to the person receiving the call . [*13] . . [t]he
and in conjunction with other amendments to its TCPA          identity of the seller." Last, § 310.8(a) prohibits any
regulations in § 64.1200 et seq., the FCC specifically        seller from initiating or causing a telemarketer to initiate
amended this set of regulations in 2003 by adding §           a call "to any person whose telephone number is within
64.1601(e), which requires telemarketers to transmit          a given area code" unless the seller, directly or
caller identification information, including either calling   indirectly, "first has paid the annual fee" for access to
party number ("CPN") or automatic number identification       numbers within that area code that are included in the
of the calling party's billing number ("ANI") and, when       DNC list.
available     by    the    telemarketer's    carrier,   the
telemarketer's name; this regulation also prohibited          Under the MTCPA, a violation of either the
telemarketers from blocking the transmission of caller        Telemarketing and Consumer Fraud and Abuse
identification information. Rules and Regulations             Prevention Act, as implemented by the FTC's
Implementing . . . (TCPA), 68 Fed. Reg. at 44,179.            Telemarketing Sales Rule, or the TCPA, as
However, it is not clear whether § 64.1601(e) is              implemented by 47 C.F.R. § 64.1200, is also considered
promulgated under either subsection b or subsection c         an unfair or deceptive trade practice under Maryland
of the TCPA. Caller ID technology does not fit neatly         statutory law. Md. Code Ann., Com. Law § 14-3202(a).
into the focus of either subsection, neither of which         However, only a violation of the TCPA that is subject to
requires the use of such technology to accomplish their
respective purposes. Thus, it is also not clear whether a
                                                              2 Incorrectly   cited as § 16.310.5(d)(1) in the complaint.
violation of § 64.1601(e) falls within the private right of
action granted by subsection b or subsection c. It seems      3 The Court notes the similarity between this part of the TSR
just as likely that the FCC may have only intended to         and the FCC's rule in 47 C.F.R. § 64.1601(e), see supra.
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a private right of action, i.e., one arising under either 47   A. Count 1
U.S.C. § 227(b) or (c), is actionable under the MTCPA.
Worsham v. Ehrlich, 181 Md. App. 711, 957 A.2d 161,            In § 64.1200(c), the FCC prohibited the initiation of any
171-72 (Md. Ct. Spec. App. 2008). See also Worsham             telephone solicitation to a residential telephone
v. Accts. Receivable Mgmt., Inc., 497 F. App'x 274, 278        subscriber who has registered his telephone number on
(4th Cir. 2012) (per curiam) (agreeing with holding in         the national DNC registry. Further, in § 64.1200(e), the
Worsham v. Ehrlich that violation of 47 C.F.R. §               FCC applied the prohibition in § 64.1200(c) to wireless
64.1200(b) did not state claim under MTCPA).                   telephone numbers. As earlier noted, Worsham has
                                                               alleged that his cellular telephone number has been
                                                               listed on the DNC registry since 2006, well before the
IV. Analysis                                                   four calls from Travel Options in 2014. In addition,
                                                               Worsham has made factual allegations regarding the
Preliminarily, the Court addresses the issue of vicarious      content of the fourth call that clearly lead to the
liability, which seems to be the basis for Worsham's suit      conclusion that the calls were made for telemarketing
against Clifford Shannon, the president and                    purposes. Those allegations are sufficient to establish
registered [*14] agent of Defendant Travel Options.            Worsham's entitlement to statutory damages under the
The FCC has ruled that vicarious liability for TCPA            TCPA of $500 per call. See Dores v. One Main
violations may exist under federal common-law                  Financial, Civ. No. 1:15-cv-1609-LO-MSN, 2016 U.S.
principles of agency. In re DISH Network, LLC, 28 FCC          Dist. LEXIS 81913, at *5 (E.D. Va. June 1, 2016)
Rcd. 6574 (2013). See also Campbell-Ewald Co. v.               (agreeing with courts holding "that each call made in
Gomez, 136 S. Ct. 663, 674, 193 L. Ed. 2d 571 (2016)           contravention    of    the    TCPA      constitutes    an
(finding "no cause to question" FCC's ruling on vicarious      independent [*16] violation entitling the plaintiff to
liability under TCPA). However, "in the absence of             statutory damages"), report and recommendation
special circumstances it is the corporation, not its owner     adopted by 2016 U.S. Dist. LEXIS 81348 (E.D. Va. June
or officer, who is the principal or employer, and thus         21, 2016).
subject to vicarious liability for torts committed by its
employees or agents." Meyer v. Holley, 537 U.S. 280,
286, 123 S. Ct. 824, 154 L. Ed. 2d 753 (2003) (applying        B. Count 2
tort principle of vicarious liability to violation of Fair
Housing Act). Under general rules of agency law, a             As it pertains to Worsham's case, the TCPA, in 47
corporate officer or director's personal liability "must be    U.S.C. § 227(b)(1)(A)(iii), prohibits any person from
'founded upon specific acts by the individual director or      making "any call (other than a call made for emergency
officer.'" Roylance v. ALG Real Estate Servs., Inc., Case      purposes or made with the prior express consent of the
No. 5:14-cv-02445-PSG, 2015 U.S. Dist. LEXIS 44930,            called party) using any automatic telephone dialing
at *19 (N.D. Cal. Mar. 16, 2015) (citation omitted), report    system . . . to any telephone number assigned to a . . .
and recommendation modified in part on other grounds           cellular telephone service." Thus, the elements of this
and adopted as modified by 2015 U.S. Dist. LEXIS               TCPA violation, as alleged in Count 2, are (1) a call
44933 (N.D. Cal. Apr. 3, 2015). Thus, "'courts have            (other than one made for emergency purposes or made
declined to find personal liability [when] there has been      with the called party's prior express consent), (2) using
little evidence of the corporate officer's direct              any automatic telephone dialing system, and (3) to any
participation in the wrongdoing.'" Id. (alteration in          telephone number assigned to a cellular telephone
original) (citation omitted) (declining to recommend the       service.
entry of default judgment against corporate officer under
                                                               Worsham's complaint suffices as to the first and third
TCPA because [*15] of inadequate factual allegations).
                                                               elements; he has provided sufficient factual basis as to
Worsham's complaint makes "naked assertion[s]," see
                                                               the four telephone calls (the first element) and as to his
Twombly, 550 U.S. at 557, regarding Shannon, but
                                                               telephone number being assigned to a cellular
those conclusions, couched as factual allegations, are
                                                               telephone service (the third element). However, he has
insufficient to nudge the complaint against Shannon
                                                               not provided "well pleaded factual allegations" as to the
"across the line from conceivable to plausible," id. at
                                                               second element. He has, instead, made bare,
570. Consequently, the Court will enter judgment for
                                                               conclusional allegations: the calls were made "using an
Shannon.
                                                               automatic telephone dialing system (ATDS)" [*17]
                                                               (Compl. ¶ 5); "Defendants used an ATDS to call
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Plaintiff's number, using a predictive dialer" (id. ¶ 6);            it persuasive; thus, the Court concludes Worsham does
"Defendants initiated and conspired to initiate at least 4           not possess a private right of action as to an alleged
telephone solicitation calls using an automatic telephone            violation of 47 C.F.R. § 64.1200(d)(4). See also Nat'l
dialing system (ATDS)" (id. ¶ 9); and Defendants' calls              Fed'n of the Blind v. FTC, 303 F. Supp. 2d 707, 718 (D.
used an 'automatic telephone dialing system' (ATDS) as               Md. 2004) (noting [*19] § 64.1200(d)(4) included in
defined by 47 U.S.C. § 227(a)(1) and 47 C.F.R. §                     TCPA rules by FCC to ensure that commercial entities,
64.1200(f)(2)" (id. ¶ 29). These allegations are nothing             including those outside FTC's jurisdiction, are similarly
more than "a formulaic recitation" of the second element             regulated as to provisions included in FTC's
of his cause of action in Count 2. "[T]he Federal Rules              Telemarketing Sales Rule), aff'd, 420 F.3d 331 (4th Cir.
do not require courts to credit a complaint's conclusory             2005). But see Charvat v. NMP, LLC, 656 F.3d 440, 448
statements without reference to its factual context."                (6th Cir. 2011) (indicating, without analysis, that TCPA's
Iqbal, 556 U.S. at 686. See also Dominguez v. Yahoo,                 subsection c was implemented in 47 C.F.R. §
Inc., 629 F. App'x 369, 373 (3d Cir. 2015) (unpublished)             64.1200(d)); Drew v. Lexington Consumer Advocacy,
(finding assertion in affidavit that merely restated                 LLC, Case No. 16-cv-00200-LB, 2016 U.S. Dist. LEXIS
TCPA's statutory definition of automatic telephone                   52385, at *16 (N.D. Cal. Apr. 18, 2016) (same).
dialing system "nothing more than a legal conclusion                 Consequently, Count 3 fails to state a claim for relief.
couched as a factual assertion"); Williams v. T-Mobile
USA, Inc., Case No. 15-cv-03384-JSW, 2015 U.S. Dist.
LEXIS 140077, at *4-5 (N.D. Cal. Oct. 14, 2015)                      D. Count 4
(plaintiff's allegations as to ATDS "no more than legal
conclusions couched as fact"). As a result, Worsham                  Worsham's next count asserts a violation of the TCPA
has failed to show an entitlement to relief in Count 2.4             by a violation of 47 C.F.R. § 64.1601(e)(1), based on a
                                                                     failure to transmit certain information via Caller ID. He
                                                                     additionally says the conduct of Travel Options violates
C. Count 3                                                           the FTC's similar provision at 16 C.F.R. § 310.4(a)(7). A
                                                                     violation of the latter provision, of course, would not be
Worsham alleges in Count 3 that the four calls violated              considered a violation of the TCPA. Any cognizable
47 C.F.R. § 64.1200(d)(4), which requires a                          violation of § 310.4(a)(7) would only be remediable, in
telemarketer "to provide the called party with the name              this case, under the MTCPA; Worsham has made no
of the individual caller, the name of the person or entity           claim under federal law on this point. The MTCPA
on whose behalf the call is being made, and a telephone              counts are pled later in the complaint.
number or address at which the person or entity may be
contacted." As the Court earlier observed, §                         As previously concluded, an asserted violation of 47
64.1200(d)(4) is more appropriately viewed as setting                C.F.R. § 64.1601(e)(1) is not properly brought under
procedural standards and, therefore, within the realm of             either the TCPA's subsection b or subsection c. Any
the TCPA's subsection d, for which no private right of               violation of § 64.1601(e)(1) is a violation of technical
action exists. The Court has considered the analysis on              and procedural standards under subsection d, and as
this point in the case of Burdge v. Assn. Health Care                earlier noted, no private [*20] right of action exists
Mgmt., Inc., No. 1:10-CV-00100, 2011 U.S. Dist. LEXIS                under the latter subsection of the TCPA. Count 4,
9879, at *7-10 (S.D. Ohio Feb. 2, 2011), and has found               consequently, fails to state a claim for relief.



4 One                                                                E. Count 5
       district court ruled the kind of allegations at issue here,
which were made in that case "on information and belief," to
                                                                     In the next count, Worsham claims the violation of the
be sufficient under Rule 8(a)(2). Jackson v. Caribbean Cruise
                                                                     TCPA in Count 1 is also a violation of the MTCPA. The
Line, Inc., 88 F. Supp. 3d 129, 139-40 (E.D.N.Y. 2015). The
Court [*18] observes that the allegations made in Twombly
                                                                     conduct at issue, making four calls to a telephone
"upon information and belief," which were comparable in              number on the DNC list, constitutes four, separate
alleging the elements of a cause of action, were judged by the       violations of the TCPA's subsection b and, therefore,
Supreme Court to be insufficient under Rule 8(a)(2). 550 U.S.        constitutes four, separate violations of the MTCPA. As a
at 551, 564-65. Although "upon information and belief" may           result, Worsham has established his entitlement to $500
still be a legitimate form of pleading, it seems clear after         per call in statutory damages. Md. Code Ann., Com. L. §
Twombly that stating mere conclusions upon information and           14-3202(b)(2)(i), (c).
belief does not pass muster.
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                                                              anyone within a given area code unless the seller has
F. Count 6                                                    first paid the annual fee for access to the DNC list for
                                                              that area code. Worsham's [*22] allegation that Travel
In this count, Worsham seeks MTCPA damages based              Options did not pay the required annual fee is a bald
on the violation of 47 U.S.C. § 227(b)(1)(A)(iii), as         conclusion with no supporting, well-pleaded factual
asserted in Count 1, for using an automatic telephone         allegations. Counts 13 through 16 fail to state a claim for
dialing system to make the four calls. Having previously      relief.
found that Worsham has failed to provide well-pleaded
allegations of fact in support of Count 1, the Court
concludes Count 6 fails to state a claim for relief.          K. Count 17 through Count 20

                                                              Each of these four counts asking for MTCPA statutory
G. Count 7                                                    damages is premised upon an alleged failure to comply
                                                              with 16 C.F.R. § 310.4(d)(1), which requires a
Next, Worsham seeks statutory MTCPA damages for               telemarketer to "disclose truthfully, promptly, and in a
the conduct on which Count 3 was based, that is, a            clear and conspicuous manner" to the called party three
violation of 47 C.F.R. § 64.1200(d)(4). The Court             things: the seller's identity; that the call's purpose is to
previously determined that Count 3 failed to state a          sell goods or services; and the nature of the goods or
claim for relief. For the same reason, Count 7 fails to       services. Worsham asserts that each of the four calls
state a claim for relief.                                     violated this regulation—the first three because the
                                                              caller left no message at all (the Court presumes these
                                                              calls went to an answering machine or to voicemail) and
H. Count 8                                                    the fourth for reasons Worsham does not adequately
                                                              allege. With regard to the first three calls, the FTC has
This [*21] count under the MTCPA is premised upon
                                                              stated that "telemarketers are not required to leave a
the conduct alleged in Count 4 to have been in violation
                                                              recorded message on the answering machines of
of 47 C.F.R. § 64.1601(e)(1). Because Count 4 was
                                                              consumers who are not home to answer the
found deficient for the reason that a violation of that
                                                              telemarketer's call." Telemarketing Sales Rule, 68 Fed.
regulation may not be asserted in a private right of
                                                              Reg. at 4645. See also Rules and Regulations
action, Count 8 is similarly deficient. An additional
                                                              Implementing . . . (TCPA), 68 Fed. Reg. at 44,164 (FCC
reason for denying relief on this count is that §
                                                              stating, "Calls that reach voicemail or an answering
64.1601(e) is in Subpart P of Part 64, and the MTCPA
                                                              machine will not be considered 'answered' by the
only permits statutory damages for actions claiming
                                                              called [*23] party."). With that guidance from the
violations of Subpart L of Part 64. Md. Code Ann., Com.
                                                              relevant agencies, the Court concludes that the caller
L. § 14-3201(2).
                                                              was not required to leave any message on Worsham's
                                                              answering machine or voicemail for the first three calls
                                                              and, therefore, not in violation of § 310.4(d)(1). As to the
I. Count 9 through Count 12
                                                              fourth call, Worsham alleged the caller identified himself
Worsham has pleaded each of the four calls in separate        as Jim Allison with Travel Options and then tried to sell
counts as violations of the FTC's TSR rule prohibiting        a travel package to Worsham. The caller thus complied
initiation of a telephone call to a person whose              with § 310.4(d)(1). Worsham has failed to show he is
telephone number is on the DNC registry. He seeks             entitled to relief in Counts 17 through 20.
statutory damages under the MTCPA for each call. His
complaint adequately sets forth a claim for relief in these
four counts, and Worsham will be awarded $500 per             L. Count 21 through Count 24
count.
                                                              Worsham's last four counts, also brought under the
                                                              MTCPA, allege the four calls violated 16 C.F.R. §
                                                              310.4(a)(8) by failing to transmit to Worsham's Caller ID
J. Count 13 through Count 16
                                                              the caller's telephone number "and, when made
These four counts, seeking damages under the MTCPA,           available by the telemarketer's carrier, the name of the
are based upon each of the four calls allegedly violating     telemarketer." Certainly, Worsham has brought this
16 C.F.R. § 310.8(a), prohibiting a telemarketing call to     case because his Caller ID did capture the caller's
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number on each of the four calls; so, the asserted            BY THE COURT:
violation based on a failure to transmit the caller's
number clearly fails. As to the telemarketer's name,          /s/ James K. Bredar
"when made available by the telemarketer's carrier,"
                                                              United States District Judge
Worsham has made another bald allegation that the
carrier for Travel Options made the caller's name
available for Caller [*24] ID. Having failed to support
                                                              ORDER
Counts 21 through 24 with well-pleaded facts,
Worsham's complaint fails to support his claimed              In accordance with the foregoing memorandum, IT IS
entitlement to relief in those counts.                        HEREBY ORDERED:
                                                                  1. Plaintiff's motion for default judgment (ECF Nos.
                                                                  18, 19) will be GRANTED IN PART AND DENIED
M. Injunctive Relief                                              IN PART.
                                                                  2. Judgment IS ENTERED for Defendant Clifford
In his complaint's prayer for relief, Worsham requests
                                                                  Shannon and against Plaintiff.
"an injunction prohibiting the Defendants or any person
                                                                  3. Judgment IS ENTERED for Plaintiff and against
under their control from calling or assisting with calling
                                                                  Defendant Travel Options, Inc., as follows:
any persons in Maryland in violation of the TCPA or
                                                                       a. Defendant Travel Options, Inc., is liable to
FCC regulations." Both subsections b and c of the
                                                                       Plaintiff for statutory damages in the amount of
TCPA permit the award of injunctive relief "to enjoin
                                                                       $6,000.
such violation" of either subsection b or the regulations
prescribed under subsection b or the regulations                      b. Defendant Travel Options, Inc., or anyone
prescribed under subsection c. Because the authority                  acting [*26] on behalf of it, is permanently
for awarding injunctive relief in this case is statutory              enjoined and restrained from directly or
rather than common law, Worsham "need not plead and                   indirectly engaging in the following act:
prove irreparable injury." Envtl. Def. Fund, Inc. v.                  initiating any telephone solicitation to any
Lamphier, 714 F.2d 331, 338 (4th Cir. 1983) (applying                 number placed by Plaintiff on the federal do-
general rule to violations of 42 U.S.C. § 6901 et seq.).              not-call registry.
                                                                  4. The Clerk SHALL CLOSE this case.
The only "such violation[s]" of the TCPA established by
Worsham's complaint are those pertaining to the four          DATED this 1st day of September, 2016.
calls made to Worsham's number on the DNC list. So,
injunctive relief will be awarded against Travel Options      BY THE COURT:
to bar any future violations of 47 C.F.R. § 64.1200(c) by
it or anyone acting at its behest as to Worsham's             /s/ James K. Bredar
numbers on the DNC list. Worsham's request for
injunctive relief [*25] is aimed at calls by Travel Options   United States District Judge
to "any persons in Maryland." He has not, however,
established an entitlement to serve in a representative
                                                                End of Document
capacity for "any persons in Maryland." Thus, the award
will only be in regard to telephone numbers placed on
the DNC list by Worsham.


V. Conclusion

Worsham has established his entitlement to $6,000 in
statutory damages, broken down as follows: $2,000
($500 x 4 calls) for Count 1; $2,000 ($500 x 4 calls) for
Count 5; and $2,000 ($500 per count) for Counts 9
through 12. A separate order will be entered awarding
damages and injunctive relief and closing the case.

DATED this 1st day of September, 2016.
